         Case: 1:20-cv-02068 Document #: 1-1 Filed: 03/31/20 Page 1 of 148 PageID #:14
                                                                                THIS POLICY
                                                                            IS NON-ASSESSABLE




                                       a mutual company


                                     BUSINESSOWNERS
                                          POLICY




                                  www.societyinsurance.com
BP500 (07-19)


                                            A
                                                                      001
Case: 1:20-cv-02068 Document #: 1-1 Filed: 03/31/20 Page 2 of 148 PageID #:15
     _____________________________________________________________

THESE POLICY PROVISIONS WITH THE INFORMATION PAGE AND ENDORSEMENTS,
     IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THIS POLICY.
     _____________________________________________________________




                                   NOTICE

                The insured who is named herein is hereby
                notified that by virtue of this policy is a
                member of SOCIETY INSURANCE, a mutual
                company, and is entitled to vote either in
                person or by proxy at any and all meetings
                of the company. The annual meetings are
                held at the home office at Fond du Lac,
                Wisconsin, on the second Monday of March
                in each year at 2:00 p.m.


  In Witness Whereof, we have caused this policy to be executed and attested.




                 Secretary                                            President
                 Tom Gross                                            Rick Parks




                                                                 002
           Case: 1:20-cv-02068 Document #: 1-1 Filed: 03/31/20 Page 3 of 148 PageID #:16
                  SOCIETY INSURANCE, A MUTUAL COMPANY
                              150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                                  BUSINESSOWNERS
                                               RENEWAL DECL ARATION

                                                                      POLICY NO: BP17022546-2

                                                                      RENEWAL OF BP17022546-1

ACCOUNT NUMBER:
NAMED INSURED AND MAILING ADDRESS                                      AGENCY AND MAILING ADDRESS 20095 000
 Billy Goat Tavern                                                      Carlson Mikuzis & Taylor Inc
 1535 W Madison St                                                      2221 Lakeside Dr
 Chicago, IL 60607-1811                                                 Bannockburn, IL 60015



POLICY PERIOD: FROM 08/26/2019 TO 08/26/2020 AT 12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS
SHOWN ABOVE.

                                                                                See Described Premises
THE NAMED INSURED IS: Corporation                         BUSINESS DESCRIPTION: section

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL TERMS OF THIS POLICY, WE AGREE
WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

                                                  DESCRIBED PREMISES
Prem. Bldg.                                                                             Construction    Protection
 No.   No. Premises Address:                         Description                            Type          Class
  1     1   11601 W Touhy Ave,                       Tavern/Restaurant                Fire-             1
            Chicago, IL 60666                                                         resistive
  2       1     430 N Michigan Ave,                  Tavern/Restaurant                Fire-             2
                Chicago, IL 60611                                                     resistive
  3       1     1535 W Madison St,                   Tavern/Restaurant                Joisted           2
                Chicago, IL 60607                                                     Masonry
  4       1     222 Merchandise Mart Plz, Restaurant                                  Fire-             2
                Chicago, IL 60654                                                     resistive
  5       1     600 E Grand Ave, Chicago, Tavern/Restaurant                           Fire-             2
                IL 60611                                                              resistive
  6       1     60 E Lake St, Chicago, IL Tavern/Restaurant                           Fire-             2
                60601                                                                 resistive
  7       1     203 Yorktown Ctr,         Tavern/Restaurant                           Fire-             2
                Lombard, IL 60148                                                     resistive
  8       1     5700 S Cicero Ave Fl 1,   Tavern/Restaurant                           Fire-             1
                Chicago, IL 60638                                                     resistive



SECTION I – PROPERTY

                                                    Blanket Insurance
Indicate the type of property to be blanketed and the blanket limit of insurance.
                                Type Of Property                                       Limit Of Insurance


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BP-DECLARATION 01-15


                                                                                        003
           Case: 1:20-cv-02068 Document #: 1-1 Filed: 03/31/20 Page 4 of 148 PageID #:17
                  SOCIETY INSURANCE, A MUTUAL COMPANY
                              150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                                  BUSINESSOWNERS
                                               RENEWAL DECL ARATION

POLICY NO: BP17022546-2                                            EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                                         AGENT: Carlson Mikuzis & Taylor Inc

                                                    Blanket Insurance
Indicate the type of property to be blanketed and the blanket limit of insurance.
                                Type Of Property                                        Limit Of Insurance
Blanket 1 - Building and Business Personal Property                                 $                    2,962,503
Combined


                                        Property Coverage Limits Of Insurance**
                                                                            Business
                                                                            Personal
                                                                           Property –
                                                              Automatic     Seasonal
Prem. Bldg. Classification                        Valuation Increase Limit  Increase
 No. No.         No.           Type Of Property    Option    (Percentage) (Percentage) Limit Of Insurance*
  1     1         1          Business Personal Replacement              4%         25% $          111,405
                            Property-Fast Food      Cost                                    Included in
                           Restaurants - Pizza                                                Blanket 1
                             - Limited Cooking
  2     1         1          Business Personal Replacement              4%         25% $          111,405
                            Property-Fast Food      Cost                                    Included in
                           Restaurants - Pizza                                                Blanket 1
                             - Limited Cooking
  3     1                         Buildings     Replacement             4%            %$          584,064
                                                    Cost                                    Included in
                                                                                              Blanket 1
  3     1         1          Business Personal Replacement              4%         25% $           81,120
                            Property-Fast Food      Cost                                    Included in
                           Restaurants - Pizza                                                Blanket 1
                             - Limited Cooking
  4     1         1          Business Personal Replacement              4%         25% $          217,402
                            Property-Fast Food      Cost                                    Included in
                           Restaurants - Pizza                                                Blanket 1
                             - Limited Cooking
  5     1         1          Business Personal Replacement              4%         25% $          451,027
                            Property-Fast Food      Cost                                    Included in
                           Restaurants - Pizza                                                Blanket 1
                             - Limited Cooking
  6     1         1          Business Personal Replacement              4%         25% $          270,400
                            Property-Fast Food      Cost                                    Included in
                           Restaurants - Pizza                                                Blanket 1
                             - Limited Cooking
  7     1         1          Business Personal Replacement              4%         25% $          270,400
                            Property-Fast Food      Cost                                    Included in
                           Restaurants - Pizza                                                Blanket 1
                             - Limited Cooking
  8     1         1          Business Personal Replacement              4%         25% $          865,280
                            Property-Fast Food      Cost                                    Included in
                           Restaurants - Pizza                                                Blanket 1
                             - Limited Cooking
08-26-19                                                     smd                                         Page 2 of 7
BP-DECLARATION 01-15


                                                                                         004
           Case: 1:20-cv-02068 Document #: 1-1 Filed: 03/31/20 Page 5 of 148 PageID #:18
                  SOCIETY INSURANCE, A MUTUAL COMPANY
                              150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                                 BUSINESSOWNERS
                                              RENEWAL DECL ARATION

 POLICY NO: BP17022546-2                                          EFFECTIVE DATE: 08/26/2019
 INSURED: Billy Goat Tavern                                       AGENT: Carlson Mikuzis & Taylor Inc

                                        Property Coverage Limits Of Insurance**
                                                                                      Business
                                                                                      Personal
                                                                                     Property –
                                                                        Automatic     Seasonal
Prem. Bldg. Classification                               Valuation    Increase Limit  Increase
  No. No.         No.          Type Of Property           Option       (Percentage) (Percentage) Limit Of Insurance*
*Includes Automatic Increase Limit Percentage(if applicable)
**Business Income actual loss sustained for 12 months included subject to policy provisions.


                                   Deductibles (Apply Per Location, Per Occurrence)
                                                                                           Windstorm Or Hail
          Prem. No.                           Property Deductible                        Percentage Deductible
   (Location 1, Building           $                                   2,500                                 N/A   %
             1)




   (Location 2, Building           $                                   2,500                                N/A    %
             1)




   (Location 3, Building           $                                   2,500                                N/A    %
             1)




   (Location 4, Building           $                                   2,500                                N/A    %
             1)




 08-26-19                                                   smd                                            Page 3 of 7
 BP-DECLARATION 01-15


                                                                                               005
         Case: 1:20-cv-02068 Document #: 1-1 Filed: 03/31/20 Page 6 of 148 PageID #:19
               SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                        BUSINESSOWNERS
                                     RENEWAL DECL ARATION

POLICY NO: BP17022546-2                                EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                             AGENT: Carlson Mikuzis & Taylor Inc

  (Location 5, Building      $                              2,500                                N/A    %
            1)




  (Location 6, Building      $                              2,500                                N/A    %
            1)




  (Location 7, Building      $                              2,500                                N/A    %
            1)




  (Location 8, Building      $                              2,500                                N/A    %
            1)




                             Crime Coverages – Optional Higher Limits
        Coverage           Additional Premium         Limit Of Insurance                 Deductible
Computer Fraud         $                      562 $                   50,000         $                2,500
Funds Transfer Fraud   $                      562 $                   50,000         $                2,500
Money and Security     $                      341 $ 25,000       Inside the          $                2,500
(Location 1)                                                        Premises
                                                  $ 25,000      Outside  the
                                                                    Premises
Money and Security     $                      341 $ 25,000       Inside the          $                2,500
(Location 2)                                                        Premises
                                                                Outside the
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BP-DECLARATION 01-15


                                                                                006
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              SOCIETY INSURANCE, A MUTUAL COMPANY
                        150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                           BUSINESSOWNERS
                                        RENEWAL DECL ARATION

POLICY NO: BP17022546-2                                   EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                                AGENT: Carlson Mikuzis & Taylor Inc

                                 Crime Coverages – Optional Higher Limits
        Coverage               Additional Premium         Limit Of Insurance              Deductible
                                                      $ 25,000          Premises
Money and Security      $                         364 $ 25,000       Inside the       $                2,500
(Location 3)                                                            Premises
                                                      $ 25,000      Outside  the
                                                                        Premises
Money and Security      $                         341 $ 25,000       Inside the       $                2,500
(Location 4)                                                            Premises
                                                      $ 25,000      Outside  the
                                                                        Premises
Money and Security      $                         354 $ 25,000       Inside the       $                2,500
(Location 5)                                                            Premises
                                                      $ 25,000 Outside the
                                                                        Premises
Money and Security      $                         354 $ 25,000       Inside the       $                2,500
(Location 6)                                                            Premises
                                                      $ 25,000 Outside the
                                                                        Premises
Money and Security      $                         280 $ 25,000       Inside the       $                2,500
(Location 7)                                                            Premises
                                                      $ 25,000      Outside  the
                                                                        Premises
Money and Security      $                         364 $ 25,000       Inside the       $                2,500
(Location 8)                                                            Premises
                                                      $ 25,000 Outside the
                                                                        Premises


                            Equipment Breakdown Protection Coverage Deductibles
  Prem.        Bldg.                                         Deductible
   No.          No.
    1              1    $                                                                              2,500


    2              1    $                                                                              2,500


    3              1    $                                                                              2,500


    4              1    $                                                                              2,500


    5              1    $                                                                              2,500


    6              1    $                                                                              2,500


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BP-DECLARATION 01-15


                                                                                  007
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                 SOCIETY INSURANCE, A MUTUAL COMPANY
                             150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                                BUSINESSOWNERS
                                             RENEWAL DECL ARATION

 POLICY NO: BP17022546-2                                         EFFECTIVE DATE: 08/26/2019
 INSURED: Billy Goat Tavern                                      AGENT: Carlson Mikuzis & Taylor Inc


      7             1         $                                                                                   2,500


      8             1         $                                                                                   2,500




            Additional Coverages – Optional Higher Limits/Extended Number Of Days (Per Policy)
                                                           Limit Of Insurance/Extended      Deductible
          Coverage                Additional Premium             Number Of Days
Extended Business Income –     $                       0               60
Extended Number Of Days



SECTION II – LIABILITY AND MEDICAL EXPENSES
Each paid claim for the following coverages reduces the amount of insurance we provide during the applicable annual period.
Please refer to the Businessowners Liability Coverage Form and any attached endorsements.


                    Coverage                                                Limit Of Insurance
 Liability And Medical Expenses                     $                       1,000,000 Per Occurrence


 Medical Expenses                                   $                            1,000    Per Person

 Damage To Premises Rented To You                   $                          100,000    Any One Premises


 Other Than Products/Completed Operations           $                       2,000,000
 Aggregate


 Products/Completed Operations Aggregate            $                       2,000,000




                                         TOTAL BUSINESSOWNERS POLICY PREMIUM                 $                  18,406



                                                                        TOTAL PREMIUM        $              18,406.00




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 BP-DECLARATION 01-15


                                                                                           008
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            SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                        BUSINESSOWNERS
                                     RENEWAL DECL ARATION

POLICY NO: BP17022546-2                                 EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                              AGENT: Carlson Mikuzis & Taylor Inc

FORMS AND ENDORSEMENTS
APPLYING TO THIS COVERAGE PART AND MADE PART OF THIS POLICY AT TIME OF ISSUE:
See Forms Schedule
NOTE: IF NO ENTRY APPEARS ON THE ABOVE ENDORSEMENTS, INFORMATION REQUIRED TO COMPLETE
THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY FOLLOWING THE
APPLICABLE ENDORSEMENT.




08-26-19                                          smd                                    Page 7 of 7
BP-DECLARATION 01-15


                                                                                009
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            SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                  BUSINESSOWNERS LIABILITY
                                       RENEWAL DECLARATION


LOCATION OF ALL PREMISES YOU OWN, RENT OR OCCUPY:
1 11601 W Touhy Ave, Chicago, IL 60666 5047
2 430 N Michigan Ave, Chicago, IL 60611 4011
3 1535 W Madison St, Chicago, IL 60607 1811
4 222 Merchandise Mart Plz, Chicago, IL 60654 1103
5 Billy Goat Tavern at Navy Pier 600 E Grand Ave, Chicago, IL 60611 3419
6 60 E Lake St, Chicago, IL 60601 5987
7 203 Yorktown Ctr, Lombard, IL 60148 5555
8 5700 S Cicero Ave Fl 1, Chicago, IL 60638 3831

                                        PREMIUM                          PMS         PDTS OTHER PD DED
LOC     CLASSIFICATION        CODE       BASIS          EXPOSURE         RATE        RATE  RATE APPLIES
 1    Restaurants - with      16911   Square                 1,000       3.546       0.221
      sales of alcoholic              Footage
      beverages that are
      less than 30% of
      the total annual
      receipts of the
      restaurants -
      without table
      service
  1   Liquor Sales, Less      58161   Gross Sales            302,075                         5.636
      Than Or Equal To
      25%
  2   Restaurants - with      16916   Square                   2,500     3.358       0.245
      sales of alcoholic              Footage
      beverages that are
      30% or more but
      less than 75% of
      the total annual
      receipts of the
      restaurants -
      without dance
      floor
  2   Liquor Sales, Less      58161   Gross Sales            455,523                         5.636
      Than Or Equal To
      25%
  3   Restaurants - with      16916   Square                   4,000     5.178       0.245
      sales of alcoholic              Footage
      beverages that are
      30% or more but
      less than 75% of
      the total annual
      receipts of the
      restaurants -
      without dance
      floor
  3   Liquor Sales, Less      58161   Gross Sales            403,053                         5.636
      Than Or Equal To
      25%

08-26-19                                          smd                                            Page 1 of 3
GL-DECLARATION 12-18



                                                                                 010
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            SOCIETY INSURANCE, A MUTUAL COMPANY
                                BUSINESSOWNERS LIABILITY
                                     RENEWAL DECLARATION

POLICY NO: BP17022546-2                              EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                           AGENT: Carlson Mikuzis & Taylor Inc


                                       PREMIUM                     PMS      PDTS OTHER PD DED
LOC     CLASSIFICATION       CODE       BASIS        EXPOSURE      RATE     RATE  RATE APPLIES
 4    Restaurants - with     16901   Square               1,000    4.174    0.315
      no sale of                     Footage
      alcoholic
      beverages -
      without table
      service with
      seating
 5    Restaurants - with     16916   Square                1,500    3.358   0.245
      sales of alcoholic             Footage
      beverages that are
      30% or more but
      less than 75% of
      the total annual
      receipts of the
      restaurants -
      without dance
      floor
 5    Patio                  44276   Square Feet           1,440   336.72       0
                                                                        2
 5    Liquor Sales, Less     58161   Gross Sales       1,082,290                    5.636
      Than Or Equal To
      25%
 6    Restaurants - with     16916   Square                2,500    3.358   0.245
      sales of alcoholic             Footage
      beverages that are
      30% or more but
      less than 75% of
      the total annual
      receipts of the
      restaurants -
      without dance
      floor
 6    Liquor Sales, Less     58161   Gross Sales         285,844                    5.636
      Than Or Equal To
      25%
 7    Restaurants - with     16911   Square                1,000    4.016   0.221
      sales of alcoholic             Footage
      beverages that are
      less than 30% of
      the total annual
      receipts of the
      restaurants -
      without table
      service
 7    Liquor Sales, Less     58161   Gross Sales          38,018                    5.636
      Than Or Equal To
      25%

08-26-19                                       smd                                      Page 2 of 3
GL-DECLARATION 12-18



                                                                            011
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            SOCIETY INSURANCE, A MUTUAL COMPANY
                                BUSINESSOWNERS LIABILITY
                                      RENEWAL DECLARATION

POLICY NO: BP17022546-2                              EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                           AGENT: Carlson Mikuzis & Taylor Inc


                                       PREMIUM                     PMS     PDTS OTHER PD DED
LOC     CLASSIFICATION       CODE       BASIS        EXPOSURE      RATE    RATE  RATE APPLIES
 8    Restaurants - with     16911   Square               1,000    5.492   0.221
      sales of alcoholic             Footage
      beverages that are
      less than 30% of
      the total annual
      receipts of the
      restaurants -
      without table
      service
 8    Liquor Sales 40-       58161   Gross Sales         400,000                  7.818
      75%, Within City
      With Population
      Greater Than 20K,
      No Entertainment



                                     TOTAL BUSINESSOWNERS LIABILITY PREMIUM   $            25,676

                                                              TOTAL PREMIUM   $            25,676




FORMS AND ENDORSEMENTS
APPLYING TO THIS COVERAGE PART AND MADE PART OF THIS POLICY AT TIME OF ISSUE:
See Forms Schedule

NOTE: IF NO ENTRY APPEARS ON THE ABOVE ENDORSEMENTS, INFORMATION REQUIRED TO COMPLETE
THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY FOLLOWING THE
APPLICABLE ENDORSEMENT.




08-26-19                                       smd                                      Page 3 of 3
GL-DECLARATION 12-18



                                                                           012
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            SOCIETY INSURANCE, A MUTUAL COMPANY
                     150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                           BUSINESSOWNERS PACKAGE POLICY
                                  PREMIUM SUMMARY


                                         TOTAL BUSINESSOWNERS PREMIUM              $       18,406

                               TOTAL BUSINESSOWNERS LIABILITY PREMIUM              $       25,676


                                                          TOTAL SURCHARGE          $              0



                       TOTAL BUSINESSOWNERS PACKAGE POLICY PREMIUM                 $       44,082




THESE DECLARATIONS AND THE COMMON POLICY DECLARATIONS, IF APPLICABLE, TOGETHER WITH THE
COMMON POLICY CONDITIONS, COVERAGE FORM(S) AND ENDORSEMENTS, AND SUPPLEMENTAL FORM
DECLARATION(S), IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY




08-26-19                                         smd                                    Page 1 of 1
SB-PREMIUM-SUMMARY 01-15


                                                                               013
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                   Society Insurance, a mutual company
                           BUSINESSOWNERS PACKAGE POLICY
                                 EXTENDED NAME SCHED ULE
                                             POLICY NO: BP17022546-2

                                                 RENEWAL OF BP17022546-1

ACCOUNT NUMBER:
NAMED INSURED AND MAILING ADDRESS                AGENCY AND MAILING ADDRESS          20095 000
Billy Goat Tavern                                CARLSON MIKUZIS & TAYLOR INC
1535 W MADISON ST                                2221 LAKESIDE DR
CHICAGO, IL 60607                                BANNOCKBURN, IL 60015



POLICY PERIOD: FROM 08/26/2019 TO 08/26/2020 AT 12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS
SHOWN ABOVE.


                            E X T E N D E D   N A M E D   I N S U R E D




Billy Goat IP LL C



Billy Goat IV In c



Billy Goat Inn Inc



Billy Goat Midwe st LLC



Billy Goat North II Inc



Billy Goat Taver n I Inc



Billy Goat Taver n West LLC



Billy Goat VI In c



08-26-19                                        smd                                      Page 1 of 2

SB-EXT-NAME-SCHEDULE (01-15)




                                                                          014
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                        SOCIETY INSURANCE, A MUTUAL COMPANY
                         BUSINESSOWNERS PACKAGE POLICY
                                EXTENDED NAME SCHED ULE
POLICY NO. BP17022546-2                            EFFECTIVE DATE: 08/26/2019
INSURED: BILLY GOAT TAVERN                         AGENCY: CARLSON MIKUZIS & TAYLOR INC


Greek Delight In c



Madiso n & Ogden LLC




08-26-19                                     smd                                        Page 2 of 2
SB-EXT-NAME-SCHEDULE (01-15)




                                                                       015
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              SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                        FORMS SCHEDULE

                                                     POLICY NO: BP17022546-2

                                                     RENEWAL OF     BP17022546-1

ACCOUNT NUMBER:                                                                            20095
NAMED INSURED AND MAILING ADDRESS                     AGENCY AND MAILING ADDRESS             000
Billy Goat Tavern                                    Carlson Mikuzis & Taylor Inc
1535 W Madison St                                    2221 Lakeside Dr
Chicago, IL 60607-1811                               Bannockburn, IL 60015


POLICY PERIOD: FROM 08/26/2019 TO 08/26/2020 AT 12:01 AM STANDARD TIME AT YOUR MAILING
ADDRESS SHOWN ABOVE.

NOTE: IF NO ENTRY APPEARS ON THE FOLLOWING ENDORSEMENTS, INFORMATION REQUIRED TO
COMPLETE THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY
FOLLOWING THE APPLICABLE ENDORSEMENT.

BUSINESSOWNERS POLICY FORMS
BP0154 01-18       Illinois Changes
BP0503 01-06       Illinois Liquor Liability Coverage
BP0643 04-06       Illinois Changes - Defense Costs
BP0695 01-10       Illinois - Employment-Related Practices Liability
                   Endorsement
BP0409 07-13       Additional Insured - Mortgagee, Assignee, Or Receiver
BP0417 01-10       Employment-Related Practices Exclusion
BP0446 07-13       Ordinance Or Law Coverage
BP0448 07-13       Additional Insured - Designated Person Or Organization
BP0498 07-13       Employee Benefits Liability Coverage
BP0515 01-15       Disclosure Pursuant To Terrorism Risk Insurance Act
BP1203 01-10       Loss Payable Clauses
TBP453 11-16       Water Backup And Sump Overflow
TSE309 10-18       TopShelf Extension Endorsement
TBP9 10-08         Businessowners Common Policy Conditions
TBP84 05-15        Property Enhancement Endorsement Green Environmental and
                   Energy Efficiency Improvements
TBP6 05-15         Businessowners Liability Coverage Form
TBP440 08-17       Asbestos - Exclusion
TBP2109 12-15      Exclusion - Unmanned Aircraft
TBP2 05-15         Businessowners Special Property Coverage Form
TBP13 05-15        Product Contamination
TBP12 05-15        Product Spoilage
SAI43 09-02        Additional Insured - Limited - Owners, Lessees or
                   Contractors
SAI41 05-15        Additional Insured - Not Otherwise Classified Limited
EPL120 10-08       Liability to Non-Employees
BP1505 05-14       Exclusion - Access Or Disclosure Of Confidential Or
                   Personal Information And Data-Related Liability -
                   Limited Bodily Injury Exception Not Included
BP1488 07-13       Primary And Noncontributory - Other Insurance Condition
BU2101 09-03       Exclusion - Athletic/Sports Participants



    08-26-19                                       smd                                   Page 1 of 2
    SB-FORMS-SCHEDULE 01-15


                                                                               016
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              SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                        FORMS SCHEDULE

                                                     POLICY NO: BP17022546-2

                                                     RENEWAL OF     BP17022546-1

ACCOUNT NUMBER:                                                                            20095
NAMED INSURED AND MAILING ADDRESS                     AGENCY AND MAILING ADDRESS             000
Billy Goat Tavern                                    Carlson Mikuzis & Taylor Inc
1535 W Madison St                                    2221 Lakeside Dr
Chicago, IL 60607-1811                               Bannockburn, IL 60015


POLICY PERIOD: FROM 08/26/2019 TO 08/26/2020 AT 12:01 AM STANDARD TIME AT YOUR MAILING
ADDRESS SHOWN ABOVE.




    08-26-19                                       smd                                   Page 2 of 2
    SB-FORMS-SCHEDULE 01-15


                                                                               017
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                                                                                             BUSINESSOWNERS
                                                                                                 BP 01 54 01 18

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     ILLINOIS CHANGES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM
   INFORMATION SECURITY PROTECTION ENDORSEMENT


A. The following is added to the Businessowners                         b. Materially   affected    either   our
   Coverage Form:                                                          decision to provide this insurance or
   1. If this Policy covers the following in a. and b.,                    the hazard we assumed.
      then Paragraphs 2. and 3. apply:                                  However, this condition will not serve as
      a. Real property used principally for residential                 a reason to void this Policy after the
         purposes up to and including a four family                     Policy has been in effect for one year or
         dwelling; or                                                   one policy term, whichever is less.
      b. Household or personal property that is                      2. We do not provide coverage under this
         usual or incidental to the occupancy of any                    Policy to you or any other insured who,
         premises used for residential purposes.                        at any time subsequent to the issuance
                                                                        of this insurance, commit fraud or
   2. The second paragraph of Paragraph E.2.                            intentionally conceal or misrepresent a
      Appraisal Property Loss Condition in Section                      material fact relating to:
      I – Property is replaced by the following:
                                                                        a. This Policy;
      a. Each party will pay its own appraiser and
         bear the other expenses of the appraisal                       b. The Covered Property;
         and umpire equally, except as provided in                      c. Your interest       in    the   Covered
         b. below.                                                         Property; or
      b. We will pay your appraiser's fee and the                       d. A claim under this Policy.
         umpire's appraisal fee, if the following                    3. Notwithstanding the limitations stated in
         conditions exist:                                              C.1. above, we may cancel this Policy in
         (1) You demanded the appraisal; and                            accordance with the terms of Paragraph
         (2) The full amount of loss, as set by your                    A. Cancellation in Section III – Common
             appraiser, is agreed to by our appraiser                   Policy Conditions.
             or by the umpire.                             B. Section I – Property is amended as follows:
   3. Paragraph         C.         Concealment,               1. Paragraph B.2.a. Electrical Apparatus is
      Misrepresentation Or Fraud in Section III –                replaced by the following:
      Common Policy Conditions is replaced by                    a. Electrical Apparatus
      the following:
                                                                     Artificially generated electrical current,
      C. Concealment, Misrepresentation Or                           including electric arcing, that disturbs
         Fraud                                                       electrical devices, appliances or wires.
          1. This Policy is void if you or any insured               But if artificially generated electrical current
             commit fraud or conceal or misrepresent                 results in fire, we will pay for the loss or
             a fact in the process leading to the                    damage caused by fire.
             issuance of this insurance, and such
             fraud, concealment or misrepresentation                 We will pay for loss or damage to
             is stated in the Policy or endorsement or               "computer(s)" due to artificially generated
             in the written application for this Policy              electrical current if such loss or damage is
             and:                                                    caused by or results from:
             a. Was made with actual intent to                      (1) An occurrence that took place within
                deceive; or                                             100 feet of the described premises; or




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         (2) Interruption of electric power supply,                  2. If this Policy has been in effect for 60
             power surge, blackout or brownout if the                   days or less, except as provided in
             cause of such occurrence took place                        Paragraphs 8. and 9. below, we may
             within 100 feet of the described                           cancel this Policy by mailing written
             premises.                                                  notice of cancellation at least:
   2. The following exclusion is added to Paragraph                     a. 10 days before the effective date of
      B.2. Exclusions:                                                     cancellation if we cancel for
      a. We will not pay for loss or damage arising                        nonpayment of premium; or
         out of any act committed:                                      b. 30 days before the effective date of
         (1) By or at the direction of any insured; and                    cancellation if we cancel for any
                                                                           other reason.
         (2) With the intent to cause a loss.
                                                                     3. If this Policy has been in effect for more
      b. However, this exclusion will not apply to                      than 60 days, except as provided in
         deny payment to an innocent co-insured                         Paragraphs 8. and 9. below, we may
         who did not cooperate in or contribute to                      cancel this Policy only for one or more
         the creation of the loss if:                                   of the following reasons:
         (1) The loss arose out of a pattern of                         a. Nonpayment of premium;
             criminal domestic violence; and
                                                                        b. The Policy was obtained through a
         (2) The perpetrator of the loss is criminally                     material misrepresentation;
             prosecuted for the act causing the loss.
                                                                        c. You have violated any of the terms
      c. If we pay a claim pursuant to Paragraph                           and conditions of the Policy;
         B.2.b., our payment to the insured is limited
         to that insured's insurable interest in the                    d. The risk originally accepted has
         property less any payments we first made                          measurably increased;
         to a mortgagee or other party with a legal                     e. Certification to the Director of
         secured interest in the property. In no event                     Insurance of the loss of reinsurance
         will we pay more than the Limit of                                by the insurer which provided
         Insurance.                                                        coverage to us for all or a substantial
   3. The following is added to Paragraph E.4. Legal                       part of the underlying risk insured; or
      Action Against Us Property Loss Condition:                         f. A determination by the Director of
      The two-year period for legal action against us                       Insurance that the continuation of the
      is extended by the number of days between                             Policy could place us in violation of
      the date the proof of loss is filed with us and                       the insurance laws of this State.
      the date we deny the claim in whole or in part.                   If we cancel this Policy based on one or
C. Section II – Liability is amended as follows:                        more of the above reasons except for
                                                                        nonpayment of premium, we will mail
   The term "spouse" is replaced by the following:                      written notice at least 60 days before the
   Spouse or party to a civil union recognized under                    effective date of cancellation. When
   Illinois law.                                                        cancellation is for nonpayment of
                                                                        premium, we will mail written notice at
D. Section III – Common Policy Conditions is
                                                                        least 10 days before the effective date of
   amended as follows:
                                                                        cancellation.
   1. The Paragraph A. Cancellation Common
      Policy Condition is replaced by the following:                 4. We will mail our notice to you, together
                                                                        with our reason for cancellation, at your
      A. Cancellation                                                   last mailing address known to us. Proof
          1. The first Named Insured shown in the                       of mailing will be sufficient proof of
             Declarations may cancel this Policy by                     notice.
             mailing to us advance written notice of
             cancellation.




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         5. Notification of cancellation will also be                    The Policy will terminate 10 days
            sent to your broker, if known, or agent of                   following receipt of the written notice by
            record, if known, and to the mortgagee                       the Named Insured(s).
            or lienholder listed on the Policy.                       9. Residential Properties Occupied By
         6. Notice of cancellation will state the                        Four Families Or Less
            effective date of cancellation. The policy                   The following applies if this Policy
            period will end on that date.                                covers residential properties occupied
         7. If this Policy is cancelled, we will send                    by four families or less:
            the first Named Insured any premium                          If this Policy has been in effect for 60
            refund due. If we cancel, the refund will                    days, or if this is a renewal policy, we
            be pro rata. If the first Named Insured                      may only cancel this Policy for one or
            cancels, the refund may be less than                         more of the following reasons:
            pro rata. The cancellation will be
            effective even if we have not made or                        a. Nonpayment of premium;
            offered a refund.                                            b. The Policy was obtained             by
         8. Real Property Other Than Residential                            misrepresentation or fraud; or
            Properties Occupied By Four                                  c. Any act that measurably increases
            Families Or Less                                                the risk originally accepted.
            The following applies only if this Policy                    If we cancel this Policy based on one or
            covers real property other than                              more of the above reasons except for
            residential property occupied by four                        nonpayment of premium, we will mail
            families or less:                                            written notice at least 30 days before the
            If any one or more of the following                          effective date of cancellation. When
            conditions exists at any building that is                    cancellation is for nonpayment of
            Covered Property in this Policy, we may                      premium, we will mail written notice at
            cancel this Policy by mailing to you                         least 10 days before the effective date of
            written notice of cancellation, by both                      cancellation.
            certified and regular mail, if:                    2. Paragraph H.1. Other Insurance is replaced
            a. After a fire loss, permanent repairs to            by the following:
               the building have not started within               H. Other Insurance
               60 days of satisfactory adjustment of
                                                                      1. You may have other insurance subject
               loss, unless the delay is due to a                        to the same plan, terms, conditions and
               labor dispute or weather conditions.
                                                                         provisions as the insurance under this
            b. The building has been unoccupied                          Coverage Form. If you do, we will pay
               60 or more consecutive days. This                         our share of the covered loss or
               does not apply to:                                        damage. Our share is the proportion
                 (1) Seasonal unoccupancy; or                            that the applicable Limit of Insurance
                                                                         under this Coverage Form bears to the
                 (2) Buildings      under      repair,                   Limits of Insurance of all insurance
                     construction or reconstruction, if                  covering on the same basis.
                     properly     secured     against
                     unauthorized entry.                              2. If there is other insurance covering the
                                                                         same loss or damage, other than that
            c. The building has:                                         described in 1. above, we will pay only
                 (1) An outstanding order to vacate;                     for the amount of covered loss or
                 (2) An outstanding demolition order;                    damage in excess of the amount due
                     or                                                  from that other insurance, whether you
                                                                         can collect on it or not. But we will not
                 (3) Been    declared     unsafe       in                pay more than the applicable Limit of
                     accordance with the law.                            Insurance of Section I – Property.
            d. Heat, water, sewer service or public
               lighting have not been connected to
               the building for 30 consecutive days
               or more.




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   3. The following paragraph is added to the                            b. If this Policy has been issued to you
      Common Policy Conditions:                                             and in effect with us for less than five
     M. Nonrenewal                                                          years, we may not fail to renew this
                                                                            Policy unless you received 30 days'
         1. If we decide not to renew or continue                           notice as provided in 1. above.
            this Policy, we will mail you written
            notice,     stating   the   reason for                       c. Notification of nonrenewal will also
            nonrenewal. Proof of mailing will be                            be sent to your broker, if known, or
            sufficient proof of notice.                                     agent of record, if known, and to the
                                                                            last known mortgagee or lienholder.
         2. Except as provided in Paragraph 6.
            below, we will mail you notice of                            d. The nonrenewal shall not become
            nonrenewal at least 60 days before the                          effective until at least 30 days from
            end of the policy period.                                       the proof of mailing date of the notice
                                                                            to you.
         3. If we offer to renew or continue and you
            do not accept, this Policy will terminate       E. The following changes apply only to Information
            at the end of the current policy period.           Security Protection Endorsement BP 15 07 if it is
            Failure to pay the required renewal or             attached to this Policy:
            continuation premium when due shall                1. Paragraph (2) of Insuring Agreement d.
            mean that you have not accepted our                   Security Breach Liability is replaced by the
            offer.                                                following:
         4. If we fail to mail proper written notice of              (2) We will pay for "defense expenses" as a
            nonrenewal and you obtain other                              result of a "claim" in the form of a
            insurance, this Policy will end on the                       "regulatory proceeding" first made
            effective date of that insurance.                            against the insured during the "policy
         5. The following provision applies to                           period" or during the applicable
            policies other than those described in                       Extended Reporting Period, in response
            Paragraph 6.:                                                to a "wrongful act" or a series of
                                                                         "interrelated wrongful acts" covered
              Notification of nonrenewal will also be                    under Paragraph d.(1).
              sent to your broker, if known, or agent of
              record, if known, and the mortgagee or           2. The following is added to the Defense And
              lienholder listed on the Policy.                    Settlement Provision under Paragraph E.:
         6. The following provision applies only if               3. If we initially defend an insured or pay for
            this Policy covers residential properties                an insured's defense but later determine
            occupied by four families or less:                       that the claim(s) is (are) not covered under
                                                                     this insurance, we will have the right to
              a. If this Policy has been issued to you               reimbursement for the defense costs we
                 and in effect with us for five or more              have incurred.
                 years, we may not fail to renew this
                 Policy unless:                                       The right to reimbursement for the defense
                                                                      costs under this provision will only apply to
                (1) The Policy was obtained by                        defense costs we have incurred after we
                    misrepresentation or fraud and                    notify you in writing that there may not be
                    we mail you notice of nonrenewal                  coverage, and that we are reserving our
                    at least 30 days before the end of                rights to terminate the defense and seek
                    the policy period as provided in 1.               reimbursement for defense costs.
                    above;
                                                               3. The following is added to Exclusion m. under
                (2) The risk originally accepted has              Paragraph I.:
                    measurably increased and we
                    mail you notice of nonrenewal at                  However, Paragraphs (1), (2) and (3) shall
                    least 30 days before the end of                   not apply to loss resulting from a "hostile
                    the policy period as provided in 1.               fire" if, and to the extent, loss resulting from
                    above; or                                         any "claim" is based upon, attributable to or
                                                                      arising out of heat, smoke or fumes.
                (3) You received 60 days' notice of
                    our intent not to renew as
                    provided in 1. above.




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   4. Paragraph 2. Supplemental Extended                                (2) The "claim" arose out of either a
      Reporting Period under Paragraph N.                                   "wrongful act" or the first of a series
      Extended Reporting Periods is replaced by                             of "interrelated wrongful acts" which
      the following:                                                        occurred on or after the Retroactive
      2. Supplemental Extended Reporting                                    Date, if any, shown in the Schedule
         Period                                                             and before the end of the "policy
                                                                            period".
         a. You will have the right to purchase a
            Supplemental       Extended  Reporting                    d. You must give us a written request for
            Period from us if:                                           the Supplemental Extended Reporting
                                                                         Period within 30 days after the end of
           (1) This Endorsement is cancelled or                          the "policy period" or the effective date
               nonrenewed for any reason; or                             of cancellation, whichever comes first.
           (2) We    renew    or    replace     this                  e. The Supplemental Extended Reporting
               Endorsement with insurance that:                          Period will not go into effect unless you
                 (a) Has a Retroactive Date later than                   pay the additional premium in full within
                     the date shown in the Schedule                      30 days of tendering your request for
                     of this Endorsement for either                      the Supplemental Extended Reporting
                     Insuring Agreement d. Security                      Period to us. Once in effect, the
                     Breach Liability or g. Web Site                     Supplemental      Extended      Reporting
                     Publishing Liability. However, the                  Period may not be cancelled.
                     Supplemental             Extended                f. We will determine the additional
                     Reporting Period will only be                       premium in accordance with our rules
                     provided    for     the   insuring                  and rates. In doing so, we may take into
                     agreement for which our renewal                     account the following:
                     or replacement endorsement has
                     a Retroactive Date later than the                  (1) The exposures insured;
                     date shown in the Schedule of                      (2) Previous types and amounts of
                     this Endorsement; or                                   insurance;
                 (b) Does not apply to "wrongful acts"                  (3) Limit of Insurance available under
                     on a claims-made basis for either                      this Endorsement for future payment
                     Insuring Agreement d. Security                         of damages; and
                     Breach Liability or g. Web Site                    (4) Other related factors.
                     Publishing Liability. However, the
                     Supplemental             Extended                   The additional premium may not exceed
                     Reporting Period will only be                       200% of the annual premium for this
                     provided    for     the   insuring                  Endorsement. The premium for the
                     agreement for which our renewal                     Supplemental       Extended    Reporting
                     or replacement endorsement                          Period will be deemed fully earned as of
                     does not apply to "wrongful acts"                   the date it is purchased.
                     on a claims-made basis.                   5. Paragraph H. Other Insurance under
         b. A Supplemental Extended Reporting                     Paragraph O. is replaced by the following:
            Period, as specified in Paragraph a.,                 H. Other Insurance
            lasts one year and is available only for
                                                                      If any "loss" resulting from any "claim" is
            an additional premium.
                                                                      insured by any other valid policy, we shall
         c. The Supplemental Extended Reporting                       not be liable under this Endorsement for a
            Period starts with the end of the Basic                   greater proportion of such "loss" than the
            Extended Reporting Period set forth in                    Information Security Protection Aggregate
            Paragraph 1. It does not extend the                       Limit Of Insurance stated in the Schedule
            "policy period" or change the scope of                    bears to the total applicable limit of liability
            the coverage provided. It applies only to                 of all valid and collectible insurance against
            "claims" to which the following applies:                  such "loss", unless such other insurance is
           (1) The "claim" is first made and                          purchased specifically to apply in excess of
               reported    to us   during  the                        the     Information     Security    Protection
               Supplemental Extended Reporting                        Aggregate Limit Of Insurance stated in the
               Period; and                                            Schedule of this Endorsement.




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   6. The definition of "defense expenses"          in              "Defense expenses" does not include
      Paragraph V. is replaced by the following:                    salaries and expenses of our "employees"
      5. "Defense expenses" means payments                          or an insured's "employees" (other than
         allocated to a specific "claim" we                         those described in Paragraph d. above).
         investigate, settle or defend, for its              7. Paragraph d. of the definition of "loss" in
         investigation, settlement or defense,                  Paragraph V. is replaced by the following:
         including:                                             d. With respect to Insuring Agreements d.
         a. Fees and salaries of attorneys and                     Security Breach Liability and g. Web Site
            paralegals we retain.                                  Publishing Liability:
         b. Fees of attorneys an insured retains                    Compensatory       damages, settlement
            when, by our mutual agreement or court                  amounts and costs awarded pursuant to
            order    (or    when    required    by                  judgments or settlements.
            administrative hearing or proceeding),                  "Loss" does not include:
            an insured is given the right to retain
            defense counsel to defend against a                    (1) Civil or criminal fines or penalties
            "claim".                                                   imposed by law;
         c. All other litigation or administrative                 (2) Punitive or exemplary damages;
            hearing expenses, including fees or                    (3) The multiplied portion of multiplied
            expenses of expert witnesses hired                         damages;
            either by us or by the defense attorney
                                                                   (4) Taxes;
            retained by an insured.
                                                                   (5) Royalties;
         d. Reasonable expenses incurred by an
            insured at our request to assist us in the             (6) The amount of any disgorged profits; or
            investigation or defense of the "claim",               (7) Matters that are uninsurable pursuant to
            including actual loss of earnings up to                    law.
            $250 a day because of time off from
            work.
         e. Costs taxed against an insured in the
            "suit".




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POLICY NUMBER: BP17022546-2                                                                   BUSINESSOWNERS
                                                                                                  BP 05 03 01 06




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  ILLINOIS LIQUOR LIABILITY COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                      SCHEDULE

                     Coverage                                                Limits Of Insurance
Each Person Bodily Injury Limit                                         Per statute 235 ILCS 5/6-21

Each Person Property Damage Limit                                       Per statute 235 ILCS 5/6-21

Loss Of Means Of Support Or Loss Of Society Limit                       Per statute 235 ILCS 5/6-21

Aggregate Limit                                                         $    1,000,000

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


With respect to Illinois locations, Section II – Liability          b. "Bodily injury" or "property damage" arising
is amended as follows:                                                 out of "your product". This exclusion does
A. The insurance provided under Paragraph A.1.                         not apply to "bodily injury" or "property dam-
    Business Liability, also applies to all "bodily in-                age" for which the insured or the insured's
    jury" or "property damage" arising out of the sell-                indemnitees may be held liable by reason
    ing, serving or furnishing of alcoholic beverages.                 of:
B. For the insurance provided by this endorsement                     (1) Causing or contributing to the intoxica-
    only, Paragraph B. Exclusions is amended as fol-                       tion of any person;
    lows:                                                             (2) The furnishing of alcoholic beverages to
    1. Paragraph 1. Applicable To Business Liabili-                        a person under the legal drinking age or
        ty Coverages, other than exclusions a. Ex-                         under the influence of alcohol; or
        pected Or Intended Injury, d. Workers' Com-                   (3) Any statute, ordinance or regulation re-
        pensation And Similar Laws and e. Employ-                          lating to the sale, gift, distribution or use
        er's Liability, does not apply.                                    of alcoholic beverages.
    2. The following exclusions are added:                          c. Any "bodily injury" or "property damage"
        This insurance does not apply to:                              with respect to which other insurance is af-
                                                                       forded, or would be afforded but for the ex-
        a. "Bodily injury" or "property damage" arising                haustion of the limits of insurance.
            out of any alcoholic beverage sold, served
            or furnished while any required license is                 This exclusion does not apply if the other
            not in effect.                                             insurance responds to liability for "bodily in-
                                                                       jury" or "property damage" imposed on the
                                                                       insured by reason of the selling, serving or
                                                                       furnishing of any alcoholic beverage.




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C. The following are added to Paragraph D. Liability               8. Subject to the Liquor Liability Aggregate
   And Medical Expenses Limits Of Insurance:                           Limit, the Each Person Property Damage
   D. Liability And Medical Expenses Limits Of                         Limit is the most we will pay for all "property
      Insurance                                                        damage" sustained by one person or orga-
                                                                       nization as the result of the selling, serving
      5. The Liquor Liability Aggregate Limit shown                    or furnishing of any alcoholic beverage to
         in the Schedule of this endorsement is the                    any one person.
         most we will pay for all "bodily injury" and
         "property damage" as the result of the sell-              Neither the Liability And Medical Expenses
         ing, serving or furnishing of alcoholic bever-            Limit Of Insurance shown in the Declarations
         ages.                                                     nor its aggregate limits apply to damages aris-
                                                                   ing out of the selling, serving or furnishing of al-
      6. Subject to the Liquor Liability Aggregate                 coholic beverages.
         Limit, the Loss Of Means Of Support Or
         Loss Of Society Limit is the most we will         D. The following paragraph is added:
         pay for all loss of means of support or soci-        CONFORMITY TO STATUTE
         ety sustained by one or more persons as              If the limitation provided under Section 235.5/6-21,
         the result of the selling, serving or furnish-       as published in the Illinois Administrative Code, is
         ing of alcoholic beverage to any one per-            raised during the policy period, the limits of insur-
         son.                                                 ance provided in the Schedule of this endorse-
      7. Subject to the Liquor Liability Aggregate            ment are hereby amended to conform to that
         Limit, the Each Person Bodily Injury Limit is        statute.
         the most we will pay for all "bodily injury"
         sustained by one person as a result of the
         selling, serving or furnishing of any alco-
         holic beverage to any one person.




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                                                                            BUSINESSOWNERS
                                                                                BP 06 43 04 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   ILLINOIS CHANGES – DEFENSE COSTS
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following is added to Section II – Liability
Paragraph A. Coverages:
If we initially defend an insured or pay for an insured's
defense but later determine that the claim(s) is (are)
not covered under this insurance, we will have the
right to reimbursement for the defense costs we have
incurred.
The right to reimbursement for the defense costs
under this provision will only apply to defense costs
we have incurred after we notify you in writing that
there may not be coverage, and that we are reserving
our rights to terminate the defense and seek
reimbursement for defense costs.




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POLICY NUMBER: BP17022546-2                                                                 BUSINESSOWNERS
                                                                                                BP 06 95 01 10

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ILLINOIS – EMPLOYMENT-RELATED PRACTICES
                    LIABILITY ENDORSEMENT
             THIS ENDORSEMENT PROVIDES CLAIMS-MADE AND REPORTED COVERAGE
                             PLEASE READ THE ENTIRE FORM CAREFULLY
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                    SCHEDULE

 Employment-related Practices Liability Annual Aggregate                 $                                100,000
 Limit Of Insurance:
 Supplemental Limit:                                                     $

 Deductible Amount:                                                      $                                 5,000


 Prior Or Pending Litigation Date: 08/26/2017

     Employment-related Malicious Prosecution

 Retroactive Date: 08/26/2017

     Extended Reporting Period

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


For the purposes of the coverage provided by this en-                (1) The amount we will pay for damages
dorsement, Section II – Liability is amended as                          and "defense expenses" is limited as de-
follows:                                                                 scribed in Paragraph D.1. Employment-
A. The following is added to Paragraph A. Cover-                         related Practices Liability Annual Aggre-
    ages:                                                                gate Limit Of Insurance and Paragraph
                                                                         D.2. Deductible of this endorsement;
     1. Insuring Agreement                                               and
        a. We will pay those sums the insured be-                    (2) The coverage and duty to defend pro-
           comes legally obligated to pay as damages                     vided by this endorsement will end when
           resulting from a "wrongful act" to which this                 we have used the applicable Limit of In-
           insurance applies. We will have the right                     surance for "defense expenses" or the
           and duty to defend the insured against any                    payment of judgments or settlements.
           "suit" seeking those damages. However, we
           will have no duty to defend the insured                    No other obligation or liability to pay sums,
           against any "suit" seeking damages be-                     such as civil or criminal fines, imposed on
           cause of a "wrongful act" to which this in-                you or any other insured, or to perform acts
           surance does not apply. We may, at our                     or services is covered unless explicitly pro-
           discretion, investigate any incident that may              vided for under Supplementary Payments.
           result from a "wrongful act". We may, with
           your written consent, settle any "claim" that
           may result. But:




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      b. This insurance applies to "wrongful acts"               e. All "claims" for damages because of a
         only if:                                                    "wrongful act" committed against the same
        (1) The "wrongful act" takes place in the                    person, including damages claimed by any
             "coverage territory";                                   person for care, loss of services or death
                                                                     resulting at any time from the "wrongful
        (2) The "wrongful act" did not commence                      act", will be deemed to have been made at
             before the Retroactive Date, if any,                    the time the first of such "claims" is made,
             shown in the Schedule, or after the end                 regardless of the number of "claims" subse-
             of the policy period; and                               quently made.
        (3) A "claim" against any insured for dam-         B. For the purposes of the coverage provided by this
             ages because of the "wrongful act" is            endorsement, the following is added to Paragraph
             first made during the policy period or an        B. Exclusions, Subparagraph 1. Applicable To
             Extended Reporting Period provided un-           Business Liability Coverage:
             der Paragraph F. of this endorsement, in
             accordance with Paragraphs c. and d.                This insurance does not apply to:
             below.                                              a. Criminal, Fraudulent Or Malicious Acts
      c. A "claim" will be deemed to have been                       An insured's liability arising out of criminal,
         made at the earlier of the following times:                 fraudulent or malicious acts or omissions by
        (1) When notice of such "claim" after being                  that insured.
             received by any insured is reported to                  This exclusion does not affect our duty to
             us in writing; or                                       defend, in accordance with Paragraph A.1.
        (2) When a "claim" against an insured is                     of this endorsement, an insured prior to de-
             made directly to us in writing.                         termining, through the appropriate legal
                                                                     processes, that that insured is responsible
         A "claim" received by the insured during the                for a criminal, fraudulent or malicious act or
         policy period and reported to us within 30                  omission.
         days after the end of the policy period will
         be considered to have been reported within              b. Contractual Liability
         the policy period. However, this 30-day                     Any "wrongful act" for which the insured is
         grace period does not apply to "claims" that                obligated to pay damages by reason of the
         are covered under any subsequent insuran-                   assumption of liability in a contract or
         ce you purchase, or that would have been                    agreement.
         covered but for exhaustion of the amount of             c. Violation Of Laws Applicable To
         insurance applicable to such "claims".                      Employers
      d. If during the policy period you become                      A violation of your responsibilities or duties
         aware of a "wrongful act" that may reason-                  required by any other federal, state or local
         ably be expected to give rise to a "claim"                  statutes, rules or regulations, and any rules
         against any insured, you must provide no-                   or regulations promulgated therefor or
         tice to us in accordance with the provisions                amendments thereto, except for the follow-
         of Paragraph E.2. Duties In The Event Of A                  ing, and including amendments thereto: Ti-
         Claim Or Wrongful Act That May Result In                    tle VII of the Civil Rights Act of 1964, the
         A Claim. If such notice is provided, then any               Americans With Disabilities Act, the Age
         "claim" subsequently made against any in-                   Discrimination in Employment Act, the
         sured arising out of that "wrongful act" shall              Equal Pay Act, the Pregnancy Discrimina-
         be deemed under this policy to be a "claim"                 tion Act of 1978, the Immigration Reform
         made during the policy period in which the                  Control Act of 1986 the Family and Medical
         "wrongful act" was first reported to us.                    Leave Act of 1993 and the Genetic Informa-
                                                                     tion Nondiscrimination Act of 2008 or any
                                                                     other similar state or local statutes, rules or
                                                                     regulations to the extent that they prescribe
                                                                     responsibilities or duties concerning the
                                                                     same acts or omissions.




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          However, this insurance does not apply to a       D. For the purposes of the coverage provided by this
          "wrongful act" arising out of your failure to        endorsement, Paragraph D. Liability And Medi-
          comply with any of the accommodations for            cal Expenses Limits Of Insurance is replaced by
          the disabled required of you by, or any ex-          the following:
          penses incurred as the result of physical            1. Employment-related Practices Liability
          modifications made to accommodate any                   Annual Aggregate Limit Of Insurance
          person pursuant to, the Americans With
          Disabilities Act, or any amendments there-               a. The Employment-related Practices Liability
          to, or any similar state or local statutes,                  Annual Aggregate Limit Of Insurance
          rules or regulations to the extent that they                 shown in the Schedule of this endorsement
          prescribe responsibilities or duties concern-                is the most we will pay, regardless of the
          ing the same acts or omissions.                              number of:
          This exclusion does not apply to any "claim"                (1) Insureds;
          for retaliatory treatment by an insured                     (2) "Claims" made or "suits" brought; or
          against any person making a "claim" pursu-                  (3) Persons, organizations or government
          ant to such person's rights under any stat-                      agencies making "claims" or bringing
          utes, rules or regulations.                                      "suits".
      d. Strikes And Lockouts                                     b. The Employment-related Practices Liability
          Any "wrongful act" committed against any                     Annual Aggregate Limit Of Insurance
          striking or locked-out "employee", or to an                  shown in the Schedule of this endorsement
          "employee" who has been temporarily or                       is the most we will pay for the sum of:
          permanently replaced due to any labor dis-                  (1) All damages; and
          pute.
                                                                      (2) All "defense expenses"
      e. Prior Or Pending Litigation
                                                                       because of all "wrongful acts" to which this
          Any "claim" or "suit" against any insured                    insurance applies.
          which was pending on, or existed prior to,
          the applicable Pending Or Prior Litigation              The Employment-related Practices Liability An-
          Date shown in the Schedule, or any "claim"              nual Aggregate Limit Of Insurance applies sep-
          or "suit" arising out of the same or substan-           arately to each consecutive annual period and
          tially the same facts, circumstances or alle-           to any remaining period of less than 12
          gations which are the subject of, or the ba-            months, starting with the beginning of the pol-
          sis for, such "claim" or "suit".                        icy period shown in the Declarations, unless
                                                                  the policy period is extended after issuance for
       f. Prior Notice                                            an additional period of less than 12 months. In
          Any "wrongful act" alleged or contained in              that case, the additional period will be deemed
          any "claim" which has been reported, or for             part of the last preceding period for purposes
          which, in any circumstance, notice has                  of determining the Employment-related Prac-
          been given, under any other prior insurance             tices Liability Annual Aggregate Limit Of Insur-
          policy providing essentially the same type              ance.
          of coverage.                                         2. Deductible
C. For the purposes of the coverage provided by this               a. We will not pay for our share of damages
   endorsement, Section II – Who Is An Insured is                      and "defense expenses" until the amount of
   amended to include as an insured:                                   damages and "defense expenses" exceeds
   1. Your "employees", unless otherwise excluded                      the Deductible shown in the Schedule of
      in this endorsement.                                             this endorsement. We will then pay the
   2. Your former "employees", unless otherwise                        amount of damages and "defense expens-
      excluded in this endorsement, but only with re-                  es" in excess of the Deductible, up to the
      spect to "wrongful acts" committed while in                      Employment-related Practices Liability An-
      your employ.                                                     nual Aggregate Limit Of Insurance.




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           Example No. 1                                       2. Duties In The Event Of A Claim Or Wrongful
               Deductible: $5,000                                 Act That May Result In A Claim
               Limit of Insurance: $100,000                       a. If a "claim" is received by any insured, you
                                                                     must:
               Damages and "Defense Expenses":
               $75,000                                              (1) Immediately record the specifics of the
                                                                         "claim" and the date received; and
               The Deductible will be subtracted from
               the amount of damages and "defense                   (2) Notify us, in writing, as soon as practica-
               expenses" in calculating the amount                       ble.
               payable:                                           b. You and any other involved insured must:
               $75,000 - $5,000 = $70,000 Amount                    (1) Immediately send us copies of any de-
               Payable                                                   mands, notices, summonses or legal pa-
           Example No. 2                                                 pers received in connection with the
                                                                         "claim";
               Deductible: $5,000
                                                                    (2) Authorize us to obtain records and other
               Limit of Insurance: $100,000                              information;
               Damages and "Defense Expenses":                      (3) Cooperate with us in the investigation or
               $120,000                                                  settlement of the "claim" or defense
               The Deductible will be subtracted from                    against the "suit"; and
               the amount of damages and "defense                   (4) Assist us, upon our request, in the en-
               expenses" ($120,000 - $5,000 =                            forcement of any right against any per-
               $115,000). Since the amount of the                        son or organization which may be liable
               damages and "defense expenses" mi-                        to the insured because of a "wrongful
               nus the Deductible exceeds the Limit of                   act" to which this insurance may also
               Insurance, the policy will pay the full                   apply.
               Limit of Insurance ($100,000).
                                                                  c. No insured will, except at that insured's own
       b. The Deductible amount shown in the                         cost, voluntarily make a payment, assume
           Schedule applies to all "claims" arising out              any obligation, or incur any expense without
           of:                                                       our written consent.
          (1) The same "wrongful act"; or                         d. If you become aware of a "wrongful act"
          (2) A series of "wrongful acts", circum-                   that may reasonably be expected to give
               stances or behaviors which arise from a               rise to a "claim" and for which a "claim" has
               common cause                                          not yet been received, you must notify us,
                                                                     in writing, as soon as practicable. Such no-
           regardless of the number of persons, orga-
                                                                     tice must provide:
           nizations or government agencies making
           such "claims".                                           (1) A description of the "wrongful act", in-
                                                                         cluding all relevant dates;
       c. We may pay any part or all of the Deducti-
           ble amount to effect settlement of any                   (2) The names of the persons involved in
           "claim" and, upon notification of the action                  the "wrongful act", including names of
           taken, you shall promptly reimburse us for                    the potential claimants;
           such part of the Deductible amount as has                (3) Particulars as to the reasons why you
           been paid by us.                                              became aware of and reasonably ex-
E. For the purposes of the coverage provided by this                     pect a "claim" which may result from
   endorsement, the following are added to Para-                         such "wrongful act";
   graph E. Liability And Medical Expenses Gener-                   (4) The nature of the alleged or potential
   al Conditions:                                                        damages arising from such "wrongful
   1. Consent To Settle                                                  act"; and
       If we recommend a settlement to you which is                 (5) The circumstances by which the insured
       acceptable to the claimant, but to which you do                   first became aware of the "wrongful act".
       not consent, the most we will pay as damages
       in the event of any later settlement or judgment
       is the amount for which the "claim" could have
       been settled, to which you did not give con-
       sent, less any deductible.




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   3. Representations                                             b. When the Employment-related Practices Li-
      By accepting this policy, you agree that:                      ability Annual Aggregate Limit Of Insurance
                                                                     has actually been used up in the payment
      a. The statements in the Declarations are ac-                  of judgments or settlements for damages or
           curate and complete;                                      the payment of "defense expenses", we will:
      b. Those statements are based upon repre-                     (1) Notify the first Named Insured in writing,
           sentations you made to us; and                                as soon as practicable, that such a limit
      c. We have issued this policy in reliance upon                     has actually been used up and that our
           your representations.                                         duty to defend the insured against
                                                                         "suits" seeking damages subject to that
   4. If You Are Permitted To Select Defense
                                                                         limit has also ended;
      Counsel
                                                                    (2) Initiate, and cooperate in, the transfer of
      If, by mutual agreement or court order, the in-
                                                                         control, to any appropriate insured, of all
      sured is given the right to select defense coun-
                                                                         "suits" for which the duty to defend has
      sel and the Limit of Insurance has not been
                                                                         ended for the reason described in pre-
      used up, the following provisions apply:
                                                                         ceding Paragraph 5.b.(1) and which are
      a. We retain the right, at our discretion, to:                     reported to us before that duty to defend
          (1) Settle, approve or disapprove the settle-                  ended; and
               ment of any "claim"; and                             (3) Take such steps, as we deem appropri-
          (2) Appeal any judgment, award or ruling at                    ate, to avoid a default in, or continue the
               our expense.                                              defense of, such "suits" until such trans-
                                                                         fer is completed, provided the appropri-
      b. You and any other involved insured must:                        ate insured is cooperating in completing
          (1) Continue to comply with Paragraph E.2.                     such transfer.
               Duties In The Event Of A Claim Or                  c. If the circumstances described in Para-
               Wrongful Act That May Result In A                     graph 5.b.(1) have occurred, the first
               Claim Condition of this endorsement as                Named Insured, and any other insured in-
               well as the other provisions of this pol-             volved in a "suit" seeking damages subject
               icy; and                                              to that limit, must:
          (2) Direct defense counsel of the insured to:             (1) Cooperate in the transfer of control of
              (a) Furnish us with the information we                     "suits"; and
                   request to evaluate those "suits" for            (2) Arrange for the defense of such "suit"
                   coverage under this policy; and                       within such time period as agreed to be-
              (b) Cooperate with any counsel we may                      tween the appropriate insured and us.
                   select to monitor or associate in the                 Absent any such agreement, arrange-
                   defense of those "suits".                             ments for the defense of such "suit"
      c. If we defend you under a reservation of                         must be made as soon as practicable.
           rights, both your and our counsel will be re-          d. We will take no action with respect to de-
           quired to maintain records pertinent to your              fense for any "claim" if such "claim" is re-
           "defense expenses". These records will be                 ported to us after the Employment-related
           used to determine the allocation of any "de-              Practices Liability Annual Aggregate Limit
           fense expenses" for which you may be                      Of Insurance has been used up. It becomes
           solely responsible, including defense of an               the responsibility of the first Named In-
           allegation not covered by this insurance.                 sured, and any other insured involved in
   5. Transfer Of Duties When Limit Of Insurance                     such a "claim", to arrange defense for such
      Is Used Up                                                     "claim".
      a. If we conclude that, based on "claims"                   e. The first Named Insured will reimburse us
           which have been reported to us and to                     as soon as practicable for expenses we in-
           which this insurance may apply, the Em-                   cur in taking those steps we deem appropri-
           ployment-related Practices Liability Annual               ate in accordance with Paragraph 5.b.
           Aggregate Limit Of Insurance is likely to be
           used up in the payment of judgments or
           settlements for damages or the payment of
           "defense expenses", we will notify the first
           Named Insured, in writing, to that effect.




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       f. The exhaustion of the Employment-related                 f. We will determine the additional premium in
          Practices Liability Annual Aggregate Limit                   accordance with our rules and rates. In do-
          Of Insurance and the resulting end of our                    ing so, we may take into account the follow-
          duty to defend will not be affected by our                   ing:
          failure to comply with any of the provisions                (1) The exposures insured;
          of this Condition.
                                                                      (2) Previous types and amounts of insuran-
F. Extended Reporting Period                                               ce;
   1. For the purposes of the coverage provided by                    (3) Limit of Insurance available under this
      this endorsement, the following Extended Re-                         endorsement for future payment of dam-
      porting Period provisions are added:                                 ages; and
      a. You will have the right to purchase an Ex-                   (4) Other related factors.
          tended Reporting Period from us if:
                                                                       The additional premium will not exceed
         (1) This endorsement is cancelled or not re-                  200% of the annual premium for this en-
               newed for any reason; or                                dorsement.
         (2) We renew or replace this endorsement                 g. When the Extended Reporting Period is in
               with insurance that:                                    effect, we will provide a Supplemental Limit
              (a) Has a Retroactive Date later than the                of Insurance for any "claim" first made dur-
                   date shown in the Schedule of this                  ing the Extended Reporting Period.
                   endorsement; or                                     The Supplemental Limit of Insurance will be
             (b) Does not apply to "wrongful acts" on                  equal to the dollar amount shown in the
                   a claims-made basis.                                Schedule of this endorsement under the
      b. An Extended Reporting Period, as specified                    Employment-related Practices Liability An-
          in Paragraph F.1.a. above, lasts three years                 nual Aggregate Limit Of Insurance.
          and is available only for an additional pre-                 Paragraph D.1.b. of this endorsement will
          mium.                                                        be amended accordingly.
      c. The Extended Reporting Period starts with             2. If the Extended Reporting Period is chosen by
          the end of the policy period. It does not ex-           checking the appropriate box in the Schedule
          tend the policy period or change the scope              of this endorsement, the provisions of this
          of the coverage provided. It applies only to            Paragraph 2. supercede any other provisions
          "claims" to which the following applies:                of this endorsement to the contrary.
         (1) The "claim" is first made during the Ex-             a. An Extended Reporting Period is provided,
               tended Reporting Period;                                as described in Paragraph F. Extended Re-
         (2) The "wrongful act" occurs before the                      porting Period.
               end of the policy period; and                      b. A Supplemental Limit of Insurance applies,
         (3) The "wrongful act" did not commence                       as set forth in Paragraph F.2.c. below, to
               before the Retroactive Date.                            "claims" first made during the Extended Re-
                                                                       porting Period. The limit is equal to the Em-
      d. You must give us a written request for the                    ployment-related Practices Liability Annual
          Extended Reporting Period within 30 days                     Aggregate Limit Of Insurance entered in the
          after the end of the policy period or the ef-                Schedule.
          fective date of cancellation, whichever
          comes first.                                            c. Paragraph D.1.b. of this endorsement is re-
                                                                       placed by the following:
      e. The Extended Reporting Period will not go
          into effect unless you pay the additional                    b. The Employment-related Practices Lia-
          premium promptly when due and any pre-                           bility Annual Aggregate Limit Of In-
          mium or deductible you owe us for cover-                         surance shown in the Schedule of this
          age provided under this endorsement.                             endorsement is the most we will pay for
          Once in effect, the Extended Reporting Pe-                       the sum of:
          riod may not be cancelled.                                      (1) All damages; and
                                                                          (2) All "defense expenses"
                                                                           because of all "wrongful acts" to which
                                                                           this insurance applies.




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               However, the Employment-related Prac-               d. Reasonable expenses incurred by the in-
               tices Liability Annual Aggregate Limit Of               sured at our request to assist us in the in-
               Insurance does not apply to "claims" to                 vestigation or defense of the "claim", includ-
               which the Supplemental Limit Of Insur-                  ing actual loss of earnings up to $250 a day
               ance applies.                                           because of time off from work.
       d. The following is added to Paragraph D.1. of              e. Costs taxed against the insured in a "suit".
           this endorsement:                                       "Defense expenses" does not include salaries
           c. The Supplemental Limit Of Insurance is               and expenses of our "employees" or the in-
               the most we will pay for the sum of:                sured's "employees" (other than those de-
              (1) All damages; and                                 scribed in Paragraph d. of this definition).
              (2) All "defense expenses"                        3. "Discrimination" means violation of a person's
                                                                   civil rights with respect to such person's race,
               because of all "wrongful acts" for                  color, national origin, religion, gender, marital
               "claims" first made during the Extended             status, age, sexual orientation or preference,
               Reporting Period.                                   physical or mental condition, or any other pro-
       e. Paragraph D.1. Employment-related Prac-                  tected class or characteristic established by
           tices Liability Annual Aggregate Limit Of               any federal, state or local statutes, rules or
           Insurance, as amended by Paragraphs                     regulations.
           F.2.c. and F.2.d., is otherwise unchanged            4. "Wrongful act" means one or more of the fol-
           and applies in its entirety.                            lowing offenses, but only when they are em-
        f. The Extended Reporting Period will not                  ployment-related:
           take effect unless the additional premium               a. Wrongful demotion or failure to promote,
           for it, as set forth in Paragraph F. Extended               negative evaluation, reassignment, or disci-
           Reporting Period, is paid when due. If that                 pline of your current "employee" or wrongful
           premium is paid when due, the Extended                      refusal to employ;
           Reporting Period may not be cancelled.
                                                                   b. Wrongful termination, meaning the actual or
G. For the purposes of the coverage provided by this                   constructive termination of an "employee":
   endorsement, the following is added to Paragraph
   F. Liability And Medical Expenses Definitions                      (1) In violation or breach of applicable law
   of the policy:                                                           or public policy; or
   1. "Claim" means a "suit" or demand made by or                     (2) Which is determined to be in violation of
       for a current, former or prospective "employee"                      a contract or agreement, other than an
       for damages because of an alleged "wrongful                          employment contract or agreement,
       act".                                                                whether written, oral or implied, which
                                                                            stipulates financial consideration if such
   2. "Defense expenses" means payments allocat-                            financial consideration is due as the re-
       ed to a specific "claim" we investigate, settle or                   sult of a breach of the contract;
       defend, for its investigation, settlement or de-
       fense, including:                                           c. Wrongful denial of training, wrongful depri-
                                                                       vation of career opportunity, or breach of
       a. Fees and salaries of attorneys and parale-                   employment contract;
           gals we retain.
                                                                   d. Negligent hiring or supervision which re-
       b. Fees of attorneys the insured retains when,                  sults in any of the other offenses listed in
           by our mutual agreement or court order (or                  this definition;
           when required by administrative hearing or
           proceeding), the insured is given the right to          e. Retaliatory action against an "employee"
           retain defense counsel to defend against a                  because the "employee" has:
           "claim".                                                   (1) Declined to perform an illegal or unethi-
       c. All other litigation or administrative hearing                    cal act;
           expenses, including fees or expenses of ex-                (2) Filed a complaint with a governmental
           pert witnesses hired either by us or by the                      authority or a "suit" against you or any
           defense attorney retained by an insured.                         other insured in which damages are
                                                                            claimed;
                                                                      (3) Testified against you or any other in-
                                                                            sured at a legal proceeding; or




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         (4) Notified a proper authority of any aspect                 However, this exclusion does not apply to
              of your business operation which is ille-                malicious prosecution of "employees" by
              gal;                                                     that insured. This exclusion does not affect
       f. Coercing an "employee" to commit an un-                      our duty to defend, in accordance with
          lawful act or omission within the scope of                   Paragraph A.1. of this endorsement, an in-
          that person's employment;                                    sured prior to determining, through the ap-
                                                                       propriate legal processes, that that insured
      g. Harassment;                                                   is responsible for a criminal, fraudulent or
      h. Libel, slander, invasion of privacy, defama-                  malicious act or omission.
          tion or humiliation; or                               2. The following is added to Paragraph G.4. of
       i. Verbal, physical, mental or emotional abuse              this endorsement:
          arising from "discrimination".                            j. Malicious prosecution.
H. If Employment-related Malicious Prosecution is
   chosen by checking the appropriate box in the
   Schedule of this endorsement, then the following
   provisions apply:
   1. Paragraph B.a. of this endorsement is replaced
      by the following:
      This insurance does not apply to:
      a. Criminal, Fraudulent Or Malicious Acts
          An insured's liability arising out of criminal,
          fraudulent or malicious acts or omissions by
          that insured.




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POLICY NUMBER: BP17022546-2                                                                BUSINESSOWNERS
                                                                                               BP 04 09 07 13




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  ADDITIONAL INSURED – MORTGAGEE,
                        ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                  SCHEDULE

Name Of Person(s) Or Organization(s):
MB Financial Bank NA
Attn Loan Coordination 9th Fl 6111 N River Rd, Rosemont, IL, 60018
Designation Of Premises:
430 N Michigan Ave, Chicago, IL, 60611

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


Section II – Liability is amended as follows:                 B. This insurance does not apply to structural
A. The following is added to Paragraph C. Who Is An              alterations, new construction and demolition
   Insured:                                                      operations performed by or for that person or
                                                                 organization.
   3. The person(s) or organization(s) shown in the
      Schedule is also an additional insured, but only        C. With respect to the insurance afforded to these
      with respect to liability as mortgagee, assignee           additional insureds, the following is added to
      or receiver and arising out of the ownership,              Paragraph D. Liability And Medical Expenses
      maintenance or use of the premises by you                  Limits Of Insurance:
      and as shown in the Schedule.                              If coverage provided to the additional insured is
      However:                                                   required by a contract or agreement, the most
                                                                 we will pay on behalf of the additional insured is
      a. The insurance afforded to such additional               the amount of insurance:
          insured only applies to the extent permitted
          by law; and                                            1. Required by the contract or agreement; or
      b. If coverage provided to the additional                  2. Available under the applicable Limits Of
          insured is required by a contract or                       Insurance shown in the Declarations;
          agreement, the insurance afforded to such              whichever is less.
          additional insured will not be broader than            This endorsement shall not increase the
          that which you are required by the contract            applicable Limits Of Insurance shown in the
          or agreement to provide for such additional            Declarations.
          insured.




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                                                                                          BUSINESSOWNERS
                                                                                              BP 04 17 01 10

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following exclusion is added to Paragraph B.1.                  (2) The spouse, child, parent, brother or
Exclusions – Applicable To Business Liability                           sister of that person as a consequence
Coverage in Section II – Liability:                                     of "bodily injury" or "personal and adver-
         This insurance does not apply to "bodily in-                   tising injury" to that person at whom any
         jury" or "personal and advertising injury" to:                 of the employment-related practices de-
                                                                        scribed in Paragraph (a), (b) or (c)
         (1) A person arising out of any:                               above is directed.
            (a) Refusal to employ that person;                       This exclusion applies:
            (b) Termination of that person's em-                    (1) Whether the injury-causing event de-
                ployment; or                                            scribed in Paragraph (a), (b) or (c)
            (c) Employment-related practices, poli-                     above occurs before employment, dur-
                cies, acts or omissions, such as co-                    ing employment or after employment of
                ercion, demotion, evaluation, reas-                     that person;
                signment, discipline, defamation,                   (2) Whether the insured may be liable as an
                harassment, humiliation, discrimina-                    employer or in any other capacity; and
                tion or malicious prosecution di-
                rected at that person; or                           (3) To any obligation to share damages with
                                                                        or repay someone else who must pay
                                                                        damages because of the injury.




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POLICY NUMBER: BP17022546-2                                                                   BUSINESSOWNERS
                                                                                                  BP 04 46 07 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        ORDINANCE OR LAW COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                    SCHEDULE

                                                  Coverage 2              Coverage 3          Coverages 2 And 3
Premises Building          Coverage 1                 Limit                   Limit            Combined Limit
 Number Number           (Check if applies)       Of Insurance            Of Insurance          Of Insurance*
    3          1                 X            $                       $                      $             25,000

                                              $                       $                      $
                                              $                       $                      $
Business Income And Extra Expense Optional Coverage (Enter Yes or No): Yes
Number Of Hours' Waiting Period For Period Of Restoration Applicable To Business Income And Extra
Expense Optional Coverage: 0
*Do not enter a Combined Limit of Insurance if individual Limits of Insurance are selected for Coverages 2 and 3,
or if one of these Coverages is not applicable.
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


Section I – Property is amended as follows:                         But coverage under this endorsement applies
A. Each Coverage – Coverage 1, Coverage 2 and                       only in response to the minimum requirements
   Coverage 3 – is provided under this endorsement                  of the ordinance or law. Losses and costs
   only if that Coverage(s) is chosen by entry in the               incurred in complying with recommended
   above Schedule and then only with respect to the                 actions or standards that exceed actual
   building identified for the Coverage(s) in the                   requirements are not covered under this
   Schedule.                                                        endorsement.
B. Application Of Coverage(s)                                    2. The building sustains direct physical damage:
   The Coverage(s) provided by this endorsement                     a. That is covered under this policy and as a
   applies only if both B.1. and B.2. are satisfied and                 result of such damage, you are required to
   are then subject to the qualifications set forth in                  comply with the ordinance or law; or
   B.3.                                                             b. That is covered under this policy and direct
   1. The ordinance or law:                                             physical damage that is not covered under
                                                                        this policy, and as a result of the building
       a. Regulates the demolition, construction or                     damage in its entirety, you are required to
           repair of buildings, or establishes zoning or                comply with the ordinance or law.
           land use requirements at the described
           premises; and                                            c. But if the damage is not covered under this
                                                                        policy, and such damage is the subject of
       b. Is in force at the time of loss.                              the ordinance or law, then there is no
                                                                        coverage under this endorsement even if
                                                                        the building has also sustained covered
                                                                        direct physical damage.




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   3. In the situation described in B.2.b. above, we           2. Coverage 2 – Demolition Cost Coverage
      will not pay the full amount of loss otherwise              With respect to the building that has sustained
      payable under the terms of Coverages 1, 2                   covered direct physical damage, we will pay
      and/or 3 of this endorsement. Instead, we will              the cost to demolish and clear the site of
      pay a proportion of such loss, meaning the                  undamaged parts of the same building, as a
      proportion that the covered direct physical                 consequence of a requirement to comply with
      damage bears to the total direct physical                   an ordinance or law that requires demolition of
      damage.                                                     such undamaged property.
      (Section H. of this endorsement provides an                 Paragraph E.5.d. Loss Payment Property
      example of this procedure.)                                 Loss Condition does not apply to Demolition
      However, if the covered direct physical                     Cost Coverage.
      damage alone would have resulted in a                    3. Coverage 3 – Increased Cost Of
      requirement to comply with the ordinance or                 Construction Coverage
      law, then we will pay the full amount of loss
      otherwise payable under terms of Coverages                  With respect to the building that has sustained
      1, 2 and/or 3 of this endorsement.                          covered direct physical damage, we will pay
                                                                  the increased cost to:
C. We will not pay under Coverage 1, 2 or 3 of this
   endorsement for:                                               a. Repair or reconstruct damaged portions of
                                                                     that building; and/or
   1. Enforcement of or compliance with any
      ordinance or law which requires the demolition,             b. Reconstruct or remodel undamaged
      repair, replacement, reconstruction, remodeling                portions of that building, whether or not
      or     remediation     of     property      due to             demolition is required;
      contamination by "pollutants" or due to the                 when the increased cost is a consequence of a
      presence, growth, proliferation, spread or any              requirement to comply with the minimum
      activity of "fungi", wet rot or dry rot; or                 standards of the ordinance or law.
   2. The costs associated with the enforcement of                However:
      or compliance with any ordinance or law which               a. This coverage applies only if the restored or
      requires any insured or others to test for,                    remodeled property is intended for similar
      monitor, clean up, remove, contain, treat,                     occupancy as the current property, unless
      detoxify or neutralize, or in any way respond to,              such occupancy is not permitted by zoning
      or assess the effects of "pollutants", "fungi",                or land use ordinance or law.
      wet rot or dry rot.
                                                                  b. We will not pay for the increased cost of
D. Coverage                                                          construction if the building is not repaired,
   1. Coverage 1 – Coverage For Loss To The                          reconstructed or remodeled.
      Undamaged Portion Of The Building                           Paragraph E.5.d. Loss Payment Property
      With respect to the building that has sustained             Loss Condition does not apply to the
      covered direct physical damage, we will pay                 Increased Cost Of Construction Coverage.
      under Coverage 1 for the loss in value of the
      undamaged portion of the building as a
      consequence of a requirement to comply with
      an ordinance or law that requires demolition of
      undamaged parts of the same building.
      Coverage 1 is included within the Limit Of
      Insurance shown in the Declarations as
      applicable to the covered building. Coverage 1
      does not increase the Limit of Insurance.




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E. Loss Payment                                                      (2) Unless the repair or replacement is
   1. All following loss payment Provisions E.2.                          made as soon as reasonably possible
      through E.5. are subject to the apportionment                       after the loss or damage, not to exceed
      procedure set forth in Section B.3. of this                         two years. We may extend this period in
      endorsement:                                                        writing during the two years.
   2. When there is a loss in value of an undamaged               b. If the building is repaired or replaced at the
      portion of a building to which Coverage 1                       same premises, or if you elect to rebuild at
      applies, the loss payment for that building,                    another premises, the most we will pay
      including damaged and undamaged portions,                       under Coverage 3 is the lesser of:
      will be determined as follows:                                 (1) The increased cost of construction at
      a. If the property is repaired or replaced on the                   the same premises; or
           same or another premises, we will not pay                 (2) The applicable Limit Of Insurance
           more than the lesser of:                                       shown for Coverage 3 in the Schedule
          (1) The amount you actually spend to                            above.
               repair, rebuild or reconstruct the                 c. If the ordinance or law requires relocation to
               building, but not for more than the                    another premises, the most we will pay
               amount it would cost to restore the                    under Coverage 3 is the lesser of:
               building on the same premises and to                  (1) The increased cost of construction at
               the same height, floor area, style and                     the new premises; or
               comparable quality of the original
               property insured; or                                  (2) The applicable Limit Of Insurance
                                                                          shown for Coverage 3 in the Schedule
          (2) The Limit Of Insurance shown in the                         above.
               Declarations as applicable to the
               covered building.                               5. If a Combined Limit Of Insurance is shown for
                                                                  Coverages 2 and 3 in the Schedule above,
      b. If the property is not repaired or replaced,             Paragraphs E.2. and E.3. of this endorsement
           we will not pay more than the lesser of:               do not apply with respect to the building
          (1) The actual cash value of the building at            property that is subject to the Combined Limit,
               the time of loss; or                               and the following loss payment provisions
          (2) The Limit Of Insurance shown in the                 apply instead:
               Declarations as applicable to the                  The most we will pay, for the total of all
               covered building.                                  covered losses for Demolition Cost and
   3. Unless Paragraph E.5. applies, loss payment                 Increased Cost Of Construction, is the
      under Coverage 2 – Demolition Cost Coverage                 Combined Limit Of Insurance shown for
      will be determined as follows:                              Coverages 2 and 3 in the Schedule above.
                                                                  Subject to this Combined Limit of Insurance,
      We will not pay more than the lesser of the                 the following loss payment provisions apply:
      following:
                                                                  a. For Demolition Cost, we will not pay more
      a. The amount you actually spend to demolish                    than the amount you actually spend to
           and clear the site of the described                        demolish and clear the site of the described
           premises; or                                               premises.
      b. The applicable Limit Of Insurance shown                  b. With respect to the Increased Cost Of
           for Coverage 2 in the Schedule above.                      Construction:
   4. Unless Paragraph E.5. applies, loss payment                    (1) We will not pay for the increased cost of
      under Coverage 3 – Increased Cost Of                                construction:
      Construction Coverage will be determined as
      follows:                                                           (a) Until the property is actually repaired
                                                                              or replaced, at the same or another
      a. We will not pay under Coverage 3:                                    premises; and
          (1) Until the property is actually repaired or                 (b) Unless the repair or replacement is
               replaced, at the same or another                               made as soon as reasonably
               premises; and                                                  possible after the loss or damage,
                                                                              not to exceed two years. We may
                                                                              extend this period in writing during
                                                                              the two years.




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          (2) If the building is repaired or replaced at    I. If shown as applicable in the Schedule of this
               the same premises, or if you elect to           endorsement, the following applies:
               rebuild at another premises, the most           Business Income And Extra Expense Optional
               we will pay for the increased cost of           Coverage
               construction is the increased cost of
               construction at the same premises.              1. If a Covered Cause of Loss occurs to property
                                                                   at the premises described in the Declarations,
          (3) If the ordinance or law requires                     coverage is extended to include the amount of
               relocation to another premises, the most            actual and necessary loss you sustain during
               we will pay for the increased cost of               the increased period of suspension of your
               construction is the increased cost of               "operations" caused by or resulting from a
               construction at the new premises.                   requirement to comply with any ordinance or
F. The terms of this endorsement apply separately to               law that:
   each building to which this endorsement applies.                a. Regulates the construction or repair of any
G. Under this endorsement, we will not pay for loss                    property;
   due to any ordinance or law that:                               b. Requires the tearing down of parts of any
   1. You were required to comply with before the                      property not damaged by a Covered Cause
       loss, even if the building was undamaged; and                   of Loss; and
   2. You failed to comply with.                                   c. Is in force at the time of loss.
H. Example of Proportionate Loss Payment for                       However, coverage is not extended under this
   Ordinance or Law Coverage Losses (procedure as                  endorsement to include loss caused by or
   set forth in Section B.3. of this endorsement).                 resulting from the enforcement of or
   Assume:                                                         compliance with any ordinance or law which
                                                                   requires any insured or others to test for,
     Wind is a Covered Cause of Loss. Flood is an                 monitor, clean up, remove, contain, treat,
       excluded Cause of Loss;                                     detoxify or neutralize, or in any way respond to,
     The building has a value of $200,000;                        or assess the effects of "pollutants".
     Total direct physical damage to building:                2. Paragraph H.9. Period Of Restoration
       $100,000;                                                   Definition is replaced by the following:
     The ordinance or law in this jurisdiction is                 9. "Period of restoration" means the period of
       enforced when building damage equals or                         time that:
       exceeds 50% of the building's value;                            a. Begins:
     Portion of direct physical damage that is                           (1) 72 hours after the time of direct
       covered (caused by wind): $30,000;                                     physical loss or damage caused by
     Portion of direct physical damage that is not                           or resulting from any Covered Cause
       covered (caused by flood): $70,000; and                                of Loss at the described premises,
                                                                              unless a lesser number of hours is
     Loss under Ordinance or Law Coverage 3 of
                                                                              shown in the Schedule of this
       this endorsement: $60,000.
                                                                              endorsement; or
   Step 1: Determine the proportion that the covered
                                                                          (2) Immediately after the time of the
   direct physical damage bears to the total direct
                                                                              direct physical loss or damage for
   physical damage.
                                                                              Extra Expense Coverage caused by
   $30,000 divided by $100,000 = .30                                          or resulting from any Covered Cause
   Step 2: Apply that proportion to the Ordinance or                          of Loss at the described premises;
   Law loss.                                                                  and
   $60,000 x .30 = $18,000                                             b. Ends on the earlier of:
   In this example, the most we will pay under this                       (1) The date when the property at the
   endorsement for the Coverage 3 loss is $18,000,                            described premises should be
   subject to the applicable Limit of Insurance and                           repaired, rebuilt or replaced with
   any other applicable provisions.                                           reasonable speed and similar
                                                                              quality; or
   NOTE: The same procedure applies to losses
   under Coverages 1 and 2 of this endorsement.




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            (2) The date when business is resumed                  The expiration date of this policy will not cut
                at a new permanent location.                       short the "period of restoration".
         "Period of restoration" includes any
         increased period required to repair or
         reconstruct the property to comply with the
         minimum standards of any ordinance or
         law, in force at the time of loss, that
         regulates the construction or repair, or
         requires the tearing down of any property.




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POLICY NUMBER: BP17022546-2                                                               BUSINESSOWNERS
                                                                                              BP 04 48 07 13




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          ADDITIONAL INSURED – DESIGNATED PERSON
                      OR ORGANIZATION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

Name Of Additional Insured Person(s) Or Organization(s):
City of Chicago Its Agent, Employees and Officers, Department of Business Affairs
& Consumer Protection
121 N LaSalle St Rm 805 , Chicago, IL, 60602
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

Section II – Liability is amended as follows:              B. With respect to the insurance afforded to these
A. The following is added to Paragraph C. Who Is An           additional insureds, the following is added to
   Insured:                                                   Paragraph D. Liability And Medical Expenses
                                                              Limits Of Insurance:
   3. Any person(s) or organization(s) shown in the
      Schedule is also an additional insured, but only        If coverage provided to the additional insured is
      with respect to liability for "bodily injury",          required by a contract or agreement, the most we
      "property damage" or "personal and advertising          will pay on behalf of the additional insured is the
      injury" caused, in whole or in part, by your acts       amount of insurance:
      or omissions or the acts or omissions of those          1. Required by the contract or agreement; or
      acting on your behalf in the performance of             2. Available under the applicable Limits Of
      your ongoing operations or in connection with               Insurance shown in the Declarations;
      your premises owned by or rented to you.
                                                              whichever is less.
      However:
                                                              This endorsement shall not increase the
      a. The insurance afforded to such additional            applicable Limits Of Insurance shown in the
          insured only applies to the extent permitted        Declarations.
          by law; and
      b. If coverage provided to the additional
          insured is required by a contract or
          agreement, the insurance afforded to such
          additional insured will not be broader than
          that which you are required by the contract
          or agreement to provide for such additional
          insured.




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POLICY NUMBER: BP17022546-2                                                                  BUSINESSOWNERS
                                                                                                 BP 04 98 07 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EMPLOYEE BENEFITS LIABILITY COVERAGE
                       THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                        PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.


This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS COVERAGE FORM

                                                  SCHEDULE

Employee Benefits Program:




                         Limit Of Insurance                         Deductible
        Each Employee                         Aggregate          (Each Employee)                  Premium
$                 1,000,000 $                          1,000,000 $         1,000 $                             141

 Retroactive Date:
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Section II – Liability is amended as follows:                        (b) Our right and duty to defend end
   1. The following is added to Paragraph A.                                 when we have used up the
      Coverages:                                                             applicable Limit of Insurance in the
                                                                             payment       of     judgments       or
      Coverage – Employee Benefits Liability                                 settlements.
      a. Insuring Agreement                                              No other obligation or liability to pay
        (1) We will pay those sums that the insured                      sums or perform acts or services is
             becomes legally obligated to pay as                         covered unless explicitly provided for
             damages because of any act, error or                        under Supplementary Payments.
             omission, of the insured, or of any other               (2) This insurance applies to damages only
             person for whose acts the insured is                        if:
             legally liable, to which this insurance
             applies. We will have the right and duty                   (a) The act, error or omission is
             to defend the insured against any "suit"                        negligently    committed      in    the
             seeking those damages. However, we                              "administration" of your "employee
             will have no duty to defend the insured                         benefit program";
             against any "suit" seeking damages to                      (b) The act, error or omission did not
             which this insurance does not apply. We                         take place before the Retroactive
             may, at our discretion, investigate any                         Date, if any, shown in the Schedule
             report of an act, error or omission and                         nor after the end of the policy period;
             settle any "claim" or "suit" that may                           and
             result. But:
            (a) The amount we will pay for damages
                 is limited as described in Paragraph
                 4. of this endorsement; and




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           (c) A "claim" for damages, because of                    (4) Insufficiency Of Funds
                an act, error or omission, is first                     Damages arising out of an insufficiency
                made against any insured, in                            of funds to meet any obligations under
                accordance with Paragraph a.(3)                         any plan included in the "employee
                below, during the policy period or an                   benefit program".
                Extended Reporting Period we
                provide under Paragraph 6. of this                  (5) Inadequacy Of Performance Of
                endorsement.                                            Investment/Advice          Given        With
                                                                        Respect To Participation
        (3) A "claim" seeking damages will be
            deemed to have been made at the                             Any "claim" based upon:
            earlier of the following times:                            (a) Failure of any investment to perform;
           (a) When notice of such "claim" is                          (b) Errors in providing information on
                received and recorded by any                                past performance of investment
                insured or by us, whichever comes                           vehicles; or
                first; or                                              (c) Advice given to any person with
           (b) When we make settlement in                                   respect to that person's decision to
                accordance with Paragraph a.(1)                             participate or not to participate in any
                above.                                                      plan included in the "employee
            A "claim" received and recorded by the                          benefit program".
            insured within 60 days after the end of                 (6) Workers' Compensation And Similar
            the policy period will be considered to                     Laws
            have been received within the policy                        Any "claim" arising out of your failure to
            period, if no subsequent policy is                          comply with the mandatory provisions of
            available to cover the "claim".                             any         workers'        compensation,
        (4) All "claims" for damages made by an                         unemployment compensation insurance,
            "employee" because of any act, error or                     social security or disability benefits law
            omission, or a series of related acts,                      or any similar law.
            errors or omissions, including damages                  (7) ERISA
            claimed       by     such     "employee's"
            dependents and beneficiaries, will be                       Damages for which any insured is liable
            deemed to have been made at the time                        because of liability imposed on a
            the first of those "claims" is made                         fiduciary by the Employee Retirement
            against any insured.                                        Income Security Act of 1974, as now or
                                                                        hereafter amended, or by any similar
      b. Exclusions                                                     federal, state or local laws.
         This insurance does not apply to:                          (8) Available Benefits
        (1) Dishonest, Fraudulent, Criminal Or                          Any "claim" for benefits to the extent that
            Malicious Act                                               such benefits are available, with
            Damages arising out of any intentional,                     reasonable effort and cooperation of the
            dishonest, fraudulent, criminal or                          insured, from the applicable funds
            malicious act, error or omission                            accrued or other collectible insurance.
            committed by any insured, including the                 (9) Taxes, Fines Or Penalties
            willful or reckless violation of any
            statute.                                                    Taxes, fines or penalties, including
                                                                        those imposed under the Internal
        (2) Bodily Injury, Property Damage Or                           Revenue Code or any similar state or
            Personal And Advertising Injury                             local law.
            "Bodily injury", "property damage" or                  (10) Employment-related Practices
            "personal and advertising injury".
                                                                        Damages arising out of wrongful
        (3) Failure To Perform A Contract                               termination         of         employment,
            Damages arising out of failure of                           discrimination or other employment-
            performance of contract by any insurer.                     related practices.




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   2. For the purposes of the coverage provided by                   (3) Subject to the Aggregate Limit, the Each
      this endorsement:                                                   Employee Limit is the most we will pay
      a. All references to Supplementary Payments                         for all damages sustained by any one
          are replaced by Supplementary Payments                          "employee",       including      damages
          and Employee Benefits Liability.                                sustained     by    such    "employee's"
                                                                          dependents and beneficiaries, as a
      b. Paragraphs f.(1)(b), f.(2) and f.(3)                             result of:
          Coverage Extension – Supplementary
          Payments do not apply.                                         (a) An act, error or omission; or
   3. For the purposes of the coverage provided by                       (b) A series of related acts, errors or
      this endorsement, Paragraph C.2. Who Is An                              omissions;
      Insured is replaced by the following:                               negligently     committed       in     the
      2. Each of the following is also an insured:                        "administration" of your "employee
                                                                          benefit program".
          a. Each of your "employees" who is or was
              authorized to administer your "employee                     However, the amount paid under this
              benefit program".                                           endorsement shall not exceed, and will
                                                                          be subject to, the limits and restrictions
          b. Any       persons,      organizations    or                  that apply to the payment of benefits in
              "employees" having proper temporary                         any plan included in the "employee
              authorization     to    administer    your                  benefit program".
              "employee benefit program" if you die,
              but only until your legal representative is             The Limits of Insurance of this endorsement
              appointed.                                              apply separately to each consecutive
                                                                      annual period and to any remaining period
          c. Your legal representative if you die, but                of less than 12 months, starting with the
              only with respect to duties as such. That               beginning of the policy period shown in the
              representative will have all your rights                Declarations of the policy to which this
              and duties under this endorsement.                      endorsement is attached, unless the policy
   4. For the purposes of the coverage provided by                    period is extended after issuance for an
      this endorsement, Paragraph D. Liability And                    additional period of less than 12 months. In
      Medical Expenses Limits Of Insurance is                         that case, the additional period will be
      replaced by the following:                                      deemed part of the last preceding period for
                                                                      purposes of determining the Limits of
      a. Limits Of Insurance
                                                                      Insurance.
         (1) The Limits Of Insurance shown in the
                                                                   b. Deductible
              Schedule and the rules below fix the
              most we will pay regardless of the                     (1) Our obligation to pay damages on
              number of:                                                  behalf of the insured applies only to the
                                                                          amount of damages in excess of the
             (a) Insureds;
                                                                          deductible amount stated in the
            (b) "Claims" made or "suits" brought;                         Schedule as applicable to Each
             (c) Persons or organizations making                          Employee. The Limits of Insurance shall
                  "claims" or bringing "suits";                           not be reduced by the amount of this
                                                                          deductible.
            (d) Acts, errors or omissions; or
                                                                     (2) The deductible amount stated in the
             (e) Benefits included in your "employee                      Schedule applies to all damages
                  benefit program".                                       sustained by any one "employee",
         (2) The Aggregate Limit is the most we will                      including such "employee's" dependents
              pay for all damages because of acts,                        and beneficiaries, because of all acts,
              errors     or    omissions      negligently                 errors or omissions to which this
              committed in the "administration" of your                   insurance applies.
              "employee benefit program".




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         (3) The terms of this insurance, including                       (4) Assist us, upon our request, in the
             those with respect to:                                            enforcement of any right against any
            (a) Our right and duty to defend any                               person or organization which may be
                 "suits" seeking those damages; and                            liable to the insured because of an
                                                                               act, error or omission to which this
            (b) Your duties, and the duties of any                             insurance may also apply.
                 other involved insured, in the event
                 of an act, error or omission, or                      d. No insured will, except at that insured's
                 "claim";                                                  own cost, voluntarily make a payment,
                                                                           assume any obligation or incur any
             apply irrespective of the application of                      expense without our consent.
             the deductible amount.
                                                                6. For the purposes of the coverage provided by
         (4) We may pay any part or all of the                     this endorsement, the following Extended
             deductible amount to effect settlement                Reporting Period provisions are added:
             of any "claim" or "suit" and, upon
             notification of the action taken, you shall           Extended Reporting Period
             promptly reimburse us for such part of                a. You will have the right to purchase an
             the deductible amount as we have paid.                    Extended Reporting Period, as described
   5. For the purposes of the coverage provided by                     below, if:
      this endorsement, Paragraph E.2. Duties In                      (1) This endorsement is canceled or not
      The Event Of Occurrence, Offense, Claim                              renewed; or
      Or Suit is replaced by the following:                           (2) We renew or replace this endorsement
      2. Duties In The Event Of An Act, Error Or                           with insurance that:
          Omission, Or Claim Or Suit                                      (a) Has a Retroactive Date later than the
          a. You must see to it that we are notified                           date shown in the Schedule of this
             as soon as practicable of an act, error or                        endorsement; or
             omission which may result in a "claim".                      (b) Does not apply to an act, error or
             To the extent possible, notice should                             omission on a claims-made basis.
             include:
                                                                   b. The Extended Reporting Period does not
            (1) What the act, error or omission was                    extend the policy period or change the
                 and when it occurred; and                             scope of coverage provided. It applies only
            (2) The names and addresses of                             to "claims" for acts, errors or omissions that
                 anyone who may suffer damages as                      were first committed before the end of the
                 a result of the act, error or omission.               policy period but not before the Retroactive
          b. If a "claim" is made or "suit" is brought                 Date, if any, shown in the Schedule. Once
             against any insured, you must:                            in effect, the Extended Reporting Period
                                                                       may not be canceled.
            (1) Immediately record the specifics of
                 the "claim" or "suit" and the date                c. An Extended Reporting Period of five years
                 received; and                                         is available, but only by an endorsement
                                                                       and for an extra charge.
            (2) Notify us as soon as practicable.
                                                                       You must give us a written request for the
             You must also see to it that we receive                   endorsement within 60 days after the end of
             written notice of the "claim" or "suit" as                the policy period. The Extended Reporting
             soon as practicable.                                      Period will not go into effect unless you pay
          c. You and any other involved insured                        the additional premium promptly when due.
             must:                                                     We will determine the additional premium in
            (1) Immediately send us copies of any                      accordance with our rules and rates. In
                 demands, notices, summonses or                        doing so, we may take into account the
                 legal papers received in connection                   following:
                 with the "claim" or "suit";                          (1) The "employee benefit programs"
            (2) Authorize us to obtain records and                         insured;
                 other information;                                   (2) Previous types and amounts of
            (3) Cooperate        with     us    in    the                  insurance;
                 investigation or settlement of the
                 "claim" or defense against the "suit";
                 and




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         (3) Limits of Insurance available under this             b. "Cafeteria plans" means plans authorized
              endorsement for future payment of                       by applicable law to allow employees to
              damages; and                                            elect to pay for certain benefits with pretax
         (4) Other related factors.                                   dollars.
          The additional premium will not exceed                  c. "Claim" means any demand, or "suit", made
          100% of the annual premium for this                         by an "employee" or an "employee's"
          endorsement.                                                dependents and beneficiaries, for damages
                                                                      as the result of an act, error or omission.
          The       Extended       Reporting      Period
          endorsement applicable to this coverage                 d. "Employee benefit program" means a
          shall set forth the terms, not inconsistent                 program providing some or all of the
          with this section, applicable to the Extended               following benefits to "employees", whether
          Reporting Period, including a provision to                  provided through a "cafeteria plan" or
          the effect that the insurance afforded for                  otherwise:
          "claims" first received during such period is              (1) Group life insurance; group accident or
          excess over any other valid and collectible                     health insurance; dental, vision and
          insurance available under policies in force                     hearing plans; and flexible spending
          after the Extended Reporting Period.                            accounts, provided that no one other
      d. If the Extended Reporting Period is in                           than an "employee" may subscribe to
          effect, we will provide an Extended                             such benefits and such benefits are
          Reporting Period Aggregate Limit of                             made generally available to those
          Insurance described below, but only for                         "employees" who satisfy the plan's
          claims first received and recorded during                       eligibility requirements;
          the Extended Reporting Period.                             (2) Profit sharing plans, employee savings
          The Extended Reporting Period Aggregate                         plans, employee stock ownership plans,
          Limit of Insurance will be equal to the dollar                  pension plans and stock subscription
          amount shown in the Schedule of this                            plans, provided that no one other than
          endorsement under Limits of Insurance.                          an "employee" may subscribe to such
                                                                          benefits and such benefits are made
          Paragraph 4.a.(2) of this endorsement will                      generally available to all "employees"
          be amended accordingly. The Each                                who are eligible under the plan for such
          Employee Limit shown in the Schedule will                       benefits;
          then continue to apply as set forth in
          Paragraph 4.a.(3).                                         (3) Unemployment          insurance,      social
                                                                          security benefits, workers' compensation
   7. For the purposes of the coverage provided by                        and disability benefits;
      this endorsement, the following definitions are
      added to Paragraph F. Liability And Medical                    (4) Vacation plans, including buy and sell
      Expenses Definitions:                                               programs; leave of absence programs,
                                                                          including military, maternity, family and
      a. "Administration" means:                                          civil leave; tuition assistance plans;
         (1) Providing information to "employees",                        transportation and health club subsidies;
              including     their   dependents      and                   and
              beneficiaries, with respect to eligibility             (5) Any other similar benefits designated in
              for or scope of "employee benefit                           the Schedule or added thereto by
              programs";                                                  endorsement.
         (2) Handling records in connection with the           8. For the purposes of the coverage provided by
              "employee benefit program"; or                      this endorsement, Paragraphs F.5. and F.18.
         (3) Effecting, continuing or terminating any             Liability And Medical Expenses Definitions
              "employee's" participation in any benefit           are replaced by the following:
              included in the "employee benefit                   5. "Employee" means a person actively
              program".                                               employed, formerly employed, on leave of
          However, "administration" does not include                  absence or disabled, or retired. "Employee"
          handling payroll deductions.                                includes a "leased worker". "Employee"
                                                                      does not include a "temporary worker".




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     18. "Suit" means a civil proceeding in which        B. Section III – Common Policy Conditions is
         damages because of an act, error or                amended as follows:
         omission to which this insurance applies           For the purposes of the coverage provided by this
         are alleged. "Suit" includes:                      endorsement, Paragraph 2. under H. Other
         a. An arbitration proceeding in which such         Insurance is replaced by the following:
            damages are claimed and to which the            2. This Employee Benefits Liability insurance is
            insured must submit or does submit with            excess over any of the other insurance,
            our consent; or                                    whether primary, excess, contingent or on any
         b. Any other alternative dispute resolution           other basis:
            proceeding in which such damages are               That is effective prior to the beginning of the
            claimed and to which the insured                   policy period shown in the Declarations of the
            submits with our consent.                          policy to which this endorsement is attached
                                                               and that applies to an act, error or omission on
                                                               other than a claims-made basis, if:
                                                               a. No Retroactive Date is shown in the
                                                                   Schedule of this endorsement; or
                                                               b. The other insurance has a policy period
                                                                   which continues after the Retroactive Date
                                                                   shown in the Schedule of this endorsement.




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POLICY NUMBER: BP17022546-2                                                                 BUSINESSOWNERS
                                                                                                BP 05 15 01 15

    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                       DISCLOSURE PURSUANT TO
                     TERRORISM RISK INSURANCE ACT
                                                  SCHEDULE

 SCHEDULE – PART I
 Terrorism Premium (Certified Acts)      $

 Additional information, if any, concerning the terrorism premium:




 SCHEDULE – PART II
 Federal share of terrorism losses       81 % Year: 20        19
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses       80 % Year: 20        20
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium                                   B. Disclosure Of Federal Participation In Payment
   In accordance with the federal Terrorism Risk              Of Terrorism Losses
   Insurance Act, we are required to provide you with         The United States Government, Department of the
   a notice disclosing the portion of your premium, if        Treasury, will pay a share of terrorism losses
   any, attributable to coverage for terrorist acts           insured under the federal program. The federal
   certified under the Terrorism Risk Insurance Act.          share equals a percentage (as shown in Part II of
   The portion of your premium attributable to such           the Schedule of this endorsement or in the policy
   coverage is shown in the Schedule of this                  Declarations) of that portion of the amount of such
   endorsement or in the policy Declarations.                 insured losses that exceeds the applicable insurer
                                                              retention. However, if aggregate insured losses
                                                              attributable to terrorist acts certified under the
                                                              Terrorism Risk Insurance Act exceed $100 billion
                                                              in a calendar year, the Treasury shall not make
                                                              any payment for any portion of the amount of such
                                                              losses that exceeds $100 billion.




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C. Cap On Insurer Participation In Payment Of
   Terrorism Losses
   If aggregate insured losses attributable to terrorist
   acts certified under the Terrorism Risk Insurance
   Act exceed $100 billion in a calendar year and we
   have met our insurer deductible under the
   Terrorism Risk Insurance Act, we shall not be
   liable for the payment of any portion of the amount
   of such losses that exceeds $100 billion, and in
   such case insured losses up to that amount are
   subject to pro rata allocation in accordance with
   procedures established by the Secretary of the
   Treasury.




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POLICY NUMBER: BP17022546-2                                                                  BUSINESSOWNERS
                                                                                                 BP 12 03 01 10

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               LOSS PAYABLE CLAUSES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

Premises Number:          1      Building Number:         1        Applicable Clause                        B
                                                                   (Indicate Paragraph A, B, C or D):
Description Of Property:

Loss Payee Name:              Gold Coast Bank Its Successors and/or Assigns


Loss Payee Address:           1165 N Clark St Ste 200, Chicago, IL 60610-7862


Premises Number:          2      Building Number:         1        Applicable Clause                        B
                                                                   (Indicate Paragraph A, B, C or D):
Description Of Property:

Loss Payee Name:              MB Financial Bank NA


Loss Payee Address:           Attn Loan Coordination 9th Fl, 611 N River Rd, Rosemont, IL
                              60018

Premises Number:                 Building Number:                  Applicable Clause
                                                                   (Indicate Paragraph A, B, C or D):
Description Of Property:

Loss Payee Name:

Loss Payee Address:

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


Nothing in this endorsement increases the applicable          A. Loss Payable Clause
Limit of Insurance. We will not pay any Loss Payee               For Covered Property in which both you and a
more than their financial interest in the Covered Prop-          Loss Payee shown in the Schedule or in the Dec-
erty, and we will not pay more than the applicable               larations have an insurable interest, we will:
Limit of Insurance on the Covered Property.
                                                                 1. Adjust losses with you; and 2.Pay any claim for
The following is added to the Loss Payment Property                  loss or damage jointly to you and the Loss
Loss Condition in Section I – Property, as shown in                  Payee, as interests may appear.
the Declarations or in the Schedule:




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B. Lender's Loss Payable Clause                                 3. If we cancel this policy, we will give written
   1. The Loss Payee shown in the Schedule or in                   notice to the Loss Payee at least:
      the Declarations is a creditor, including a mort-            a. 10 days before the effective date of cancel-
      gageholder or trustee, whose interest in that                    lation if we cancel for your nonpayment of
      Covered Property is established by such writ-                    premium; or
      ten instruments as:                                          b. 30 days before the effective date of cancel-
      a. Warehouse receipts;                                           lation if we cancel for any other reason.
      b. A contract for deed;                                   4. If we do not renew this policy, we will give
      c. Bills of lading;                                          written notice to the Loss Payee at least 10
                                                                   days before the expiration date of this policy.
      d. Financing statements; or
                                                             C. Contract Of Sale Clause
      e. Mortgages, deeds of trust, or security
          agreements.                                           1. The Loss Payee shown in the Schedule or in
                                                                   the Declarations is a person or organization
   2. For Covered Property in which both you and a                 you have entered a contract with for the sale of
      Loss Payee have an insurable interest:                       Covered Property.
      a. We will pay for covered loss or damage to              2. For Covered Property in which both you and
          each Loss Payee in their order of prece-                 the Loss Payee have an insurable interest, we
          dence, as interests may appear.                          will:
      b. The Loss Payee has the right to receive                   a. Adjust losses with you; and
          loss payment even if the Loss Payee has
          started foreclosure for similar action on the            b. Pay any claim for loss or damage jointly to
          Covered Property.                                            you and the Loss Payee, as interests may
                                                                       appear.
      c. If we deny your claim because of your acts
          or because you have failed to comply with             3. The following is added to Paragraph H. Other
          the terms of this policy, the Loss Payee will            Insurance in Section III – Common Policy
          still have the right to receive loss payment if          Conditions:
          the Loss Payee:                                          For Covered Property that is the subject of a
         (1) Pays any premium due under this policy                contract of sale, the word "you" includes the
               at our request if you have failed to do             Loss Payee.
               so;                                           D. Building Owner Loss Payable Clause
         (2) Submits a signed, sworn proof of loss              1. The Loss Payee shown in the Schedule or in
               within 60 days after receiving notice               the Declarations is the owner of the described
               from us of your failure to do so; and               building, in which you are a tenant.
         (3) Has notified us of any change in owner-            2. We will adjust losses to the described building
               ship, occupancy or substantial change               with the Loss Payee. Any loss payment made
               in risk known to the Loss Payee.                    to the Loss Payee will satisfy your claims
          All of the terms of Section I – Property will            against us for the owner's property.
          then apply directly to the Loss Payee.                3. We will adjust losses to tenant's improvements
      d. If we pay the Loss Payee for any loss or                  and betterments with you, unless the lease
          damage and deny payment to you because                   provides otherwise.
          of your acts or because you have failed to
          comply with the terms of this policy:
         (1) The Loss Payee's rights will be trans-
               ferred to us to the extent of the amount
               we pay; and
         (2) The Loss Payee's right to recover the
               full amount of the Loss Payee's claim
               will not be impaired.
               At our option, we may pay to the Loss
               Payee the whole principal on the debt
               plus any accrued interest. In this event,
               you will pay your remaining debt to us.




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                                                                                               BUSINESSOWNERS
                                                                                                   TBP453 (11-16)

 UNDERTHIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                WATER BACK-UP AND SUMP OVERFLOW
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM
                                                      SCHEDULE

                            Covered Property Annual Aggregate             Business Income And Extra Expense
                                    Limit Of Insurance                    Annual Aggregate Limit Of Insurance
Policy Limit               $ 25,000                                      $ 25,000



                                        OPTIONAL LOCATION SCHEDULE

                                                                           Business Income And Extra Expense
   Premises Number             Covered Property Limit Per Location           Limit Of Insurance Per Location
                           $                                              $
                           $                                              $

                           $                                              $

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


 A. We will pay for direct physical loss or damage to             after, that policy year. With respect to an occurrence
    Covered Property, covered under Businessowners                which begins in one policy year and continues or
    Special Property Coverage Form, caused by or                  results in additional loss or damage in a subsequent
    resulting from:                                               policy year(s), all loss or damage is deemed to be
    1. Water or waterborne material which backs up                sustained in the policy year in which the occurrence
        through or overflows or is otherwise                      began.
        discharged from an interior sewer or drain; or         C. We will not pay for loss in any one occurrence until
    2. Water or waterborne material which overflows               the amount of the adjusted loss exceeds the
        or is otherwise discharged from a sump, sump              deductible shown in the Declarations. We will then
        pump or related equipment, even if the                    pay the amount of the adjusted loss in excess of the
        overflow or discharge results from mechanical             deductible, up to the applicable Limit of Insurance.
        breakdown of an interior sump pump or its              D. The following provisions apply to Businessowners
        related equipment.                                        Special Property Coverage Form and supersede
 B. The most we will pay for the coverage provided                any provisions to the contrary:
    under this endorsement for all direct physical loss or        The most we will pay under:
    damage to Covered Property is the Covered
    Property Annual Aggregate Limit of Insurance                  1. Paragraph A.5.g. Business Income Additional
    shown in the Schedule.                                           Coverage for all loss of Business Income you
                                                                     sustain due to the necessary suspension of your
    The applicable Covered Property Annual Aggregate                 "operations" caused by direct physical loss or
    Limit of Insurance is the most we will pay under this            damage to Covered Property as described in
    endorsement for the total of all direct physical loss or         Paragraph A. of this endorsement; and
    damage at all locations sustained in any one policy
    year, regardless of the number of occurrences that            2. Paragraph A.5.h. Extra Expense Additional
    cause or result in loss or damage to Covered                     Coverage for all necessary Extra Expense you
    Property. If loss payment for the first such                     incur and that you would not have incurred if
    occurrence does not exhaust the applicable Limit of              there had been no direct physical loss or damage
    Insurance, then the balance of that Limit is available           to Covered Property as described in Paragraph
    for subsequent loss or damage sustained in, but not              A. of this endorsement;



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   is the Business Income And Extra Expense               E. If the optional Location Schedule is completed, the
   Annual Aggregate Limit of Insurance shown in the          most we will pay for the coverage provided under
   Schedule.                                                 this endorsement for all direct physical loss or
                                                             damage to Covered Property is the Limit per
   The applicable Business Income And Extra                  Location shown in the Schedule.
   Expense Annual Aggregate Limit of Insurance is
   the most we will pay under this endorsement for        F. All exclusions under Businessowners Special
   the total of all loss of Business Income you              Property Coverage Form apply except B.1.g.(3).
   sustain and Extra Expense you incur at all
                                                          G. The following Additional Coverages do not apply
   locations in any one policy year, regardless of the
                                                             to this Water Back-Up and Sump Overflow
   number of occurrences that cause or result in loss
                                                             endorsement:
   or damage to Covered Property as described in
   Paragraph A. of this endorsement. If loss payment            A.5.a., Debris Removal,
   during an earlier "period of restoration" in the             A.5.e., Water Damage, Other Liquids, Powder
   policy year does not exhaust the applicable Limit                     or Molten Material Damage,
   of Insurance, then the balance of that Limit is
   available for loss of Business Income you sustain            A.5.j., Pollution Clean Up And Removal,
   or Extra Expense you incur during a subsequent               A.5.o., Ordinance Or Law
   "period of restoration" beginning in, but not after,         A.5.m., Contamination
   that policy year. With respect to a "period of
   restoration" which begins in one policy year and
   continues in a subsequent policy year(s), all loss
   of Business Income you sustain or Extra Expense
   you incur is deemed to be sustained or incurred in
   the policy year in which the "period of restoration"
   began.




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                                                                                          BUSINESSOWNERS
                                                                                              TSE309 (10-18)

                        SOCIETY INSURANCE, a mutual company
                         TopShelf EXTENSION ENDORSEMENT
SUBJECT TO ALL TERMS AND CONDITIONS (INCLUDING DEDUCTIBLE) APPLICABLE TO THE
BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM AND THE BUSINESSOWNERS LIABILITY
COVERAGE FORM OF THIS POLICY, COVERAGE IS EXTENDED TO INCLUDE THE FOLLOWING.

A. Crime                                                     F. Outdoor Property
   The following Optional Coverages and limits are              The most we will pay under Coverage Extension
   included:                                                    A.6.c., Outdoor Property, is increased to $15,000
     G.2.a. Money and Securities      $2,500 Limit              at each described premises, unless a higher limit
                                                                is shown in the Declarations.
     G.2.b. Money Orders and
                                                                Property covered under this Coverage Extension
            Counterfeit Money         $2,500 Limit
                                                                is extended to include permanent outdoor
     G.2.c. Forgery and Alteration $2,500 Limit                 shelters.
     G.2.d. Extortion                 $2,500 Limit           G. Pollutant Clean Up And Removal
     G.2.e. Computer Fraud            $2,500 Limit              The most we will pay under Additional
                                                                Coverages Extension A.5.j., Pollutant Clean Up
     G.2.f. Funds Transfer Fraud      $2,500 Limit              And Removal, is increased to $50,000 at each
   unless a higher limit is shown in the Declarations.          described premises.

B. Employee Dishonesty                                       H. Watercraft
                                                                You may extend the insurance that applies to
   Optional Coverage G.3., Employee Dishonesty,
                                                                Business Personal Property to apply to
   is included for the limit of $50,000,   unless a
                                                                watercraft (including motors, equipment and
   higher limit is shown in the Declarations.
                                                                accessories) owned by you and held solely for
C. Fine Arts                                                    rental purposes.
   You may extend the insurance that applies to                 The most we will pay under this Extension is
   Business Personal Property to apply to your fine             $5,000 but not more than $1,000 for any one
   arts and fine arts in your care, custody or control          item.
   at the described premises. Special Form                   I. Guest’s Personal Property
   Coverage limitation A.4.b. does not apply to this
   Extension.                                                   1. Coverage
                                                                   We will pay those sums that you become
   Fine arts as used in this endorsement means
                                                                   legally obligated to pay as damages because
   property having rare, historic or artistic value.
                                                                   of direct physical loss or damage, including
   The most we will pay under this Extension is                    loss of use, to Covered Property caused by
   $5,000 but not more than $500 any one item.                     accident and arising out of any Covered
                                                                   Cause of Loss. We will have the right and
D. Accounts Receivable                                             duty to defend any “suit” seeking those
   The most we will pay under Coverage Extension                   damages. But:
   A.6.g., Accounts Receivable is increased to                      a. The amount we will pay for damages is
   $15,000 at each described premises, unless a                        limited as described in Limit of Insurance
   higher limit is shown in the Declarations.                          section;
E. Valuable Papers and Records                                      b. We may investigate and settle any claim
                                                                       or “suit” at our discretion; and
   The most we will pay under Coverage Extension
   A.6.f., Valuable Papers and Records - Cost of                    c. Our right and duty to defend end when
   Research, is increased to $15,000 at each                           we have used up the Limit of
   described premises, unless a higher limit is                        Insurance    in   the    payment   of
   shown in the Declarations.                                          judgments or settlements.




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   2. Covered Property                                          5. Definition
      Covered Property, as used in this Coverage                   “Suit” includes an arbitration proceeding to
      Extension, means tangible property of others,                which you must submit or submit with our
      including personal effects of guests,                        consent.
      customers and employees, in your care,
      custody or control.                                    J. The Following Codes apply to
                                                                Businessowners Liability Coverage Form On
   3. Additional Coverage - Supplementary
      Payments                                                  An “If Any” Basis:
                                                                1. Sponsored Athletic Events
      We will pay, with respect to any claim or “suit”
                                                                   40059
      we defend:
                                                                   Athletic games sponsored,        managed   or
      a. All expenses we incur.
                                                                   supervised by you providing:
      b. The cost of bonds to release
         attachments, but only for bond amounts                     a. The event is away from the premises
         within our Limit of Insurance. We do not                      owned or controlled by you.
         have to furnish these bonds.                               b. The majority of        the    participants
                                                                       representing you       are    not     your
      c. All reasonable expenses incurred by you
                                                                       employees.
         at our request, including actual loss of
         earnings up to $100 a day because of                       c. There is no charge other than for
         time off from work.                                           charitable purposes.
      d. All costs taxed against you in the “suit”.             2. Special Events
                                                                   43424
      e. Prejudgment interest awarded against
         you on that part of the judgment we pay.                  Exhibitions - no stadiums or grandstands -
         If we make an offer to pay the Limit of                   events not to exceed 14 days held on or off
         Insurance, we will not pay any                            premises owned or controlled by you for
         prejudgment interest based on that                        purposes related to the operation of your
         period of time after the offer.                           business.
      f.   All interest on the full amount of any            K. The following endorsement also applies to
           judgment that accrues after entry of the             this TopShelf Extension Endorsement:
           judgment and before we have paid,
                                                                1. Product Spoilage
           offered to pay, or deposited in court the
           part of the judgment that is within our                 Unless a higher Limit of Insurance is
           Limit of Insurance.                                     purchased for an additional premium, the
                                                                   Limit of Insurance shown in the Schedule of
   4. Limit of Insurance                                           the Product Spoilage endorsement is the limit
      The most we will pay in damages as the                       provided by this extension endorsement or
      result of any one accident is $5,000.                        the Limit of Insurance for Business Personal
      Payments under the Additional Coverage are                   Property, whichever is less.
      in addition to the Limit of Insurance.                    This endorsement does not otherwise amend or
                                                                alter the coverage or limits provided in the
                                                                endorsements shown above.




                                                                                        056
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                                                                        BUSINESSOWNERS LIABILITY
                                                                               TBP440 (08-17)


  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          ASBESTOS – EXCLUSION

This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS LIABILITY COVERAGE FORM

The following exclusion is added to paragraph B., Exclusions 1. Applicable To Business Liability
Coverage and Exclusion 1. p. Personal And Advertising Injury:

This insurance does not apply to:


1. “Bodily injury, “property damage” or               2. Any loss, cost or expense arising out of,
“personal and advertising injury” arising out         in whole or in part, by any:
of, in whole or in part by the actual, alleged
or threatened:                                                   a. Request, demand, order or
                                                                    statutory or regulatory
           a. Inhalation of, ingestion of or                        requirement that any insured
              physical exposure to                                  or others test for, monitor,
              asbestos;                                             clean up, remove, contain,
           b. Use of asbestos in                                    treat, detoxify or neutralize,
              construction or manufacture                           or in any way respond to, or
              of any goods, products or                             assess the effects of
              structures;                                           asbestos; or
           c. Removal of asbestos from                           b. Claim or suit by or on behalf
              any goods, products or                                of a governmental authority
              structures;                                           for damages because of
           d. Manufacture, sale, transport,                         testing for, monitoring,
              storage or disposal of                                cleaning up, removing,
              asbestos;                                             containing, treating,
           e. Discharge, dispersal,                                 detoxifying or neutralizing, or
              seepage, migration, release                           in any way responding to or
              or escape of asbestos.                                assessing the effects of
                                                                    asbestos.


Definition: “Asbestos” means not only the natural fibrous mineral forms of impure magnesium
silicate but, also, any material, good, product or structure of which it is a part.




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                                                                                057
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                                                                               BUSINESSOWNERS LIABILITY
                                                                                         TBP2109 (12-15)

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                         EXCLUSION – UNMANNED AIRCRAFT
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS LIABILITY COVERAGE FORM


1. Exclusion 1.g. Aircraft, Auto Or Watercraft under                     This Paragraph g.(2) applies even if
   Businessowners Liability Coverage Form is                             the claims against any insured allege
   replaced by the following:                                            negligence or other wrongdoing in the
                                                                         supervision,      hiring,   employment,
   B. Exclusions                                                         training or monitoring of others by that
      This insurance does not apply to:                                  insured, if the "occurrence" which
      g. Aircraft, Auto Or Watercraft                                    caused the "bodily injury" or "property
                                                                         damage" involved the ownership,
          (1) Unmanned Aircraft                                          maintenance, use or entrustment to
              "Bodily injury" or "property damage"                       others of any aircraft (other than
              arising out of the ownership,                              "unmanned       aircraft"),  "auto"   or
              maintenance, use or entrustment to                         watercraft that is owned or operated by
              others of any aircraft that is an                          or rented or loaned to any insured.
              "unmanned aircraft". Use includes                          This Paragraph g.(2) does not apply to:
              operation      and     "loading   or
              unloading".                                            (a) A watercraft while ashore on premises
                                                                         you own or rent;
              This Paragraph g.(1) applies even if
              the claims against any insured                         (b) A watercraft you do not own that is:
              allege     negligence     or    other                      (i) Less than 51 feet long; and
              wrongdoing in the supervision,
                                                                         (ii) Not being used to carry persons or
              hiring, employment, training or                                 property for a charge;
              monitoring of others by that insured,
              if the "occurrence" which caused the                   (c) Parking an "auto" on, or on the ways
              "bodily injury" or "property damage"                       next to, premises you own or rent,
              involved         the       ownership,                      provided the "auto" is not owned by or
              maintenance, use or entrustment to                         rented or loaned to you or the insured;
              others of any aircraft that is an                      (d) Liability assumed under any "insured
              "unmanned aircraft".                                       contract"      for the    ownership,
          (2) Aircraft (Other Than Unmanned                              maintenance or use of aircraft or
              Aircraft), Auto Or Watercraft                              watercraft; or
              "Bodily injury" or "property damage"
              arising out of the ownership,
              maintenance, use or entrustment to
              others of any aircraft (other than
              "unmanned aircraft"), "auto" or
              watercraft owned or operated by or
              rented or loaned to any insured. Use
              includes operation and "loading or
              unloading".




                                                                                        058
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        (e) "Bodily injury" or "property damage"                           This exclusion applies even if the claims
            arising out of:                                                against any insured allege negligence or
              (i)    The operation of machinery or                         other wrongdoing in the supervision,
                     equipment that is attached to, or                     hiring, employment, training or monitoring
                     part of, a land vehicle that would                    of others by that insured, if the offense
                     qualify under the definition of                       which caused the "personal and
                     "mobile equipment" if it were not                     advertising injury" involved the ownership,
                     subject to a compulsory or                            maintenance, use or entrustment to others
                     financial responsibility law or other                 of any aircraft that is an "unmanned
                     motor vehicle insurance law where                     aircraft".
                     it is licensed or principally                         This exclusion does not apply to:
                     garaged; or                                             a. The use of another's advertising
              (ii)   The operation of any of the                                idea in your "advertisement"; or
                     machinery or equipment listed in                        b. Infringing upon another's copyright,
                     Paragraph f.(2) or f.(3) of the                            trade dress or slogan in your
                     definition of "mobile equipment".                          "advertisement".
2. The following exclusion is added to Exclusions                   C. The following definition is added to the
   Item p. - Personal And Advertising Injury:                          Definitions section:
  This insurance does not apply to:                                     "Unmanned aircraft" means an aircraft that is
    14) Unmanned Aircraft                                               not:
         "Personal and advertising injury" arising                      1. Designed;
         out of the ownership, maintenance, use or                      2. Manufactured; or
         entrustment to others of any aircraft that is
         an "unmanned aircraft". Use includes                           3. Modified after manufacture;
         operation and "loading or unloading".                       to be controlled directly by a person from within
                                                                     or on the aircraft.




                                                                                              059
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                                                                                                  BUSINESSOWNERS
                                                                                                      BU 2101 (9-03)


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


            EXCLUSION – ATHLETIC OR SPORTS PARTICIPANTS
                          This endorsement modifies insurance provided under the following:

                              BUSINESSOWNERS LIABILITY COVERAGE PART.


  This insurance does not apply to “bodily injury” to any person while practicing for or participating in any sports or
  athletic game, event, contest or exhibition that takes place at any premises you own, lease or occupy. This
  insurance also does not apply to “bodily injury” to any person while practicing for or participating in any sports or
  athletic game, event, contest or exhibition that you sponsor, organize or participate in.




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                                                                                      BUSINESSOWNERS
                                                                                           TBP12 (05-15)

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM



                                PRODUCT SPOILAGE
                                                SCHEDULE

Spoilage

                                             Limit of
Prem. No.       Bldg. No.                                                            Deductible
                                            Insurance
1           1                $100,000                                    $2,500
2           1                $100,000                                    $2,500
3           1                $81,120                                     $2,500
4           1                $100,000                                    $2,500
5           1                $100,000                                    $2,500
6           1                $100,000                                    $2,500
7           1                $100,000                                    $2,500
8           1                $100,000                                    $2,500

Spoilage in Vehicles

                                       Limit of                                   Deductible
                                      Insurance
 Per Vehicle      $                                               $


Information required to complete the Schedule, if not shown in this endorsement, will be shown in the
Declarations.


I. SPOILAGE
                                                                      We cover only the location(s) and limits
    A. Coverage
                                                                      specified in the Declarations or that is
                                                                      indicated on the Schedule.
       1. We will pay for your loss of “perishable
          stock” due to spoilage caused by a                      3. If a limit for Spoilage in Vehicles is
          Spoilage Covered Cause of Loss, as                        shown in the Schedule, Spoilage
          provided by this endorsement.                             coverage is extended to cover
                                                                    “perishable stock” in your vehicles
       2. Subject to all the provisions and                         which you own or operate and are
          conditions under the Businessowners                       equipped with refrigerating, cooling or
          Special Property Coverage Form, we                        humidity control apparatus.
          will also pay for loss of Business
          Income or Extra Expense at the
          described premises resulting from loss             B. Spoilage Covered Causes of Loss
          of “perishable stock” due to spoilage                 Subject to the exclusions described in
          caused by a Spoilage Covered Cause                    Item C. of this section, Spoilage Covered
          of Loss, as provided by this                          Cause of Loss means the following:
          endorsement.                                            1. Spoilage caused by or resulting from:


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                                                                                       BUSINESSOWNERS
                                                                                            TBP12 (05-15)

          a. Change in temperature or humidity                    2. The deactivation of electrical power
             resulting       from      mechanical                    caused by the manipulation of any
             breakdown or mechanical failure                         switch or other device used to control
             of refrigerating, cooling or humidity                   the flow of electrical power or current.
             control apparatus or equipment,                      3. The inability of an electrical utility
             only while such apparatus or                            company or other power source to
             equipment is at the described                           provide sufficient power due to:
             location; or
          b. Contamination by a refrigerant, only                    a. Lack of fuel; or
             while the refrigerating apparatus or                    b. Governmental order.
             equipment is at the described                        4. The inability of a power source at the
             location; or                                            described      premises     to    provide
                                                                     sufficient power due to lack of
           c. Power Outage, meaning change in                        generating capacity to meet demand.
              temperature or humidity at the
              described location resulting from                   5. Breaking of any glass that is a
              complete or partial interruption of                    permanent part of any refrigerating,
              electrical power, either on or off the                 cooling or humidity control unit.
              described     premises,     due      to
              conditions beyond your control.             II. LIMITS

        2. Spoilage coverage applies to                      The most we will pay for loss or damage in
           “perishable stock” at the described               any one occurrence is the applicable Limit of
            premises which is:                               Insurance shown in the Schedule.
            a. Owned by you and used in your
               business; or                               III. DEDUCTIBLE
            b. Owned by others and in your care,
               custody or control except as                  We will not pay for loss in any one occurrence
               otherwise provided in Loss                    until the amount of the adjusted loss exceeds
               Payment Property Loss Condition               the deductible shown in the Schedule. We will
               E.5.d.(3)(b).                                 then pay the amount of the adjusted loss in
                                                             excess of the deductible, up to the applicable
       3. We will also pay any necessary                     Limit of Insurance.
            expenses you incur to reduce the
            amount of loss under this coverage.           IV. SALVAGE
            We will pay for such expenses to the
            extent that they do not exceed the               You will take all necessary precautions to
            amount of loss that otherwise would              preserve the salvage and reduce the loss.
            have been payable under this
            coverage.
                                                  .
      4. Exclusions B.1.a. Ordinance or Law
         and B.1.e. Utility Services do not apply
          to Spoilage Coverage.

       5. Paragraphs A.6. Coverage Extensions
         and G. Optional Coverages do not
          apply to Spoilage Coverage.

  C. Spoilage Exclusions
      We will not pay for loss or damage caused
      by or resulting from:
      1. The disconnection of any refrigerating,
         cooling or humidity control system from
         the source of power.
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                                                                                    BUSINESSOWNERS
                                                                                         TBP13 (05-15)

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


                         PRODUCT CONTAMINATION

                                               SCHEDULE

Product Contamination

                                            Limit of
Prem. No.    Bldg. No.                                                            Deductible
                                           Insurance
      8           1         $25,000                                    $2,500




Information required to complete the Schedule, if not shown in this endorsement, will be shown in the
Declarations.




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                                                                                      BUSINESSOWNERS
                                                                                           TBP13 (05-15)

I. PRODUCT CONTAMINATION                                        2. The following conditions apply to any
                                                                   Contamination occurrence:
  A. Coverage
                                                                     a. The direct physical loss or damage
      1. We will pay for your loss of “stock” due                       must occur during the policy period
         to contamination caused by a                                   at premises you operate.
         Contamination Covered Cause of Loss,                        b. The direct physical loss or damage
         as provided by this endorsement.                               must be discovered or revealed:
                                                                        (a) Before the “stock” leaves the
      2. Subject to all the provisions and                                  premises; and
         conditions under the Businessowners                            (b) Within 180 days of the date
         Special Property Coverage Form, we                                 this coverage ends.
         will also pay for loss of Business                          c. Items used in recipes or formulas
         Income or Extra Expense at the                                 are not contaminants.
         described premises resulting from loss                      d. Mistakes in mix ratio, formulation,
         of “stock” due to contamination caused                         processing, and ingredient addition
         by a Contamination Covered Cause of                            are not covered.
         Loss, as provided by this endorsement.
                                                           C. Contamination Exclusions
        We cover only the location(s) and limits
        specified in the Declarations or that is              We will not pay for loss or damage caused
                                                              by or resulting from:
        indicated on the Schedule.
                                                                Contamination of your “stock”:
  B. Product     Contamination     Covered                       a. If the “stock” is not used or sold before
     Causes of Loss                                                 a use-by date.
     Subject to the exclusions described in                      b. If safe levels were exceeded:
     Item C. of this section, Contamination                         (1) Because of the introduction of
     Covered Cause of Loss means the                                      enzymes or other catalyst
     following:                                                           designed to facilitate the
                                                                          production or growth of any
                                                                          bacteria or other organism.
      1. Contamination means:
                                                                    (2) Prior to your receipt of the “stock”
         a. A contaminant introduced during
                                                                          at premises you own, rent, or
            storage, or during a preparation,
                                                                          operate or
            processing or manufacturing
                                                                    (3) Before this coverage becomes
            operation;
                                                                          effective.
         b. Contamination by a refrigerant,
                                                                 c. Caused by, resulting from, or
            only while the refrigerating
                                                                    aggravated by:
            apparatus or equipment is at a
                                                                    (1) Rust or corrosion;
            described location shown in the
                                                                    (2) Strikes at premises you own, rent
            Schedule;
                                                                          occupy of operate; or
         c. The proliferation of unintended
                                                                    (3) Your failure to monitor the levels
            organisms, including bacteria,
                                                                          of or test for contaminants,
            molds or wild yeast; or
                                                                          bacteria, or other substance in
         d. Drugs, compounds or any other
                                                                          your “stock” in accordance with
            physical matter or chemical
                                                                          industry or governmental agency
            material in amounts that exceed
                                                                          standards, practices or
            maximum permissible levels (safe
                                                                          regulations.
            levels) established by law or by
            state or federal agencies. The

          e. Discovery of unsafe levels must be
             based on tests conducted when the          II. LIMITS
             coverage is effective.
                                                           The most we will pay for loss or damage in


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                                                                                     064
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                                                                   BUSINESSOWNERS
                                                                        TBP13 (05-15)

  any one occurrence is the applicable Limit of
  Insurance shown in the Schedule.

III. DEDUCTIBLE

  We will not pay for loss in any one occurrence
  until the amount of the adjusted loss exceeds
  the deductible shown in the Schedule. We will
  then pay the amount of the adjusted loss in
  excess of the deductible, up to the applicable
  Limit of Insurance.

IV. SALVAGE

  You will take all necessary precautions to
  preserve the salvage and reduce the loss.




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                                                                                              BUSINESSOWNERS
                                                                                                    TBP-9(10-08)


      BUSINESSOWNERS COMMON POLICY CONDITIONS


All coverages of this policy are subject to the following
conditions.
A. Cancellation                                                             (a) Furnish necessary heat, water,
   1. The first Named Insured shown in the                                      sewer service or electricity for 30
      Declarations may cancel this policy by mailing                            consecutive days or more, except
      or delivering to us advance written notice of                             during a period of seasonal
      cancellation.                                                             unoccupancy; or
   2. We may cancel this policy by mailing or                               (b) Pay property taxes that are owing
      delivering to the first Named Insured written                             and have been outstanding for more
      notice of cancellation at least:                                          than one year following the date due,
                                                                                except that this provision will not
       a. 5 days before the effective date of                                   apply where you are in a bona fide
          cancellation if any one of the following                              dispute with the taxing authority
          conditions exists at any building that is                             regarding payment of such taxes.
          Covered Property in this policy.
                                                                   b. 10 days before the effective date of
          (1) The building has been vacant or                         cancellation if we cancel for nonpayment of
              unoccupied 60 or more consecutive                       premium.
              days. This does not apply to:
                                                                   c. 30 days before the effective date of
              (a) Seasonal unoccupancy; or                            cancellation if we cancel for any other
              (b) Buildings    in   the    course      of             reason.
                  construction, renovation or addition.         3. We will mail or deliver our notice to the first
              Buildings with 65% or more of the rental             Named Insured's last mailing address known to
              units or floor area vacant or unoccupied             us.
              are considered unoccupied under this              4. Notice of cancellation will state the effective
              provision.                                           date of cancellation. The policy period will end
          (2) After damage by a covered cause of                   on that date.
              loss, permanent repairs to the building:          5. If this policy is cancelled, we will send the first
              (a) Have not started, and                            Named Insured any premium refund due. If we
              (b) Have not been contracted for,                    cancel, the refund will be pro rata. If the first
                                                                   Named Insured cancels, the refund may be
                  within 30 days of initial payment of             less than pro rata. The cancellation will be
                  loss.                                            effective even if we have not made or offered a
          (3) The building has:                                    refund.
              (a) An outstanding order to vacate;               6. If notice is mailed, proof of mailing will be
                                                                   sufficient proof of notice.
              (b) An outstanding demolition order; or
                                                             B. Changes
              (c) Been    declared       unsafe        by
                  governmental authority.                       This policy contains all the agreements between
                                                                you and us concerning the insurance afforded. The
          (4) Fixed and salvageable items have been
                                                                first Named Insured shown in the Declarations is
              or are being removed from the building
                                                                authorized to make changes in the terms of this
              and are not being replaced. This does
                                                                policy with our consent. This policy's terms can be
              not apply to such removal that is
                                                                amended or waived only by endorsement issued
              necessary or      incidental to    any
                                                                by us and made a part of this policy.
              renovation or remodeling.
          (5) Failure to:




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C. Concealment, Misrepresentation Or Fraud
   This policy is void in any case of fraud by you as it     G. Liberalization
   relates to this policy at any time. It is also void if       If we adopt any revision that would broaden the
   you or any other insured, at any time, intentionally         coverage under this policy without additional
   conceal or misrepresent a material fact                      premium within 45 days prior to or during the policy
   concerning:                                                  period, the broadened coverage will immediately
   1. This policy;                                              apply to this policy.
   2. The Covered Property;                                  H. Other Insurance
   3. Your interest in the Covered Property; or                  1. If there is other insurance covering the same
                                                                    loss or damage, we will pay only for the amount
   4. A claim under this policy.                                    of covered loss or damage in excess of the
D. Examination Of Your Books And Records                            amount due from that other insurance, whether
   We may examine and audit your books and                          you can collect on it or not. But we will not pay
   records as they relate to this policy at any time                more than the applicable Limit of Insurance of
   during the policy period and up to three years                   Section I – Property.
   afterward.                                                    2. Business Liability Coverage is excess over:
E. Inspections And Surveys                                          a. Any other insurance that insures for direct
   1. We have to right to:                                             physical loss or damage; or
      a. Make inspections and surveys at any time;                  b. Any other primary insurance available to
                                                                       you covering liability for damages arising
      b. Give you reports on the conditions we find;                   out of the premises or operations for which
         and                                                           you have been added as an additional
      c. Recommend changes.                                            insured by attachment of an endorsement.
   2. We are not obligated to make any inspections,              3. When this insurance is excess, we will have no
      surveys, reports or recommendations and any                   duty under Business Liability Coverage to
      such actions we do undertake relate only to                   defend any claim or "suit" that any other insurer
      insurability and the premiums to be charged.                  has a duty to defend. If no other insurer
      We do not make safety inspections. We do not                  defends, we will undertake to do so; but we will
      undertake to perform the duty of any person or                be entitled to the insured's rights against all
      organization to provide for the health or safety              those other insurers.
      of workers or the public. And we do not warrant         I. Premiums
      that conditions:
                                                                 1. The first Named       Insured   shown    in   the
      a. Are safe and healthful; or                                 Declarations:
      b. Comply with laws, regulations, codes or                    a. Is responsible for the payment of all
         standards.                                                    premiums; and
   3. Paragraphs 1. and 2. of this condition apply not              b. Will be the payee for any return premiums
      only to us, but also to any rating, advisory, rate               we pay.
      service or similar organization which makes
      insurance inspections, surveys, reports or                 2. The premium shown in the Declarations was
      recommendations.                                              computed based on rates in effect at the time
                                                                    the policy was issued. On each renewal,
   4. Paragraph 2. of this condition does not apply to              continuation or anniversary of the effective date
      any      inspections,   surveys,    reports    or             of this policy, we will compute the premium in
      recommendations we may make relative to                       accordance with our rates and rules then in
      certification, under state or municipal statutes,             effect.
      ordinances or regulations, of boilers, pressure
      vessels or elevators.                                      3. With our consent, you may continue this policy
                                                                    in force by paying a continuation premium for
F. Insurance Under Two Or More Coverages                            each successive one-year period. The premium
   If two or more of this policy's coverages apply to               must be:
   the same loss or damage, we will not pay more                    a. Paid to us prior to the anniversary date; and
   than the actual amount of the loss or damage.
                                                                    b. Determined in accordance with Paragraph
                                                                       2. above.




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     Our forms then in effect will apply. If you do not       4. Undeclared exposures or change in your
     pay the continuation premium, this policy will              business operation, acquisition or use of
     expire on the first anniversary date that we                locations may occur during the policy period
     have not received the premium.                              that are not shown in the Declarations. If so, we
                                                                 may require an additional premium. That
                                                                 premium will be determined in accordance with
                                                                 our rates and rules then in effect.
                                                          J. Premium Audit
                                                              1. This policy is subject to audit if a premium
                                                                 designated as an advance premium is shown in
                                                                 the Declarations. We will compute the final
                                                                 premium due when we determine your actual
                                                                 exposures.
                                                              2. Premium shown in this policy as advance
                                                                 premium is a deposit premium only. At the
                                                                 close of each audit period we will compute the
                                                                 earned premium for that period and send notice
                                                                 to the first Named Insured. The due date for
                                                                 audit premiums is the date shown as the due
                                                                 date on the bill. If the sum of the advance and
                                                                 audit premiums paid for the policy period is
                                                                 greater than the earned premium, we will return
                                                                 the excess to the first Named Insured.
                                                              3. The first Named Insured must keep records of
                                                                 the information we need for premium
                                                                 computation, and send us copies at such times
                                                                 as we may request.
                                                          K. Transfer Of Rights Of Recovery Against Others
                                                             To Us
                                                              1. Applicable     to     Businessowners        Property
                                                                 Coverage:
                                                                 If any person or organization to or for whom we
                                                                 make payment under this policy has rights to
                                                                 recover damages from another, those rights
                                                                 are transferred to us to the extent of our
                                                                 payment. That person or organization must do
                                                                 everything necessary to secure our rights and
                                                                 must do nothing after loss to impair them. But
                                                                 you may waive your rights against another party
                                                                 in writing:
                                                                 a. Prior to a loss to your Covered Property.
                                                                 b. After a loss to your Covered Property only if,
                                                                    at time of loss, that party is one of the
                                                                    following:
                                                                    (1) Someone insured by this insurance;
                                                                    (2) A business firm:
                                                                       (a) Owned or controlled by you; or
                                                                       (b) That owns or controls you; or
                                                                    (3) Your tenant.
                                                                 You may also accept the usual bills of lading or
                                                                 shipping receipts limiting the liability of carriers.
                                                                 This will not restrict your insurance.
                                                              2. Applicable     to     Businessowners         Liability
                                                                 Coverage:




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      If the insured has rights to recover all or part of
      any payment we have made under this policy,
      those rights are transferred to us. The insured
      must do nothing after loss to impair them. At
      our request, the insured will bring "suit" or
      transfer those rights to us and help us enforce
      them. This condition does not apply to Medical
      Expenses Coverage.
L. Transfer Of Your Rights And Duties Under This
   Policy
   Your rights and duties under this policy may not be
   transferred without our written consent except in
   the case of death of an individual Named Insured.
   If you die, your rights and duties will be transferred
   to your legal representative but only while acting
   within the scope of duties as your legal
   representative. Until your legal representative is
   appointed, anyone having proper temporary
   custody of your property will have your rights and
   duties but only with respect to that property.




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                                                                                         BUSINESSOWNERS
                                                                                             BP 14 88 07 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  PRIMARY AND NONCONTRIBUTORY –
                    OTHER INSURANCE CONDITION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following is added to Paragraph H. Other                 2. You have agreed in writing in a contract or
Insurance of Section III – Common Policy                        agreement that this insurance would be
Conditions and supersedes any provision to the                  primary and would not seek contribution from
contrary:                                                       any other insurance available to the additional
   Primary And Noncontributory Insurance                        insured.
   This insurance is primary to and will not seek
   contribution from any other insurance available to
   an additional insured under your policy provided
   that:
   1. The additional insured is a Named Insured
      under such other insurance; and




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                                                                                                      BUSINESSOWNERS
                                                                                                           TBP84 (05-15)

                            PROPERTY ENHANCEMENT ENDORSEMENT
               GREEN ENVIRONMENTAL AND ENERGY EFFICIENCY IMPROVEMENTS

This endorsement modifies insurance provided under the following:
BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
This policy is amended to include the following terms. All other terms of the policy apply, except as amended by this
Endorsement.

A. Property Loss Conditions
                                                                  B. Exclusions
   The following is added to part E.5.d., Property Loss
   Conditions:                                                       The following is added to part B., Exclusions:
        10) For the purpose of improving environmental               7. The Property Enhancement Endorsement -
            quality and energy efficiency of property to be             Green Environmental and Energy Efficiency
            repaired or replaced, we will determine the value           Improvements does not cover any of the
            of Covered Property as follows:                             following:
            a) The lesser of the reasonable and                          a. Covered Property does not include stock, raw
               necessary additional cost incurred by the                    materials,    finished    goods,     “production
               Insured to repair or replace physically                      machinery”, merchandise, electronic data
               damaged Covered Property with material                       processing equipment not used in the functional
               of like kind and quality which qualifies as                  support of the real property, process water,
               “Green”. Like kind and quality includes                      molds and dies, property in the open, property
               similar size and capacity.                                   of others for which the Insured is legally liable,
                                                                            or personal property of others.
            b) The additional reasonable and necessary
               fees incurred by the Insured for an                       b. Any loss adjusted on any valuation basis
               accredited professional certified by a                       other than a repair or replacement basis as
               “Green Authority” to participate in the                      per the Valuation section of this policy.
               repair or replacement of physically                       c.   Any cost incurred due to any law or ordinance
               damaged Covered Property as “Green”.                           with which the Insured was legally obligated to
            c) The additional reasonable and necessary                        comply prior to the time of the Covered Cause
               cost incurred by the Insured for certification                 of Loss.
               or recertification of the repaired or replaced     C. Definitions
               Covered Property as “Green”.
                                                                     The following is added to part H., Property
            d) The additional reasonable and necessary
               cost incurred by the Insured for “Green” in           Definitions:
               the removal, disposal or recycling of                 20. “Green” means products, materials, methods and
               damaged Covered Property.                                 processes certified by a “Green Authority” that
                                                                         conserve natural resources, reduce energy or
            e) The business interruption loss during the
               additional time required for repair or                    water consumption, avoid toxic or other polluting
                                                                         emissions or otherwise minimize environmental
               replacement of Covered Property,
                                                                         impact.
               consistent with “Green”, in the coverages
               above.                                                21. “Green Authority” means an authority on “Green”
                                                                         buildings, products, materials, methods or
            We will not pay more than 125%, to a
                                                                         processes certified and accepted by Leadership
            maximum limit of $100,000, of what the cost
                                                                         in Energy and Environmental Design (LEED®),
            would have been to repair or replace with
            material of like kind and quality inclusive of               “Green” Building Initiative Green Globes®,
                                                                         Energy Star Rating System or any other
            fees, costs, and any business interruption
                                                                         recognized “Green” rating system.
            loss incurred as stated above.
            These Property Loss Conditions will be a                 22. “Production machinery” means any machine
            part of, and not an addition to, the Limits Of               which processes, forms, shapes, or transports
                                                                         raw materials, materials in process, waste
            Insurance or any other sub-limits, Additional
                                                                         materials or finished products.
            Coverages or Coverage Extensions applicable
            to this Policy.                                          All other terms and conditions of this policy remain
                                                                     unchanged.




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                                                                                                BUSINESSOWNERS
                                                                                                      TBP6 (05-15)



        BUSINESSOWNERS LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we”,” us" and "our" refer to the Company providing this insurance.
The word "insured" means any person or organization qualifying as such under SECTION C – WHO IS AN
INSURED.
Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION F – LIABILITY
AND MEDICAL EXPENSES DEFINITIONS.

A. Coverages                                                                  c) Prior to the policy period, no
                                                                                   insured listed under Paragraph C.1.
   1. Business Liability                                                           Who Is An Insured and no
      a. We will pay those sums that the insured                                   "employee" authorized by you to
          becomes legally obligated to pay as                                      give or receive notice of an
          damages because of "bodily injury",                                      "occurrence" or claim, knew that
          "property damage" or "personal and                                       the "bodily injury" or "property
          advertising injury" to which this insurance                              damage" had occurred, in whole or
          applies. We will have the right and duty to                              in part. If such a listed insured or
          defend the insured against any "suit"                                    authorized "employee" knew, prior
          seeking those damages. However, we will                                  to the policy period, that the "bodily
          have no duty to defend the insured against                               injury" or "property damage"
          any "suit" seeking damages for "bodily                                   occurred, then any continuation,
          injury", "property damage" or "personal and                              change or resumption of such
          advertising injury", to which this insurance                             "bodily injury" or "property damage"
          does not apply. We may at our discretion,                                during or after the policy period will
          investigate any "occurrence" or any                                      be deemed to have been known
          offense and settle any claim or "suit" that                              before the policy period.
          may result. But:                                                2) To "personal and advertising injury"
           1) The amount we will pay for damages                              caused by an offense arising out of
                is limited as described in Paragraph D                        your business, but only if the offense
                – Liability And Medical Expenses                              was committed in the "coverage
                Limits Of Insurance in Section II –                           territory" during the policy period.
                Liability; and                                       c. "Bodily injury" or "property damage" which
           2) Our right and duty to defend end                           occurs during the policy period and was
                when we have used up the applicable                      not, prior to the policy period, known to
                limit of insurance in the payment of                     have occurred by any insured listed under
                judgments or settlements or medical                      Paragraph C.1. Who Is An Insured or any
                expenses.                                                "employee" authorized by you to give or
          No other obligation or liability to pay sums                   receive notice of an "occurrence" or claim,
          or perform acts or services is covered                         includes any continuation, change or
          unless explicitly provided for under                           resumption of "bodily injury" or "property
          Paragraph f. Coverage Extension –                              damage" after the end of the policy period.
          Supplementary Payments.                                    d. "Bodily injury" or "property damage" will be
      b. This insurance applies:                                         deemed to have been known to have
                                                                         occurred at the earliest time when any
           1) To "bodily injury" and "property                           insured listed under Paragraph C.1. Who
                damage" only if:                                         Is An Insured or any "employee" authorized
                a) The "bodily injury" or "property                      by you to give or receive notice of an
                     damage" is caused by an                             "occurrence" or claim:
                     "occurrence" that takes place in the                 1) Reports all, or any part, of the "bodily
                     "coverage territory";                                    injury" or "property damage" to us or
                b) The "bodily injury" or "property                           any other insurer;
                     damage" occurs during the policy
                     period; and


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          2) Receives a written or verbal demand or                      2) If we defend an insured against a
               claim for damages because of the                             "suit" and an indemnitee of the
               "bodily injury" or "property damage"; or                     insured is also named as a party to
          3) Becomes aware by any other means                               the "suit", we will defend that
               that "bodily injury" or "property damage"                    indemnitee if all of the following
               has occurred or has begun to occur.                          conditions are met:
      e. Damages because of "bodily injury" include                         a) The "suit" against the indemnitee
         damages claimed by any person or                                        seeks damages for which the
         organization for care, loss of services or                              insured has assumed the liability of
         death resulting at any time from the "bodily                            the indemnitee in a contract or
         injury".                                                                agreement that is an "insured
                                                                                 contract";
      f. Coverage Extension – Supplementary
         Payments                                                           b) This insurance applies to such
                                                                                 liability assumed by the insured;
          1) We will pay, with respect to any claim
               we investigate or settle, or any "suit"                      c) The obligation to defend, or the
               against an insured we defend:                                     cost of the defense of, that
                                                                                 indemnitee,         has    also   been
               a) All expenses we incur.                                         assumed by the insured in the
               b) Up to $250 for cost of bail bonds                              same "insured contract";
                    required because of accidents or                        d) The allegations in the "suit" and the
                    traffic law violations arising out of                        information we know about the
                    the use of any vehicle to which                              "occurrence" are such that no
                    Business Liability Coverage for                              conflict appears to exist between
                    "bodily injury" applies. We do not                           the interests of the insured and the
                    have to furnish these bonds.                                 interests of the indemnitee:
               c) The cost of bonds to release                              e) The indemnitee and the insured
                    attachments, but only for bond                               ask us to conduct and control the
                    amounts within our Limit of                                  defense of that indemnitee against
                    Insurance. We do not have to                                 such "suit" and agree that we can
                    furnish these bonds.                                         assign the same counsel to defend
               d) All reasonable expenses incurred                               the insured and the indemnitee;
                    by the insured at our request to                             and
                    assist us in the investigation or                       f) The indemnitee:
                    defense of the claim or "suit",
                    including actual loss of earnings                            i) Agrees in writing to:
                    up to $250 a day because of time                                   i. Cooperate with us in the
                    off from work.                                                          investigation, settlement or
               e) All court costs taxed against the                                         defense of the "suit";
                    insured in the "suit". However,                                    ii. Immediately send us copies
                    these payments do not include                                           of any demands, notices,
                    attorneys’ fees or attorneys’                                           summonses or legal papers
                    expenses taxed against the                                              received in connection with
                    insured.                                                                the "suit";
               f) Prejudgment interest awarded                                         iii. Notify any other insurer
                    against the insured on that part of                                     whose        coverage     is
                    the judgment we pay. If we make                                         available to the indemnitee;
                    an offer to pay the Limit of                                            and
                    Insurance, we will not pay any                                     iv. Cooperate with us with
                    prejudgment interest based on                                           respect to coordinating
                    that period of time after the offer.                                    other applicable insurance
               g) All interest on the full amount of                                        available to the indemnitee;
                    any judgment that accrues after                                         and
                    entry of the judgment and before                             ii) Provides us with written
                    we have paid, offered to pay, or                                   authorization to:
                    deposited in court the part of the
                    judgment that is within our Limit                                  i. Obtain records and other
                    of Insurance.                                                           information related to the
                                                                                            "suit"; and
               These payments will not reduce the
               limit of liability




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                   ii. Conduct and control the
                       defense of the indemnitee
                       in such "suit".




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         3) So long as the conditions in Paragraph                      4) Preventative treatment, medication or
             2. are met, attorneys' fees incurred by                       inoculations made necessary due to
             us in the defense of that indemnitee,                         discovery of, suspicion of, or exposure to
             necessary litigation expenses incurred                        communicable disease or contaminated
             by us and necessary litigation expenses                       products at the described premises.
             incurred by the indemnitee at our             B. Exclusions
             request will be paid as Supplementary
                                                              1. Applicable To Business Liability Coverage
             Payments.         Notwithstanding     the
             provisions of Paragraph B.1.b.(2)                   This insurance does not apply to:
             Exclusions in Section II – Liability,               a. Expected Or Intended Injury
             such payments will not be deemed to
             be damages for "bodily injury" and                      "Bodily injury" or "property damage"
             "property damage" and will not reduce                   expected or intended from the standpoint
             the limits of insurance.                                of the insured. This exclusion does not
                                                                     apply to "bodily injury" resulting from the
             Our obligation to defend an insured's                   use of reasonable force to protect persons
             indemnitee and to pay for attorneys' fees               or property.
             and necessary litigation expenses as
             Supplementary Payments ends when:                   b. Contractual Liability
             a) We have used up the applicable                       "Bodily injury" or "property damage" for
                  limit of insurance in the payment                  which the insured is obligated to pay
                  of judgments or settlements; or                    damages by reason of the assumption of
                                                                     liability in a contract or agreement. This
             b) The conditions set forth above, or                   exclusion does not apply to liability for
                  the terms of the agreement                         damages:
                  described in Paragraph 2.f. above
                  are no longer met.                                   1) That the insured would have in the
                                                                            absence       of   the     contract    or
  2. Medical Expenses                                                       agreement; or
     a. We will pay medical expenses as                                2) Assumed in a contract or agreement
        described below for "bodily injury" caused                          that is an "insured contract", provided
        by an accident:                                                     the "bodily injury" or "property
         1) On premises you own or rent;                                    damage" occurs subsequent to the
                                                                            execution of the contract or
         2) On ways next to premises you own or
                                                                            agreement. Solely for the purposes of
             rent; or
                                                                            liability assumed in an "insured
         3) Because of your operations;                                     contract", reasonable attorney fees
         provided that:                                                     and necessary litigation expenses
                                                                            incurred by or for a party other than
             a) The accident takes place in the                             an insured are deemed to be
                  "coverage territory" and during                           damages because of "bodily injury" or
                  the policy period;                                        "property damage", provided:
             b) The expenses are incurred and                               a) Liability to such party for, or for
                  reported to us within one year of                              the cost of, that party's defense
                  the date of the accident; and                                  has also been assumed in the
             c) The injured person submits to                                    same "insured contract"; and
                  examination, at our expense, by                           b) Such attorney fees and litigation
                  physicians of our choice as often                              expenses are for defense of that
                  as we reasonably require.                                      party against a civil or alternative
     b. We will make these payments regardless                                   dispute resolution proceeding in
        of fault. These payments will not exceed                                 which damages to which this
        the Limits of Insurance of Section II –                                  insurance applies are alleged.
        Liability. We will pay reasonable                        c. Liquor Liability
        expenses for:
                                                                     "Bodily injury" or "property damage" for
         1) First aid administered at the time of                    which any insured may be held liable by
             an accident;                                            reason of:
         2) Necessary medical, surgical, x-ray                         1) Causing or contributing to the
             and      dental     services,   including                      intoxication of any person;
             prosthetic devices; and
                                                                       2) The furnishing of alcoholic beverages
         3) Necessary         ambulance,      hospital,                     to a person under the legal drinking age
             professional nursing and funeral                               or under the influence of alcohol; or
             services.



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          3) Any statute, ordinance or regulation                            This exclusion does not apply to
              relating to the sale, gift, distribution or                    liability assumed by the insured under
              use of alcoholic beverages.                                    an "insured contract".
              This exclusion applies even if the
              claims allege negligence or other
              wrongdoing in:
              a) The supervision, hiring, employment
                   training or monitoring of others by
                   an insured; or
              b) Providing or failing to provide
                   transportation with respect to any
                   person that may be under the
                   influence of alcohol if the
                   “occurrence” which caused the
                   “bodily    injury”    or     “property
                   damage”, involved that which is
                   described in Paragraph (1), (2) or
                   (3) above.
         This exclusion applies only if you:
          1) Manufacture, sell or distribute alcoholic
              beverages;
          2) Serve or furnish alcoholic beverages
              for a charge whether or not such
              activity:
              a) Requires a license;
              b) Is for the purpose of financial gain
                   or livelihood; or
          3) Serve or furnish alcoholic beverages
              without a charge, if a license is
              required for such activity.
          4) Permit any person to bring any
              alcoholic beverages on your premises
              for consumption on your premises.
      d. Workers' Compensation And Similar Laws
         Any obligation of the insured under a
         workers' compensation, disability benefits
         or unemployment compensation law or any
         similar law.
      e. Employer's Liability
         "Bodily Injury" to:
          1) An "employee" of the insured arising
              out of and in the course of:
              a) Employment by the insured; or
              b) Performing duties related to the
                   conduct of the insured's business;
                   or
          2) The spouse, child, parent, brother or
              sister of that "employee" as a
              consequence of Paragraph (1) above.
              This exclusion applies whether the
              insured may be liable as an employer
              or in any other capacity and to any
              obligation to share damages with or
              repay someone else who must pay
              damages because of the injury.




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      f.   Pollution                                                          d) At or from any premises, site or
            1) "Bodily injury" or "property damage" arising                      location on which any insured or
                out of the actual, alleged or threatened                         any contractors or subcontractors
                discharge, dispersal, seepage, migration,                        working directly or indirectly on any
                release or escape of "pollutants":                               insured's behalf are performing
                                                                                 operations if the "pollutants" are
                a) At or from any premises, site or                              brought on or to the premises, site
                     location which is or was at any                             or location in connection with such
                     time owned or occupied by, or                               operations by such insured,
                     rented or loaned to, any insured.                           contractor         or    subcontractor.
                     However, this subparagraph does                             However, this subparagraph does
                     not apply to:                                               not apply to:
                     i) "Bodily injury" if sustained                             i) "Bodily injury" or "property
                          within a building and caused by                             damage" arising out of the
                          smoke, fumes, vapor or soot                                 escape of fuels, lubricants or
                          produced by or originating from                             other operating fluids which are
                          equipment that is used to heat                              needed to perform the normal
                          cool or dehumidify the building,                            electrical,       hydraulic       or
                          or equipment that is used to                                mechanical                 functions
                          heat water for personal use, by                             necessary for the operation of
                          the building’s occupants or                                 "mobile equipment" or its parts,
                          their guests;                                               if such fuels, lubricants or other
                     ii) "Bodily injury" or "property                                 operating fluids escape from a
                          damage" for which you may be                                vehicle part designed to hold,
                          held liable, if you are a                                   store or receive them. This
                          contractor and the owner or                                 exception does not apply if the
                          lessee of such premises, site                               "bodily injury" or "property
                          or location has been added to                               damage" arises out of the
                          your policy as an additional                                intentional discharge, dispersal
                          insured with respect to your                                or release of the fuels,
                          ongoing operations performed                                lubricants or other operating
                          for that additional insured at                              fluids, or if such fuels, lubricants
                          that premises, site or location                             or other operating fluids are
                          and such premises, site or                                  brought on or to the premises,
                          location is not and never was                               site or location with the intent
                          owned or occupied by, or                                    that they be discharged,
                          rented or loaned to, any                                    dispersed or released as part of
                          insured, other than that                                    the operations being performed
                          additional insured; or                                      by such insured, contractor or
                                                                                      subcontractor;
                     iii) "Bodily injury" or "property
                          damage" arising out of heat,                           ii) "Bodily injury" or "property
                          smoke or fumes from a "hostile                              damage" sustained within a
                          fire";                                                      building and caused by the
                                                                                      release of gases, fumes or
                b) At or from any premises, site or
                                                                                      vapors from materials brought
                     location which is or was at any
                                                                                      into that building in connection
                     time used by or for any insured or
                                                                                      with        operations         being
                     others for the handling, storage,
                                                                                      performed by you or on your
                     disposal, processing or treatment
                                                                                      behalf by a contractor or
                     of waste;
                                                                                      subcontractor; or
                c) Which are or were at any time
                                                                                 iii) "Bodily injury" or "property
                     transported,      handled,    stored,
                                                                                      damage" arising out of heat,
                     treated, disposed of, or processed
                                                                                      smoke or fumes from a "hostile
                     as waste by or for:
                                                                                      fire".
                     i) Any insured; or
                                                                              e) At or from any premises, site or
                     ii) Any person or organization                              location on which any insured or
                          for whom you may be legally                            any contractors or subcontractors
                          responsible; or                                        working directly or indirectly on
                                                                                 any       insured's      behalf       are
                                                                                 performing operations if the
                                                                                 operations are to test for, monitor,
                                                                                 clean up, remove, contain, treat,


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                   detoxify or neutralize, or in any                     4) Liability assumed under any "insured
                   way respond to, or assess the                             contract"      for     the      ownership,
                   effects of, "pollutants".                                 maintenance or use of aircraft or
           2) Any loss, cost or expense arising out                          watercraft; or
               of any:                                                   5) "Bodily injury" or "property damage"
               a) Request, demand, order or statutory                        arising out of:
                   or regulatory requirement that any                        a) The operation of machinery or
                   insured or others test for, monitor,                           equipment that is attached to, or
                   clean up, remove, contain, treat,                              part of, a land vehicle that would
                   detoxify or neutralize, or in any way                          qualify under the definition of
                   respond to, or assess the effects of,                          "mobile equipment" if it were not
                   "pollutants"; or                                               subject to a compulsory or
               b) Claim or "suit" by or on behalf of a                            financial responsibility law or
                   governmental authority for damages                             other motor vehicle insurance or
                   because of testing for, monitoring,                            motor vehicle registration law
                   cleaning up, removing, containing,                             where it is licensed or principally
                   treating, detoxifying or neutralizing, or                      garaged; or
                   in any way responding to, or                              b) The operation of any of the following
                   assessing the effects of, "pollutants".                        machinery or equipment:
               However, this paragraph does not                                   i) Cherry pickers and similar
               apply to liability for damages because                                  devices mounted on automobile
               of "property damage" that the insured                                   or truck chassis and used to
               would have in the absence of such                                       raise or lower workers; and
               request, demand, order or statutory or                             ii) Air compressors, pumps and
               regulatory requirement or such claim                                    generators, including spraying,
               or "suit" by or on behalf of a                                          welding, building cleaning,
               governmental authority.                                                 geophysical exploration, lighting
      g. Aircraft, Auto Or Watercraft                                                  and well servicing equipment.
         "Bodily injury" or "property damage" arising                h. Mobile Equipment
         out of the ownership, maintenance, use or                      "Bodily injury" or "property damage" arising
         entrustment to others of any aircraft, "auto"                  out of:
         or watercraft owned or operated by or
         rented or loaned to any insured. Use                            1) The       transportation      of    "mobile
         includes operation and "loading or                                  equipment" by an "auto" owned or
         unloading".                                                         operated by or rented or loaned to
                                                                             any insured; or
         This exclusion applies even if the claims
         allege negligence or other wrongdoing in                        2) The use of "mobile equipment" in, or
         the supervision, hiring, employment,                                while in practice for, or while being
         training or monitoring of others by an                              prepared for, any prearranged racing,
         insured, if the "occurrence" which caused                           speed, demolition or stunting activity.
         the "bodily injury" or "property damage"                    i. War
         involved the ownership, maintenance, use                       "Bodily injury", "property damage" or
         or entrustment to others of any aircraft,                      "personal and advertising injury", however
         "auto" or watercraft that is owned or                          caused, arising, directly or indirectly, out of:
         operated by or rented or loaned to any
         insured.                                                        1) War, including undeclared or civil war;
         This exclusion does not apply to:                               2) Warlike action by a military force,
                                                                             including action in hindering or
           1) A watercraft while ashore on                                   defending against an actual or
               premises you own or rent;                                     expected attack, by any government,
           2) A watercraft you do not own that is:                           sovereign or other authority using
               a) Less than 51 feet long; and                                military personnel or other agents; or
               b) Not being used to carry persons                        3) Insurrection, rebellion, revolution,
                   or property for a charge;                                 usurped power, or action taken by
                                                                             government authority in hindering or
           3) Parking an "auto" on, or on the ways                           defending against any of these.
               next to, premises you own or rent,
               provided the "auto" is not owned by or
               rented or loaned to you or the
               insured;



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      j. Professional Services                                        3) Property loaned to you;
         "Bodily injury", "property damage", or                       4) Personal property in the care, custody or
         "personal and advertising injury" caused by                       control of the insured;
         the rendering or failure to render any
         professional service. This includes but is                   5) That particular part of real property on
         not limited to:                                                   which you or any contractor or
                                                                           subcontractor working directly or indirectly
          1) Legal, accounting or advertising                              on your behalf is performing operations, if
               services;                                                   the "property damage" arises out of those
          2) Preparing, approving, or failing to                           operations; or
               prepare or approve maps, drawings,                     6) That particular part of any property that
               opinions, reports, surveys, change                          must be restored, repaired or replaced
               orders, designs or specifications;                          because "your work" was incorrectly
          3) Supervisory,           inspection        or                   performed on it.
               engineering services;                                 Paragraphs (1), (3) and (4) of this
          4) Medical, surgical, dental, x-ray or                     exclusion do not apply to "property
               nursing services treatment, advice or                 damage" (other than damage by fire) to
               instruction;                                          premises, including the contents of such
          5) Any health or therapeutic service                       premises, rented to you for a period of 7 or
               treatment, advice or instruction;                     fewer consecutive days. A separate limit of
                                                                     insurance applies to Damage To Premises
          6) Any service, treatment, advice or                       Rented To You as described in Paragraph
               instruction for the purpose of                        D. Liability And Medical Expenses Limit Of
               appearance or skin enhancement,                       Insurance in Section II – Liability.
               hair removal or replacement or
               personal grooming;                                    Paragraph (2) of this exclusion does not
                                                                     apply if the premises are "your work" and
          7) Optometry or optical or hearing aid                     were never occupied, rented or held for
               services including the prescribing,                   rental by you.
               preparation, fitting, demonstration or
               distribution of ophthalmic lenses and                 Paragraphs (3), (4), (5) and (6) of this
               similar products or hearing aid                       exclusion do not apply to liability assumed
               devices;                                              under a sidetrack agreement.
          8) Body piercing services; and                             Paragraph (6) of this exclusion does not
                                                                     apply to "property damage" included in the
          9) Services in the practice of pharmacy.                   "products – completed operations hazard".
               This exclusion applies even if the                 l. Damage To Your Product
               claims allege negligence or other
               wrongdoing in the supervision, hiring,                "Property damage" to "your product"
               employment, training or monitoring of                 arising out of it or any part of it.
               others by an insured, if the                       m. Damage To Your Work
               “occurrence” which caused the “bodily                 "Property damage" to "your work" arising
               injury’ or “property damage” or the                   out of it or any part of it and included in the
               offense which caused the “personal                    "products – completed operations hazard".
               and advertising injury” involved the
               rendering of failure to render of any                 This exclusion does not apply if the
               professional service.                                 damaged work or the work out of which the
                                                                     damage arises was performed on your
      k. Damage To Property                                          behalf by a subcontractor.
         "Property damage" to:                                    n. Damage To Impaired Property Or
          1) Property you own, rent or occupy,                       Property Not Physically Injured
               including any costs or expenses                       "Property damage" to "impaired property"
               incurred by you, or any other person,                 or property that has not been physically
               organization or entity, for repair,                   injured, arising out of:
               replacement, enhancement, restoration
               or maintenance of such property for any                1) A defect, deficiency, inadequacy or
               reason, including prevention of injury to                   dangerous condition in "your product"
               a person or damage to another's property;                   or "your work"; or
          2) Premises you sell, give away or
               abandon, if the "property damage"
               arises out of any part of those
               premises;



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           2) A delay or failure by you or anyone
               acting on your behalf to perform a
               contract or agreement in accordance
               with its terms.
               This exclusion does not apply to the
               loss of use of other property arising
               out of sudden and accidental physical
               injury to "your product" or "your work"
               after it has been put to its intended
               use.
      o. Recall Of Products, Work Or Impaired
         Property
         Damages claimed for any loss, cost or
         expense incurred by you or others for the
         loss of use, withdrawal, recall, inspection,
         repair, replacement, adjustment, removal
         or disposal of:
           1) "Your product";
           2) "Your work"; or
           3) "Impaired property";
         if such product, work or property is
         withdrawn or recalled from the market or
         from use by any person or organization
         because of a known or suspected defect,
         deficiency, inadequacy or dangerous
         condition in it.
      p. Personal And Advertising Injury
         "Personal and advertising injury":
           1) Caused by or at the direction of the
               insured with the knowledge that the act
               would violate the rights of another and
               would inflict "personal and advertising
               injury";
           2) Arising out of oral or written publication,
               in any manner, of material, if done by
               or at the direction of the insured with
               knowledge of its falsity;
           3) Arising out of oral or written publication,
               in any manner, of material whose first
               publication took place before the
               beginning of the policy period;
           4) For which the insured has assumed
               liability in a contract or agreement. This
               exclusion does not apply to liability for
               damages that the insured would have
               in the absence of the contract or
               agreement;
           5) Arising out of a breach of contract,
               except an implied contract to use
               another's advertising idea in your
               "advertisement";
           6) Arising out of the failure of goods,
               products or services to conform with
               any statement of quality or performance
               made in your "advertisement";




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           7) Arising out of the wrong description of                    13) Arising out of the unauthorized use of
               the price of goods, products or services                       another's name or product in your e-mail
               stated in your "advertisement";                                address, domain name or metatags, or
                                                                              any other similar tactics to mislead
           8) Committed by an insured whose                                   another's potential customers.
               business is:
                                                                    q. Electronic Data
               a) Advertising, broadcasting, publishing
                    or telecasting;                                    Damages arising out of the loss of, loss of
                                                                       use of, damage to, corruption of, inability to
               b) Designing or determining content of                  access, or inability to manipulate electronic
                    web-sites for others; or                           data.
               c) An Internet search, access, content                  However this exclusion does not apply to
                    or service provider.                               liability for damages because of “bodily
               However, this exclusion does not                        injury”.
               apply to Paragraphs 14.a., b. and c.                    As used in this exclusion, electronic data
               of "personal and advertising injury"                    means information, facts or computer
               under Paragraph F. Liability And                        programs stored as or on, created or used
               Medical Expenses Definitions.                           on, or transmitted to or         from       computer
               For the purposes of this exclusion,                     software,         (including        systems     and
               the placing of frames, borders or                       applications software), on hard or floppy
               links, or advertising, for you or others                disks, CD-ROMS, tapes, drives, cells, data
               anywhere on the Internet, by itself, is                 processing devices or any other repositories
               not considered the business of                          of computer software which are used with
               advertising, broadcasting, publishing                   electronically controlled equipment. The term
               or telecasting.                                         computer programs, referred to in the
                                                                       foregoing description of electronic data,
           9) Arising out of the actual, alleged or
                                                                       means a set of related electronic instructions
               threatened       discharge,       dispersal,
                                                                       which direct the operations and functions of a
               seepage, migration, release or
                                                                       computer or device to receive, process,
               escape of "pollutants" at any time.
                                                                       store, retrieve or send data
           10) With respect to any loss, cost or
                                                                    r. Criminal Acts
               expense arising out of any:
                                                                       "Personal and advertising injury" arising
               a) Request, demand or order that any
                                                                       out of a criminal act committed by or at the
                    insured or others test for, monitor,
                                                                       direction of the insured.
                    clean-up, remove, contain, treat,
                    detoxify or neutralize or in any way            s. Recording And Distribution Of Material
                    respond to, or assess the effects of,              Or Information In Violation Of Law
                    "pollutants"; or                                   "Personal and advertising injury" arising
               b) Claim or "suit" by or on behalf of a                 directly or indirectly out of any action or
                    governmental authority for damages                 omission that violates or is alleged to
                    because of testing for, monitoring,                violate:
                    cleaning up, removing, containing,                   1) The Telephone Consumer Protection
                    treating, detoxifying or neutralizing                     Act (TCPA), including any amendment
                    or in any way responding to, or                           of or addition to such law; or
                    assessing        the     effects    of,
                    "pollutants".                                        2) The CAN-SPAM Act of 2003, including
                                                                              any amendment of or addition to such
           11) Arising out of an electronic chatroom or                       law; or
               bulletin board the insured hosts, owns
               or over which the insured exercises                       3) The Fair Credit Reporting Act (FCRA),
               control.                                                       and any amendment of or addition to
                                                                              such law, including the Fair and
           12) Arising out of the infringement of                             Accurate Credit Transaction Act (FACTA);
               copyright, patent, trademark, trade                            or
               secret or other intellectual property
               rights. Under this exclusion, such other                  4) Any federal, state, or local statute,
               intellectual property rights do not                            ordinance or regulation, other than
               include the use of another’s advertising                       the TCPA CAN-SPAM Act of 2003 or
               idea in your “advertisement”.                                  FCRA and their amendments and
                                                                              additions, that addresses, prohibits,
               However, this exclusion does not                               or limits the printing, dissemination,
               apply to infringement, in your                                 disposal, collecting, recording, sending,
               "advertisement", of copyright, trade                           transmitting,        communicating         or
               dress or slogan.                                               distribution of material or information.


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               Exclusions c., d., e., f., g., h., i., k., l.,             1) With respect to which an insured
               m., n. and o. in Section II – Liability                          under the policy is also an insured
               do not apply to damage by fire to                                under a nuclear energy liability policy
               premises while rented to you, or                                 issued by the Nuclear Energy Liability
               temporarily occupied by you with                                 Insurance Association, Mutual Atomic
               permission of the owner. A separate                              Energy Liability Underwriters or
               Damage To Premises Rented To You                                 Nuclear Insurance Association of
               Limit of Insurance applies to this                               Canada, or would be an insured
               coverage as described in Paragraph                               under any such policy but for its
               D. Liability And Medical Expenses                                termination upon exhaustion of its
               Limits of Insurance in Section II –                              limit of liability; or
               Liability.                                                 2) Resulting from the "hazardous
  2. Applicable To Medical Expenses Coverage                                    properties" of "nuclear material" and
     We will not pay expenses for "bodily injury":                              with respect to which:
     a. To any insured, except "volunteer                                       a) Any person or organization is
         workers".                                                                   required to maintain financial
                                                                                     protection pursuant to the Atomic
     b. To a person hired to do work for or on                                       Energy Act of 1954, or any law
         behalf of any insured or a tenant of any                                    amendatory thereof; or
         insured.
                                                                                b) The insured is, or had this policy
     c. To a person injured on that part of                                          not been issued would be, entitled
         premises you own or rent that the person                                    to indemnity from the United
         normally occupies.                                                          States of America, or any agency
     d. To a person, whether or not an "employee"                                    thereof, under any agreement
         of any insured, if benefits for the "bodily                                 entered into by the United States
         injury" are payable or must be provided                                     of America, or any agency
         under a workers' compensation or disability                                 thereof, with any person or
         benefits law or a similar law.                                              organization.
     e. To a person injured while practicing,                         b. Under Medical Expenses Coverage, to
         instructing or participating in any physical                    expenses incurred with respect to "bodily
         exercises or games, sports, or athletic                         injury" resulting from the "hazardous
         contests.                                                       properties" of "nuclear material" and
                                                                         arising out of the operation of a "nuclear
     f. Included within the "products – completed
                                                                         facility" by any person or organization.
         operations hazard".
                                                                      c. Under Business Liability Coverage, to
     g. Excluded          under     Business      Liability
                                                                         "bodily injury" or "property damage"
         Coverage.
                                                                         resulting from the "hazardous properties"
     h. To the extent that medical or dental                             of the "nuclear material"; if:
         expenses are payable under:
                                                                          1) The "nuclear material":
           1) Any       other      medical     payments
                                                                                a) Is at any "nuclear facility" owned
               insurance
                                                                                     by, or operated by or on behalf of,
           2) Any form of accident, sickness or                                      an insured; or
               health insurance; or
                                                                                b) Has          been      discharged    or
           3) Any form of welfare benefit plan                                       dispersed therefrom;
               including Federal and State plans and
                                                                          2) The "nuclear material" is contained in
               plans       established     under        the
                                                                                "spent fuel" or "waste" at any time
               Employee         Retirement        Income
                                                                                possessed,             handled,      used,
               Security Act (ERISA).
                                                                                processed, stored, transported or
  3. Applicable To Both Business Liability                                      disposed of by or on behalf of an
     Coverage And Medical Expenses Coverage                                     insured; or
     – Nuclear Energy Liability Exclusion
     This insurance does not apply:
     a. Under Business Liability Coverage, to
         "bodily injury" or "property damage":




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          3) The "bodily injury" or "property                            5) "Nuclear reactor" means any apparatus
              damage" arises out of the furnishing                           designed or used to sustain nuclear
              by an insured of services, materials,                          fission in a self-supporting chain
              parts or equipment in connection with                          reaction or to contain a critical mass of
              the        planning,         construction,                     fissionable material;
              maintenance, operation or use of any                       6) "Property damage" includes all forms of
              "nuclear facility"; but if such facility is                    radioactive contamination of property.
              located within the United States of
              America, its territories or possessions                    7) "Source material" has the meaning
              or Canada, this Exclusion (3) applies                          given it in the Atomic Energy Act of
              only to "property damage" to such                              1954 or in any law amendatory thereof;
              "nuclear facility" and any property                        8) "Special nuclear material" has the
              thereat.                                                       meaning given it in the Atomic Energy
      d. As used in this exclusion:                                          Act of 1954 or in any law amendatory
                                                                             thereof;
          1) "By-product       material"      has    the
              meaning given it in the Atomic Energy                      9) "Spent fuel" means any fuel element
              Act of 1954 or in any law amendatory                           or fuel component, solid or liquid,
              thereof;                                                       which has been used or exposed to
                                                                             radiation in a "nuclear reactor";
          2) "Hazardous          properties"     include
              radioactive,     toxic    or     explosive                 10) "Waste" means any waste material:
              properties;                                                    a) Containing "by-product material"
          3) "Nuclear facility" means:                                            other than the tailings or wastes
                                                                                  produced by the extraction or
              a) Any "nuclear reactor";                                           concentration of uranium or
              b) Any       equipment        or    device                          thorium from any ore processed
                  designed or used for:                                           primarily for its "source material"
                  i) Separating the isotopes of                                   content; and
                       uranium or plutonium;                                 b) Resulting from the operation by
                  ii) Processing or utilizing "spent                              any person or organization of any
                       fuel"; or                                                  "nuclear facility" included under
                                                                                  Paragraphs (a) and (b) of the
                  iii) Handling,      processing       or                         definition of "nuclear facility".
                       packaging "waste";
                                                            C. Who Is An Insured
              c) Any equipment or device used for
                  the processing, fabricating or               1. If you are designated in the Declarations as:
                  alloying of "special nuclear                    a. An individual, you and your spouse are
                  material" if at any time the total                   insureds, but only with respect to the
                  amount of such material in the                       conduct of a business of which you are the
                  custody of the insured at the                        sole owner.
                  premises where such equipment
                                                                  b. A partnership or joint venture, you are an
                  or device is located consists of or
                                                                       insured. Your members, your partners and
                  contains more than 25 grams of
                                                                       their spouses are also insureds, but only
                  plutonium or uranium 233 or any
                                                                       with respect to the conduct of your
                  combination thereof, or more than
                                                                       business.
                  250 grams of uranium 235;
                                                                  c. A limited liability company, you are an
              d) Any structure, basin, excavation,
                                                                       insured. Your members are also insureds,
                  premises or place prepared or
                                                                       but only with respect to the conduct of your
                  used for the storage or disposal
                                                                       business. Your managers are insureds, but
                  of "waste";
                                                                       only with respect to their duties as your
              and includes the site on which any of                    managers.
              the foregoing is located, all operations
                                                                  d. An organization other than a partnership,
              conducted on such site and all
                                                                       joint venture or limited liability company,
              premises used for such operations;
                                                                       you are an insured. Your "executive
          4) "Nuclear material" means "source                          officers" and directors are insureds, but
              material", "special nuclear material" or                 only with respect to their duties as your
              "by-product material";                                   officers or directors. Your stockholders are
                                                                       also insureds, but only with respect to their
                                                                       liability as stockholders.




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     e. A trust, you are an insured. Your trustees                 c. Any person or organization having proper
        are also insureds but only with respect to                    temporary custody of your property if you
        their duties as trustees                                      die, but only:
  2. Each of the following is also an insured:                         1) With respect to liability arising out of
     a. Your "volunteer workers" only while                                 the maintenance or use of that
        performing duties related to the conduct of                         property; and
        your business, or your "employees", other                      2) Until your legal representative has
        than either your "executive officers" (if you                       been appointed.
        are an organization other than a                           d. Your legal representative if you die, but
        partnership, joint venture or limited liability               only with respect to duties as such. That
        company) or your managers (if you are a                       representative will have all your rights and
        limited liability company), but only for acts                 duties under this policy.
        within the scope of their employment by
        you or while performing duties related to                 No person or organization is an insured with
        the conduct of your business. However,                    respect to the conduct of any current or past
        none of these "employees" or "volunteer                   partnership, joint venture or limited liability
        workers" are insureds for:                                company that is not shown as a Named
                                                                  Insured in the Declarations.
          1) "Bodily injury" or "personal and
              advertising injury":                         D. Liability And Medical Expenses Limits Of
                                                              Insurance
              a) To you, to your partners or
                   members (if you are a partnership          1. The Limits of Insurance of Section II –
                   or joint venture), to your members             Liability shown in the Declarations and the
                   (if you are a limited liability                rules below fix the most we will pay regardless
                   company), or to a co-"employee"                of the number of:
                   while in the course of his or her              a. Insureds;
                   employment or performing duties
                   related to the conduct of your                 b. Claims made or "suits" brought; or
                   business, or to your other                     c. Persons or organizations making claims or
                   "volunteer      workers"       while                bringing "suits".
                   performing duties related to the           2. The most we will pay for the sum of all
                   conduct of your business;                      damages because of all:
              b) To the spouse, child, parent,                    a. "Bodily injury", "property damage" and
                   brother or sister of that co-                       medical expenses arising out of any one
                   "employee" as a consequence of                      "occurrence"; and
                   Paragraph (a) above;
                                                                  b. "Personal and advertising injury" sustained
              c) For which there is any obligation to                  by any one person or organization;
                   share damages with or repay
                   someone else who must pay                     is the Liability and Medical Expenses limit
                   damages because of the injury                 shown in the Declarations. But the most we will
                   described in Paragraphs (a) or (b);           pay for all medical expenses because of "bodily
                   or                                            injury" sustained by any one person is the
                                                                 Medical Expenses limit shown in the
              d) Arising out of his or her providing or          Declarations.
                   failing to provide professional
                   health care services.                      3. The most we will pay under Business Liability
                                                                  Coverage for damages because of "property
          2) "Property damage" to property:                       damage" to a premises while rented to you or
              a) Owned, occupied or used by,                      in the case of fire while rented to you or
              b) Rented to, in the care, custody or               temporarily occupied by you with permission of
                   control of, or over which physical             the owner, is the applicable Damage To
                   control is being exercised for any             Premises Rented To You limit shown for that
                   purpose by you, any of your                    premises in the Declarations. For a premises
                   "employees", "volunteer workers",              temporarily occupied by you, the applicable
                   any partner or member (if you are              limit will be the highest Damage To Premises
                   a partnership or joint venture), or            Rented To You limit shown in the Declarations.
                   any member (if you are a limited           4. Aggregate Limits
                   liability company).                           The most we will pay for:
     b. Any person (other than your "employee" or
        "volunteer worker"), or any organization
        while acting as your real estate manager.




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      a. All "bodily injury" and "property damage"             2. Duties In The Event Of Occurrence,
         that is included in the "products-completed              Offense, Claim Or Suit
         operations hazard" is the Products/                      a. You must see to it that we are notified as
         Completed Operations Aggregate shown in                       soon as practicable of an "occurrence" or
         the Declarations.                                             an offense which may result in a claim. To
      b. All:                                                          the extent possible, notice should include:
          1) "Bodily injury" and "property damage"                      1) How,       when      and   where     the
               except damages because of "bodily                            "occurrence" or offense took place;
               injury" or "property damage" included                    2) The names and addresses of any
               in the "products-completed operations                        injured persons and witnesses; and
               hazard";
                                                                        3) The nature and location of any injury
          2) Plus medical expenses;                                         or damage arising out of the
          3) Plus all "personal and advertising injury"                     "occurrence" or offense.
               caused by offenses committed;                      b. If a claim is made or "suit" is brought
         is the Other Than Products/Completed                          against any insured, you must:
         Operations Aggregate shown in the                              1) Immediately record the specifics of
         Declarations.                                                      the claim or "suit" and the date
      c. Aggregate limits apply separately to:                              received; and
          1) Each of your projects away from                            2) Notify us as soon as practicable.
               premises owned by or rented to you;                     You must see to it that we receive written
               and                                                     notice of the claim or "suit" as soon as
          2) Each of your “locations” owned or                         practicable.
               rented to you.                                     c. You and any other involved insured must:
         “Location” means premises involving the                        1) Immediately send us copies of any
         same or connecting lots, or premises                               demands, notices, summonses or
         whose connection is interrupted only by a                          legal papers received in connection
         street, roadway or right-of-way of a                               with the claim or "suit";
         railroad.
                                                                        2) Authorize us to obtain records and
         Subject to Paragraph a. or b. above,                               other information;
         whichever applies, the Damage To
         Premises Rented To You Limit is the most                       3) Cooperate with us in the investigation,
         we will pay for damages because of                                 or settlement of the claim or defense
         "property damage" to any one premises,                             against the "suit"; and
         while rented to you, or in the case of fire,                   4) Assist us, upon our request, in the
         while rented to you or temporarily occupied                        enforcement of any right against any
         by you with permission of the owner.                               person or organization that may be
         The Limits of Insurance of Section II –                            liable to the insured because of injury
         Liability apply separately to each                                 or damage to which this insurance
         consecutive annual period and to any                               may also apply.
         remaining period of less than 12 months,                 d. No insured will, except at that insured's
         starting with the beginning of the policy                     own cost, voluntarily make a payment,
         period shown in the Declarations, unless                      assume any obligation, or incur any
         the policy period is extended after                           expense, other than for first aid, without
         issuance for an additional period of less                     our consent.
         than 12 months. In that case, the additional          3. Legal Action Against Us
         period will be deemed part of the last
         preceding period for purposes of                         No person or organization has a right under this
         determining the Limits of Insurance.                     policy:
E. Liability And Medical Expenses General                         a. To join us as a party or otherwise bring us
   Conditions                                                          into a "suit" asking for damages from an
                                                                       insured; or
   1. Bankruptcy
                                                                  b. To sue us on this policy unless all of its
      Bankruptcy or insolvency of the insured or of                    terms have been fully complied with.
      the insured's estate will not relieve us of our
      obligations under this policy.




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            A person or organization may sue us to                    c. All other parts of the world if the injury or
            recover on an agreed settlement or on a                       damage arises out of:
            final judgment against an insured; but we                      1) Goods or products made or sold by
            will not be liable for damages that are not                         you in the territory described in
            payable under the terms of this policy or                           Paragraph a. above;
            that are in excess of the applicable limit of
            insurance. An agreed settlement means a                        2) The activities of a person whose
            settlement and release of liability signed by                       home is in the territory described in
            us, the insured and the claimant or the                             Paragraph a. above, but is away for a
            claimant's legal representative.                                    short time on your business; or
   4. Separation Of Insureds                                               3) "Personal and advertising injury"
                                                                                offenses that take place through the
      Except with respect to the Limits of Insurance                            Internet or similar electronic means of
      of Section II – Liability, and any rights or                              communication;
      duties specifically assigned in this policy to the
      first Named Insured, this insurance applies:                        provided the insured's responsibility to pay
                                                                          damages is determined in a "suit" on the
       a. As if each Named Insured were the only                          merits in the territory described in
            Named Insured; and                                            Paragraph a. above or in a settlement we
       b. Separately to each insured against whom                         agree to.
            claim is made or "suit" is brought.                 5.    "Employee" includes a "leased worker".
F. Liability And Medical Expenses Definitions                         "Employee" does not include a "temporary
                                                                      worker".
   1. "Advertisement" means a notice that is
      broadcast or published to the general public or           6.    "Executive officer" means a person holding any
      specific market segments about your goods,                      of the officer positions created by your charter,
      products or services for the purpose of                         constitution, by-laws or any other similar
      attracting customers or supporters. For the                     governing document.
      purposes of this definition:                              7.    "Hostile fire" means one which becomes
      a. Notices that are published include material                  uncontrollable or breaks out from where it was
           placed on the Internet or on similar                       intended to be.
           electronic means of communication; and               8.    "Impaired property" means tangible property,
      b. Regarding web-sites, only that part of a                     other than "your product" or "your work", that
           web-site that is about your goods, products                cannot be used or is less useful because:
           or services for the purposes of attracting                 a. It incorporates "your product" or "your
           customers or supporters is considered an                       work" that is known or thought to be
           advertisement.                                                 defective,     deficient,    inadequate    or
   2. “Auto" means:                                                       dangerous; or
       a. A land motor vehicle, trailer or semitrailer                b. You have failed to fulfill the terms of a
             designed for travel on public roads,                         contract or agreement;
             including any attached machinery or                     if such property can be restored to use by:
             equipment.; or
                                                                           1) The repair, replacement, adjustment
       b. Any other land vehicle that is subject to a                           or removal of "your product" or "your
             compulsory or financial responsibility law                         work"; or
             or other motor vehicle insurance law in
                                                                           2) Your fulfilling the terms of the contract
             the state where it is licensed or
                                                                                or agreement.
             principally garaged.
                                                                9.    "Insured contract" means:
       However, “auto" does not include "mobile
       equipment"                                                     a. A contract for a lease of premises.
                                                                          However, that portion of the contract for a
   3. "Bodily injury" means bodily injury, sickness or
                                                                          lease of premises that indemnifies any
      disease sustained by a person, including death
                                                                          person or organization for damage by fire
      resulting from any of these at any time.
                                                                          to premises while rented to you or
   4. "Coverage territory" means:                                         temporarily occupied by you with
      a. The United States of America (including its                      permission of the owner is not an "insured
           territories and possessions), Puerto Rico                      contract";
           and Canada;                                                b. A sidetrack agreement;
      b. International waters or airspace, but only if                c. Any easement or license agreement,
           the injury or damage occurs in the course                      except in connection with construction or
           of travel or transportation between any                        demolition operations on or within 50 feet
           places included in Paragraph a. above; or                      of a railroad;



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      d. An obligation, as required by ordinance, to                  c. While it is being moved from an aircraft,
          indemnify a municipality, except in                             watercraft or "auto" to the place where it is
          connection with work for a municipality;                        finally delivered;
      e. An elevator maintenance agreement;                          but "loading or unloading" does not include the
      f. That part of any other contract or                          movement of property by means of a
          agreement pertaining to your business                      mechanical device, other than a hand truck,
          (including an indemnification of a                         that is not attached to the aircraft, watercraft or
          municipality in connection with work                       "auto".
          performed for a municipality) under which              12. "Mobile equipment" means any of the following
          you assume the tort liability of another                    types of land vehicles, including any attached
          party to pay for "bodily injury" or "property               machinery or equipment:
          damage" to a third person or organization.                  a. Bulldozers, farm machinery, forklifts and
          Tort liability means a liability that would be                  other vehicles designed for use principally
          imposed by law in the absence of any                            off public roads;
          contract or agreement.
                                                                      b. Vehicles maintained for use solely on or
          Paragraph f. does not include that part of                      next to premises you own or rent;
          any contract or agreement:
                                                                      c. Vehicles that travel on crawler treads;
            1) That indemnifies a railroad for "bodily
                injury" or "property damage" arising                  d. Vehicles, whether self-propelled or not, on
                out of construction or demolition                         which are permanently mounted:
                operations, within 50 feet of any                           1) Power cranes, shovels, loaders,
                railroad property and affecting any                             diggers or drills; or
                railroad bridge or trestle, tracks, road                    2) Road construction or resurfacing
                beds, tunnel, underpass or crossing;                            equipment such as graders, scrapers
            2) That      indemnifies      an    architect,                      or rollers;
                engineer or surveyor for injury or                    e. Vehicles not described in Paragraphs a.,
                damage arising out of:                                    b., c. or d. above that are not self-
                a) Preparing, approving or failing to                     propelled and are maintained primarily to
                     prepare or approve maps,                             provide mobility to permanently attached
                     drawings,      opinions,    reports,                 equipment of the following types:
                     surveys, change orders, designs                        1) Air      compressors,      pumps      and
                     or specifications; or                                      generators,       including    spraying,
                b) Giving directions or instructions,                           welding,         building      cleaning,
                     or failing to give them, if that is                        geophysical exploration, lighting and
                     the primary cause of the injury or                         well servicing equipment; or
                     damage; or                                             2) Cherry pickers and similar devices
            3) Under which the insured, if an                                   used to raise or lower workers;
                architect, engineer or surveyor,                      f. Vehicles not described in Paragraphs a.,
                assumes liability for an injury or                        b., c. or d. above maintained primarily for
                damage arising out of the insured's                       purposes other than the transportation of
                rendering or failure to render                            persons or cargo.
                professional services, including those
                listed in Paragraph (2) above and                        However, self-propelled vehicles with the
                supervisory, inspection or engineering                   following types of permanently attached
                services.                                                equipment are not "mobile equipment" but
                                                                         will be considered "autos":
  10. "Leased worker" means a person leased to you
      by a labor leasing firm under an agreement                            1) Equipment designed primarily for:
      between you and the labor leasing firm, to                                a) Snow removal;
      perform duties related to the conduct of your
                                                                                b) Road maintenance, but not
      business. "Leased worker" does not include a
                                                                                     construction or resurfacing; or
      "temporary worker".
                                                                                c) Street cleaning;
  11. "Loading or unloading" means the handling of
      property:                                                             2) Cherry pickers and similar devices
                                                                                mounted on automobile or truck
      a. After it is moved from the place where it is
                                                                                chassis and used to raise or lower
          accepted for movement into or onto an
                                                                                workers; and
          aircraft, watercraft or "auto";
      b. While it is in or on an aircraft, watercraft or
          "auto"; or




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              3) Air     compressors,        pumps     and                       a) When all of the work called for in
                  generators, including spraying, welding,                            your     contract      has     been
                  building      cleaning,       geophysical                           completed.
                  exploration, lighting and well servicing
                  equipment.                                                     b) When all of the work to be done
                                                                                      at the job site has been
            However, “mobile equipment” does not                                      completed if your contract calls
            include land vehicles that are subject to a                               for work at more than one job
            compulsory or financial responsibility law or                             site.
            other motor vehicle insurance law in the state
            where it is licensed or principally garaged.                         c) When that part of the work done
            Land vehicles subject to a compulsory or                                  at the job site has been put to its
            financial responsibility law or motor vehicle                             intended use by any other person
            insurance law are considered “autos”.                                     or organization other than another
                                                                                      contractor     or     subcontractor
  13.   "Occurrence" means an accident, including                                     working on the same project.
        continuous      or    repeated       exposure     to
        substantially the same general harmful                                   Work that may need service,
        conditions.                                                              maintenance, correction, repair or
                                                                                 replacement, but which is otherwise
  14.   "Personal and advertising injury" means injury,                          complete, will be treated as completed.
        including consequential "bodily injury", arising
        out of one or more of the following offenses:                            The "bodily injury" or "property damage"
                                                                                 must occur away from premises you
        a. False arrest, detention or imprisonment;                              own or rent, unless your business
        b. Malicious prosecution;                                                includes the selling, handling or
        c. The wrongful eviction from, wrongful entry                            distribution of "your product" for
            into, or invasion of the right of private                            consumption on premises you own or
            occupancy of a room, dwelling or premises                            rent.
            that a person occupies, committed by or on                  b. Does not include "bodily injury" or "property
            behalf of its owner, landlord or lessor;                       damage" arising out of:
        d. Oral or written publication, in any manner,                       1) The transportation of property, unless
            of material that slanders or libels a person                         the injury or damage arises out of a
            or organization or disparages a person's or                          condition in or on a vehicle not owned
            organization's goods, products or services;                          or operated by you, and that condition
        e. Oral or written publication, in any manner,                           was created by the "loading or
            of material that violates a person's right of                        unloading" of that vehicle by any
            privacy;                                                             insured; or
        f. The use of another's advertising idea in                          2) The existence of tools, uninstalled
            your "advertisement"; or                                             equipment or abandoned or unused
                                                                                 materials.
        g. Infringing upon another's copyright, trade
            dress or slogan in your "advertisement".               17. "Property damage" means:
  15.   "Pollutants" mean any solid, liquid, gaseous or                 a. Physical injury to tangible property,
        thermal irritant or contaminant, including                         including all resulting loss of use of that
        smoke, vapor, soot, fumes, acids, alkalis,                         property. All such loss of use shall be
        chemicals and waste. Waste includes                                deemed to occur at the time of the physical
        materials to be recycled, reconditioned or                         injury that caused it; or
        reclaimed.                                                      b. Loss of use of tangible property that is not
  16.   "Products – completed operations hazard":                          physically injured. All such loss of use shall
                                                                           be deemed to occur at the time of the
        a. Includes all "bodily injury" and "property                      "occurrence" that caused it.
            damage" occurring away from premises
            you own or rent and arising out of "your                   For the purposes of this insurance, electronic
            product" or "your work" except:                            data is not tangible property.
              1) Products that are still in your physical              As used in this definition, electronic data
                  possession; or                                       means information, facts or programs stored
                                                                       as, created or used on, or transmitted to or
              2) Work that has not yet been                            from computer software, including systems and
                  completed or abandoned. However,                     applications software, hard or floppy disks, CD-
                  "your work" will be deemed completed                 ROMs, tapes, drives, cells, data processing
                  at the earliest of the following times:              devices or any other media which are used with
                                                                       electronically controlled equipment.




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  18. "Suit" means a civil proceeding in which                             c) A person or organization whose
      damages because of "bodily injury", "property                             business or assets you have
      damage", "personal and advertising injury" to                             acquired; and
      which this insurance applies are alleged. "Suit"
      includes:                                                        2) Containers (other than vehicles),
                                                                           materials,    parts      or  equipment
      a. An arbitration proceeding in which such                           furnished in connection with such
          damages are claimed and to which the                             goods or products.
          insured must submit or does submit with
          our consent; or                                          b. Includes:
      b. Any other alternative dispute resolution                      1) Warranties or representations made
          proceeding in which such damages are                             at any time with respect to the fitness,
          claimed and to which the insured submits                         quality, durability, performance or use
          with our consent.                                                of "your product"; and
  19. "Temporary worker" means a person who is                         2) The providing of or failure to provide
      furnished to you to substitute for a permanent                       warnings or instructions.
      "employee" on leave or to meet seasonal or                   c. Does not include vending machines or
      short-term workload conditions.                                 other property rented to or located for the
  20. "Volunteer worker" means a person who is not                    use of others but not sold.
      your "employee", and who donates his or her              22. "Your work":
      work and acts at the direction of and within the             a. Means:
      scope of duties determined by you, and is not
      paid a fee, salary or other compensation by                      1) Work or operations performed by you
      you or anyone else for their work performed for                      or on your behalf; and
      you.                                                             2) Materials,     parts      or  equipment
  21. "Your product":                                                      furnished in connection with such
                                                                           work or operations.
      a. Means:
                                                                   b. Includes:
            1) Any goods or products, other than
                real property, manufactured, sold,                     1) Warranties or representations made
                handled, distributed or disposed of by:                    at any time with respect to the fitness,
                                                                           quality, durability, performance or use
                a) You;                                                    of "your work"; and
                b) Others trading under your name;                     2) The providing of or failure to provide
                    or                                                     warnings or instructions.




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                                                                                                BUSINESSOWNERS
                                                                                                      TBP2 (05-15)

                           BUSINESSOWNERS SPECIAL
                           PROPERTY COVERAGE FORM
Various provisions in this policy restrict coverage.                     (6) If not covered by other insurance:
Read the entire policy carefully to determine rights,                         (a) Additions under construction,
duties and what is and is not covered.                                            alterations and repairs to the
Throughout this policy the words "you" and "your" refer                           buildings or structures
to the Named Insured shown in the Declarations. The                           (b) Materials, equipment, supplies and
words "we", "us" and "our" refer to the Company                                   temporary structures, on or within 100
providing this insurance.                                                         feet of the described premises, used
Other words and phrases that appear in quotation                                  for making additions, alterations or
marks have special meaning. Refer to Section H –                                  repairs to the buildings or structures.
Property Definitions.                                               b. Business Personal Property located in or
A. Coverage                                                            on the buildings at the described premises
                                                                       or in the open (or in a vehicle) within 100
   We will pay for direct physical loss of or damage to                feet of described premises, including:
   Covered Property at the premises described in the
   Declarations caused by or resulting from any                          (1) Property you own that is used in your
   Covered Cause of Loss.                                                    business;
   1. Covered Property                                                   (2) Property of others that is in your care,
                                                                             custody or control, except as
      Covered Property includes Buildings as described                       otherwise provided in Loss Payment
      under Paragraph a. below, Business Personal                            Property Loss Condition E.5.d.(3)(b);
      Property as described under Paragraph b. below,
      or both, depending on whether a Limit of                           (3) Tenant's improvements and betterments.
      Insurance is shown in the Declarations for that                        Improvements and betterments are
      type of property. Regardless of whether coverage                       fixtures, alterations, installations or
      is shown in the Declarations for Buildings,                            additions:
      Business Personal Property, or both, there is no                        (a) Made a part of the building or
      coverage for property described under Paragraph                             structure you occupy but do not
      2., Property Not Covered.                                                   own; and
       a. Buildings, meaning the buildings and                                (b) You acquired or made at your
          structures at the premises described in the                             expense but cannot legally remove;
          Declarations, including:                                       (4) Leased personal property which you
            (1) Completed additions;                                         have a contractual responsibility to
            (2) Fixtures, including outdoor fixtures;                        insure, unless otherwise provided for
                                                                             under Paragraph A.1.b.(2). ; and
            (3) Permanently installed:
                                                                         (5) Building Glass, if you are a tenant and
                (a) Machinery; and                                           no Limit of Insurance is shown in the
                (b) Equipment;                                               Declarations for Building property.
            (4) Your personal property in apartments,                        The glass must be owned by you or in
                rooms or common areas furnished by                           your care, custody or control.
                you as landlord;                                2. Property Not Covered
            (5) Personal property owned by you that is              Covered Property does not include:
                used to maintain or service the buildings           a. Aircraft, automobiles, motortrucks and other
                or structures or the premises, including:              vehicles subject to motor vehicle registration;
                (a) Fire extinguishing equipment;                   b. "Money" or "securities" except as provided in
                (b) Outdoor furniture;                                 coverages:
                (c) Floor coverings; and                                 (1) Crime Optional Coverage;
                (d) Appliances used for refrigerating,                   (2) Employee Dishonesty Optional Coverage;
                    ventilating, cooking, dishwashing or            c. Contraband, or property in the course of
                    laundering;                                        illegal transportation or trade;



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      d. Bridges,    roadways,      walks,    pavement,                    (2) Property that has been transferred to a
         driveways, parking lots, exterior nonstructurally                     person or to a place outside the
         attached concrete surfaces or other paved                             described premises on the basis of
         surfaces.                                                             unauthorized instructions. This limitation
      e. Land (including land on which the property                            does not apply to the Crime or
         is located), water, growing crops or lawns                            Employee       Dishonesty        Optional
         (other than lawns which are part of a                                 Coverage.
         vegetated roof);                                                  (3) The interior of any building or
      f.   Outdoor fences, radio or television                                 structure, or to personal property in
           antennas (including satellite dishes) and                           the building or structure, including
           their lead-in wiring, masts or towers, signs,                       business personal property, caused
           trees, shrubs or plants (other than lawns                           by or resulting from rain, snow, sleet,
           which are part of a vegetated roof), all                            ice, sand or dust, whether driven by
           except:                                                             wind or not, unless:
            (1) Coverage provided under the Outdoor                             (a) The building or structure first
                Property Coverage Extension; or                                     sustains damage by a Covered
                                                                                    Cause of Loss to its roof or walls
            (2) Coverage provided under the Outdoor                                 through which the rain, snow,
                Signs Optional Coverage; or                                         sleet, ice, sand or dust enters; or
            (3) Signs structurally attached to covered                          (b) The loss or damage is caused by
                buildings (wiring or cable is not                                   or results from thawing of snow,
                considered structural attachment).                                  sleet or ice on the building or
      g. Watercraft (including motors, equipment                                    structure.
         and accessories) while afloat.                               b. We will not pay for loss of or damage to
      h. Accounts, bills, food stamps, other evidences                   fragile articles such as glassware, statuary,
         of debt, accounts receivable or “valuable                       marbles, chinaware and porcelains, if
         papers and records”, except as otherwise                        broken, unless caused by the "specified
         provided in this policy.                                        causes of loss" or building glass breakage.
      i.   “Computer(s)” which are permanently installed                 This restriction does not apply to:
           or designed to be permanently installed in any                  (1) Glass that is part of the interior or
           aircraft, watercraft, motortruck, or other vehicle                  exterior of a building or structure;
           subject to motor vehicle registration. This                     (2) Containers of property held for sale;
           paragraph does not apply to “computer(s)”                           or
           while held as “stock”.
                                                                           (3) Photographic or scientific instrument
      j.   Piers, wharves and docks                                            lenses.
      k. Electronic Data”, except as provided under                   c. For loss or damage by theft, the following
         Additional Coverages – Electronic Data or                       types of property are covered only up to
         Additional Coverage – Equipment Breakdown.                      the limits shown (unless a higher Limit Of
         This Paragraph (k.) does not apply to your                      Insurance is shown in the Declarations):
         stock of prepackaged software, or to
         “electronic data” which is integrated in and                      (1) $2,500 for furs, fur garments and
         operates or controls a building’s elevator,                           garments trimmed with fur.
         lighting, heating, ventilation, air conditioning                  (2) $2,500 for jewelry, watches, watch
         or security system.                                                   movements, jewels, pearls, precious and
  3. Covered Causes Of Loss                                                    semi-precious stones, bullion, gold,
                                                                               silver, platinum and other precious alloys
      Direct Physical Loss unless the loss is excluded or                      or metals. This limit does not apply to
      limited under this coverage form.                                        jewelry and watches worth $100 or less
  4. Limitations                                                               per item.
      a. We will not pay for loss of or damage to:                         (3) $2,500 for patterns, dies, molds and
            (1) Property that is missing, where the                            forms.
                only evidence of the loss or damage                   d. We will pay for loss or damage to animals
                is a shortage disclosed on taking                        or pets only if caused by “specified causes
                inventory, or other instances where                      of loss.”
                there is no physical evidence to show
                what happened to the property. This
                limitation does not apply to the Crime
                or Employee Dishonesty Optional
                Coverage.




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  5. Additional Coverages                                                  that has sustained loss or damage.
                                                                           However if no Covered Property has
      a. Debris Removal                                                    sustained direct physical loss or damage,
          (1) Subject to Paragraphs (2), (3) and (4),                      the most we will pay for removal of debris
              we will pay your expense to remove                           of other property (if such removal is
              debris of Covered Property and other                         covered under this Additional Coverage)
              debris that is on the described                              is $5,000 at each location.
              premises, when such debris is caused                    (4) Unless a higher limit is shown in the
              by or resulting from a Covered Cause                        Declarations, we will pay up to an
              of Loss that occurs during the policy                       additional $25,000 for debris removal
              period. The expenses will be paid only                      expense, for each location, in any one
              if they are reported to us in writing                       occurrence of physical loss or
              within 180 days of the date of direct                       damage to Covered Property, if one
              physical loss or damage.                                    or both of the following circumstances
          (2) Debris Removal does not apply to                            apply:
              costs to:                                                    (a) The total of the actual debris
               (a) Remove debris of property of                                removal expense plus the amount
                   yours that is not insured under                             we pay for direct physical loss or
                   this policy, or property in your                            damage exceeds the Limit of
                   possession that is not Covered                              Insurance on Covered Property that
                   Property;                                                   has sustained loss or damage.
               (b) Remove debris of property owned                         (b) The actual debris removal
                   by or leased to the landlord of the                         expense exceeds 25% of the sum
                   building where your described                               of the deductible plus the amount
                   premises are located, unless you                            that we pay for direct physical
                   have a contractual responsibility                           loss or damage to the Covered
                   to insure such property and it is                           Property that has sustained loss
                   insured under this policy.                                  or damage.
               (c) Remove any property that is                                 Therefore, if Paragraphs (4)(a)
                   Property Not Covered, Including                             and/or (4)(b) apply, our total
                   property addressed under the                                payment for direct physical loss or
                   Outdoor   Property   Coverage                               damage and debris removal
                   Extension                                                   expense may reach but will never
               (d) Remove property of others of a                              exceed the Limit of Insurance on
                   type that would not be Covered                              the Covered Property that has
                   Property under this policy                                  sustained loss or damage, plus
                                                                               $25,000.
               (e) Remove deposits of mud or earth
                   from the grounds of the described                  (4) Example #1
                   premises                                                Limit of Insurance            $200,000
               (f) Extract “pollutants” from land or                       Amount of Deductible          $     500
                   water
                                                                           Amount of Loss                $125,000
               (g) Remove, restore or         replace
                   polluted land or water.                                 Amount of Loss Payable $124,500
          (3) Subject to the exceptions in Paragraph                                         ($125,000-$500)
              (4), the following provisions apply:                         Debris Removal Expense         $20,000
               (a) The most that we will pay for the                       Removal Expense Payable $20,000
                   total of direct, physical loss or
                                                                                ($20,000 is 16% of $125,000)
                   damage plus debris removal
                   expense is the Limit of Insurance                       The debris removal expense is less than
                   applicable    to   the    Covered                       25% of the sum of the loss payable plus
                   Property that has sustained loss                        the deductible. The sum of the loss
                   or damage.                                              payable and the debris removal expense
          (b) Subject to Paragraph (3)(a) above,                           ($124,500 + $20,000 = $144,500) is less
              the amount we will pay for debris                            than the Limit of Insurance. Therefore the
              removal expense is limited to 25% of                         full amount of debris removal expense is
              the sum of the deductible plus the                           payable in accordance with the terms of
              amount that we pay for direct physical                       Paragraph (3).
              loss or damage to the Covered Property




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               Example #2                                               will pay regardless of the number of
                                                                        responding fire departments or fire units, and
               Limit of Insurance            $200,000                   regardless of the number or type of services
               Amount of Deductible          $     500                  performed. This Additional Coverage applies
               Amount of Loss                $170,000                   to your liability for fire department service
                                                                        charges:
               Amount of Loss Payable $169,500
                                                                         (1) Assumed by contract or agreement
                                 ($170,000-$500)
                                                                             prior to loss; or
               Debris Removal Expense         $60,000
                                                                         (2) Required by local ordinance.
               Removal Expense Payable
                                                                   d. Collapse
               Basic Amount            $30,500
                                                                       The coverage provided under this
               Additional Amount              $25,000                  Additional Coverage- Collapse applies only
               The basis amount payable for debris                     to an abrupt collapse as described and
               removal expense under the terms of                      limited in Paragraphs d.(1) through d.(7).
               Paragraph (3) is calculated as                            (1) For the purpose of this Additional
               follows:                                                      Coverage- Collapse, abrupt collapse
               $170,000 ($169.000 + $500) X .25 =                            means an abrupt falling down or
               $42,500; capped at $30,500.    The                            caving in of a building with the result
               cap applies because the sum of the                            that the building or part of the building
               loss payable ($169,500) and basic                             cannot be occupied for its intended
               amount payable for debris removal                             purpose
               expense ($30,500) cannot exceed the                       (2) We will pay for direct physical loss or
               Limit of Insurance ($200,000).                                damage to Covered Property, caused
               The additional amount payable for                             by abrupt collapse of a building or any
               debris removal expense is provided in                         part of a building that is insured under
               accordance with the terms of Paragraph                        this policy or that contains Covered
               (4), because the debris removal                               Property insured under this policy, if
               expense ($60,000) exceeds 25% of the                          such collapse is caused by one or
               loss payable plus the deductible                              more of the following:
               ($60,000 is 35.3% of $170,000), and                           (a) Building Decay that is hidden from
               because the sum of the loss payable                               view, unless the presence of such
               and debris removal expense ($169,500                              decay is known to an insured prior
               + $60,000 = $229,500) would exceed                                to collapse;
               the Limit of Insurance ($200,000). The
               additional amount of covered debris                           (b) Insect or vermin damage that is
               removal expense is $25,000, the                                   hidden from view, unless the
               maximum payable under Paragraph (4).                              presence of such damage is known
               Thus the total payable for debris                                 to an insured prior to collapse;
               removal expense in this example is                            (c) Use of defective material or
               $55,500; $4,500 of the debris removal                             methods        in      construction,
               expense is not covered.                                           remodeling or renovation if the
      b. Preservation Of Property                                                abrupt collapse occurs during the
                                                                                 course    of     the   construction,
          If it is necessary to move Covered Property                            remodeling or renovation.
          from the described premises to preserve it
          from loss or damage by a Covered Cause                             (d) Use of defective material or
          of Loss, we will pay for any direct physical                           methods         in      construction,
          loss of or damage to that property:                                    remodeling or renovation if the
                                                                                 abrupt collapse occurs after the
           (1) While it is being moved or while                                  construction,      remodeling      or
               temporarily stored at another location;                           renovation is complete, but only if
               and                                                               the collapse is caused in part by:
           (2) Only if the loss or damage occurs                                 (i) A cause of loss listed in
               within 30 days after the property is                                  paragraphs (2)(a) or (2)(b);
               first moved.
                                                                                 (ii) One or more of the specified
      c. Fire Department Service Charge                                               causes of loss;
          When the fire department is called to save or                          (iii) Breakage of building glass
          protect Covered Property from a Covered
          Cause of Loss, we will pay up to $5,000 for                            (iv) Weight of the people          or
          service at each premises described in the                                   personal property; or
          Declarations, unless a different limit is shown                        (v) Weight of rain that collects on
          in the Declarations. Such limits is the most we                            a roof

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          (3) This Additional Coverage- Collapse                                   Collapse of personal property does
              does not apply to:                                                   not mean cracking, bulging,
               (a) A building or any part of a building                            sagging, bending, leaning, settling,
                   that is in danger of falling down or                            shrinkage or expansion.
                   caving in                                               (6) This Additional Coverage- Collapse
               (b) A part of a building that is standing,                      does not apply to personal property that
                   even if it has separated from                               has not abruptly fallen down or caved in,
                   another part of the building; or                            even if the personal property shows
                                                                               evidence of cracking, bulging, sagging,
               (c) A building that is standing or any part                     bending, leaning, settling, shrinkage or
                   of a building that is standing even if it                   expansion
                   shows evidence of cracking, bulging,
                   sagging bending, leaning, settling,                     (7) This Additional Coverage, Collapse,
                   shrinkage or expansion                                      will not increase the Limits of
                                                                               Insurance provided in this policy.
          (4) With respect to the following property:
                                                                           (8) The term Covered Cause of Loss
               (a) Awnings;                                                    includes the Additional Coverage-
               (b) Gutters and downspouts;                                     Collapse as described and limited in
               (c) Yard fixtures;                                              paragraphs d.(1) through d.(7)
               (d) Outdoor swimming pools;                           e. Water Damage, Other Liquids, Powder
                                                                        Or Molten Material Damage
               (e) Beach or diving platforms or
                   appurtenances;                                         If loss or damage caused by or resulting
                                                                          from covered water or other liquid, powder
               (f) Retaining walls                                        or molten material occurs, we will also pay
               (g) Sewer and water lateral pipes;                         the cost to tear out and replace any part of
                                                                          the building or structure to repair damage to
               (h) Drainage tile; and
                                                                          the system or appliance from which the
               (i) Septic systems.                                        water or other substance escapes.
               if abrupt collapse is caused by a                          We will not pay the cost to repair any defect
               cause of loss listed in Paragraphs                         that caused the loss or damage.
               (2)(b) through (2)(d), we will pay for
                                                                     f.   Fire Extinguishing Equipment
               loss or damage to that property only if
               such loss or damage is a direct result                     Subject to the applicable Limit of Insurance,
               of the abrupt collapse of a building                       we will pay the cost to repair or replace
               insured under this policy and the                          damaged parts, including system recharge,
               property is Covered Property under                         of fire extinguishing equipment if the damage:
               this policy.                                                (1) Results in discharge of any substance
          (5) If personal property abruptly falls                              from an automatic fire protection
              down or caves in and such collapse is                            system; or
              not the result of collapse of a building,                    (2) Is directly caused by freezing.
              we will pay for loss or damage to
              Covered Property caused by such                        g. Business Income
              collapse of personal property only if:                       (1) Business Income
               (a) The collapse of personal property                           (a) We will pay for the actual loss of
                   was caused by a cause of loss                                   Business Income you sustain due
                   listed in Paragraphs (2)(a)                                     to the necessary suspension of
                   through (2)(d) of this Additional                               your "operations" during the "period
                   Coverage;                                                       of restoration". The suspension must
               (b) The personal property which                                     be caused by direct physical loss of
                   collapses is inside a building; and                             or damage to covered property at
                                                                                   the described premises. The loss or
               (c) The property which collapses is                                 damage must be caused by or result
                   not of a kind listed in Paragraph                               from a Covered Cause of Loss. With
                   (3) above, regardless of whether                                respect to loss of or damage to
                   that kind of property is considered                             personal property in the open or
                   to be personal property or real                                 personal property in a vehicle, the
                   property.                                                       described premises include the area
                   The coverage stated in this                                     within 100 feet of such premises.
                   Paragraph (4) does not apply to                                 With respect to the requirements set
                   personal property if marring and/or                             forth in the preceding paragraph, if
                   scratching is the only damage to                                you occupy only part of the site at
                   that personal property caused by                                which the described premises are
                   the collapse.                                                   located, your premises means:

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                   (i) The portion of the building which                         However,     Extended     Business
                       you rent, lease or occupy;                                Income does not apply to loss of
                   (ii) Any area within the building or                          Business Income incurred as a
                        at the described premises if                             result of unfavorable business
                        that area services, or is used to                        conditions caused by the impact of
                        gain access to, the portion of                           the Covered Cause of Loss in the
                        the building which you rent                              area where the described premises
                        lease or occupy.                                         are located.
               (b) We will only pay for loss of                                  Loss of Business Income must be
                   Business Income that you sustain                              caused by direct physical loss or
                   during the "period of restoration"                            damage at the described premises
                   and that occurs within 12                                     caused by or resulting from any
                   consecutive months after the date                             Covered Cause of Loss.
                   of direct physical loss or damage.                   (3) With respect to the coverage provided in
               (c) Business Income means the:                               this Additional Coverage, suspension
                                                                            means:
                   (i) Net Income (Net Profit or
                       Loss before income taxes)                             (a) The partial slowdown or complete
                       that would have been earned                               cessation      of your  business
                       or incurred if no physical loss                           activities; or
                       or damage had occurred, but                           (b) That a part or all of the described
                       not including any Net Income                              premises is rendered untenantable
                       that would likely have been                               if coverage for Business Income
                       earned as a result of an                                  applies.
                       increase in the volume of                        (4) This Additional Coverage is not
                       business due to favorable                            subject to the Limits of Insurance of
                       business conditions caused by                        Section I – Property.
                       the impact of the Covered
                       Cause of Loss on customers or               h. Extra Expense
                       on other businesses; and                         (1) We will pay necessary Extra Expense
                   (ii) Continuing necessary operating                      you incur during the "period of
                        expenses incurred.                                  restoration" that you would not have
                                                                            incurred if there had been no direct
           (2) Extended Business Income                                     physical loss or damage to covered
               If the necessary suspension of your                          property at the described premises. The
               "operations" produces a Business                             loss or damage must be caused by or
               Income loss payable under this policy,                       result from a Covered Cause of Loss.
               we will pay for the actual loss of                           With respect to loss of or damage to
               Business Income you incur during the                         personal property in the open or personal
               period that:                                                 property in a vehicle, the described
               (a) Begins on the date property except                       premises include the area within 100 feet
                   finished stock is actually repaired,                     of such premises.
                   rebuilt or replaced and "operations"                      With respect to the requirements set
                   are resumed; and                                          forth in the preceding paragraph, if you
               (b) Ends on the earlier of:                                   occupy only part of the site at which the
                                                                             described premises are located, your
                   (i) The date you could restore                            premises means:
                       your     "operations",     with
                       reasonable speed, to the level                        (a) The portion of the building which
                       which would generate the                                  you rent, lease or occupy;
                       Business Income amount that                           (b) Any area within the building or at
                       would have existed if no direct                           the described premises, if that area
                       physical loss or damage had                               services, or is used to gain access
                       occurred; or                                              to, the portion of the building which
                   (ii) 60 consecutive days after the                            you rent, lease or occupy.
                        date determined in Paragraph                     (2) Extra Expense means expense incurred:
                        (2)(a) above, unless a greater                       (a) To avoid or minimize the suspension
                        number of consecutive days is                            of business and to continue
                        shown in the Declarations.                               "operations":
                                                                                 (i) At the described premises; or




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                    (ii) At replacement premises or at                       (b) or are interrupted by direct physical
                         temporary locations, including                          loss or damage to covered
                         relocation expenses, and costs                          property, whichever is later; and
                         to equip and operate the
                         replacement or temporary                        (2) Ending on the earliest of the following
                         locations.                                          dates:
               (b) To minimize the suspension of                             (a) the date prearranged services or
                   business if you cannot continue                               products are scheduled to end;
                   "operations".                                             (b) the date damaged property at the
               (c) To:                                                           described premises should be
                                                                                 repaired, rebuilt or replaced with
                    (i) Repair or replace any property;                          reasonable speed and similar
                        or                                                       quality; or
                    (ii) Research, replace or restore the                    (c) 14 days after the date determined
                         lost information on damaged                             in (1) above.
                         "valuable papers and records"
                                                                             This Additional Coverage is not
           (3) With respect to the coverage provided in                      subject to the Limits of Insurance.
               this Additional Coverage, suspension
               means:                                              j.   Pollutant Clean Up And Removal
               (a) The partial slowdown or complete                     We will pay your expense to extract
                   cessation of your business activities;               "pollutants" from land or water at the
                                                                        described premises if the discharge,
               or                                                       dispersal, seepage, migration, release or
               (b) That a part or all of the described                  escape of the "pollutants" is caused by or
                   premises is rendered untenantable,                   results from a Covered Cause of Loss that
                   if coverage for Business Income                      occurs during the policy period. The
                   applies                                              expenses will be paid only if they are
           (4) We will only pay for Extra Expense that                  reported to us in writing within 180 days of
               occurs within 12 consecutive months                      the date on which the Covered Cause of
               after the data of direct physical loss or                Loss occurs.
               damage. This Additional Coverage is not                  This Additional Coverage does not apply to
               subject to the Limits of Insurance.                      costs to test for, monitor or assess the
           We will pay for Extra Expense only to the                    existence, concentration or effects of
           extent it reduces the amount of loss that                    “pollutants”. But we will pay for testing
           otherwise would have been payable under                      which is performed in the course of
           Additional Coverage g. Business Income.                      extracting the “pollutants” from the land or
                                                                        water.
      i.   Customer Expense Reimbursement
                                                                        The most we will pay for each location
           We will pay necessary costs to reimburse                     under this Additional Coverage is $25,000
           additional expenses incurred by your                         for the sum of all such expenses arising
           customers because your products or                           out of Covered Causes of Loss occurring
           services, which were ordered in advance,                     during each separate 12 month period of
           were not available due to direct physical                    this policy.
           loss or damage to covered property at the
           described premises caused by a Covered                  k. Civil Authority
           Cause of Loss.                                               When a Covered Cause of Loss causes
           Customer expenses mean the additional cost                   damage to property other than property at
           incurred by persons for whom prearranged                     the described premises, we will pay for the
           products or services cannot be honored.                      actual loss of Business Income you sustain
           These expenses include costs to secure                       and necessary Extra Expense caused by
           alternative products or services which are                   action of civil authority that prohibits
           comparable to yours.                                         access to the described premises,
                                                                        provided that both of the following apply:
           We will pay for expenses incurred for the
           period of time:                                                   (1) Access to the area immediately
                                                                                 surrounding     the      damaged
           (1) Beginning on the date of the customer’s                           property is prohibited by civil
               prearranged services or products are:                             authority as a result of the
               (a) scheduled to be delivered but                                 damage, and the described
                   cannot;                                                       premises are within the area; and




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                (2) The action of civil authority is                         The definitions of Business Income
                    taken in response to dangerous                           and Extra Expense, contained in the
                    physical conditions resulting from                       Business Income and Extra Expense
                    the damage or continuation of the                        Additional Coverages section shall
                    Covered Cause of Loss that                               also apply to the additional coverages
                    caused the damage, or the action                         under this section.
                    is taken to enable a civil authority
                    to have unimpeded access to the                     (2) Additional Definitions
                    damaged property                                         (a) “Violent acts” means actual,
                Civil Authority coverage for Business                            attempted, or threatened acts
                Income will begin immediately after                              committed with malicious intent on
                the time of the first action of civil                            your “covered premises” against
                authority that prohibits access to the                           any person(s) that result in physical
                described premises and will apply for                            injury or death to such person(s).
                a period of up to four consecutive                               This does not apply to actual,
                weeks from the date on which such                                attempted or threatened acts by
                coverage begins.                                                 an insured.
                Civil Authority coverage for necessary             m. Contamination
                Extra Expense will begin immediately                   If your “operations” are suspended due to
                after the time of first action of civil                “contamination”:
                authority that prohibits access to the                  (1) We will pay for your costs to clean and
                described premises and will end:                            sanitize your premises, machinery and
            (1) Four consecutive weeks after the time                       equipment, and expenses you incur to
                of that action; or                                          withdraw or recall products or
            (2) When your Civil Authority coverage                          merchandise from the market. We will
                for Business Income ends; whichever                         not pay for the cost or value of the
                is later.                                                   product.
           The definitions of Business Income and                            The most we will pay for any loss or
           Extra Expense contained in the Business                           damage     under     this    Additional
           Income and Extra Expense Additional                               Coverage arising out of the sum of all
           Coverages also apply to this Civil Authority                      such expenses occurring during each
           Additional Coverage. The Civil Authority                          separate policy period is $5,000; and
           Additional Coverage is not subject to the                    (2) We will also pay for the actual loss of
           Limits of Insurance.                                             Business Income and Extra Expense
      l.   Violent Acts                                                     you sustain caused by
            (1) If your “operations” are suspended due                       (a) “Contamination” that results in an
                to “violent acts” which occur on the                             action by a public health or other
                described premises we will pay for the                           governmental      authority    that
                actual loss of Business Income and                               prohibits access to the described
                Extra Expense you sustain. Coverage                              premises or production of your
                for the actual loss of Business Income                           product.
                under this section will begin immediately                    (b) “Contamination threat”
                upon the suspension of your business                         (c) “Publicity” resulting from       the
                operations and will continue for a period                        discovery    or    suspicion      of
                not to exceed a total of three                                   “contamination”.
                consecutive weeks after coverage
                begins.                                                          Coverage for the actual loss of
                                                                                 Business Income under this
                Coverage for necessary Extra Expense                             section will begin immediately
                under this section will likewise begin                           upon the suspension of your
                immediately upon the suspension of your                          business operations and will
                business operations and will continue                            continue for a period not to
                only for a total of three consecutive                            exceed    a   total   of  three
                weeks after coverage begins, or until the                        consecutive      weeks     after
                loss of Business income coverage ends,                           coverage begins.
                whichever is longer. The coverages
                under this section may not be extended
                or repeated.




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                   Coverage for necessary Extra                             “electronic data” and other property,
                   Expense under this section will                          coverage under this Additional
                   likewise begin immediately upon                          Coverage will not continue once the
                   the suspension of your business                          other property is repaired or replaced.
                   operations and will continue only                   (2) We will reduce the amount of your
                   for a total of three consecutive                        Business Income loss, other than
                   weeks after coverage begins, or                         Extra Expense, to the extent you can
                   until the loss of Business Income                       resume “operations,” in whole or in
                   coverage ends, whichever is                             part, by using any other available:
                   longer. The coverages under this
                   section may not be extended nor                          (a) Source of materials; or
                   repeated. The definitions of                             (b) Outlet for your products.
                   Business Income and Extra                           (3) The coverage for Business Income
                   Expense, contained in the                               will begin immediately after the time
                   Business Income and Extra                               of that action and will apply for a
                   Expense Additional Coverages                            period of up to three consecutive
                   section shall also apply to the                         weeks after coverage begins.
                   additional coverages under this
                   section.                                                 The coverage for necessary Extra
                                                                            Expense will begin immediately after
           (3) Contamination Exclusions                                     the time of that action and ends:
               All exclusions and limitations apply                         (a) 3 consecutive weeks after the time
               except Exclusions B.2.j.(2) and                                  of that action; or
               B.2.j.(5)
                                                                            (b) When your Business Income
           (4) Additional Definitions:                                          coverage ends; whichever is later.
               (a) "Contamination" means a defect,                          The Business Income from Dependent
                   deficiency,    inadequacy   or                           Properties Additional Coverage is not
                   dangerous condition in your                              subject to the Limits of Insurance.
                   products,    merchandise    or
                   premises.                                           (4) Additional Definitions:
               (b) “Contamination threat” means a                           (a) “Dependent Property” means
                   threat made by a third party                                 property operated by others
                   against you to commit a                                      whom you depend on to:
                   “malicious contamination” unless                             (i) Deliver materials or services to
                   the third party’s demand for                                     you or to others for your
                   money or other consideration is                                  account            (Contributing
                   met.                                                             Locations.) With respect to
               (c) “Malicious contamination” means                                  Contributing Locations, services
                   an intentional, malicious and                                    does not mean water, supply
                   illegal altercation or adulteration                              services, wastewater removal
                   of your products                                                 services, communication supply
                                                                                    services or power supply
               (d) “Publicity” means a publication or                               services;
                   broadcast by the media, of the
                   discovery     or  suspicion     of                           (ii) Accept your products or
                   "contamination" at a described                                    services (Recipient Locations);
                   premise.                                                     (iii) Manufacture products for
      n. Business Income from Dependent Properties                                    delivery to your customers
                                                                                      under contract of sale
           (1) We will pay for the actual loss of                                     (Manufacturing Locations); or
               Business Income you sustain due to
               physical loss or damage at the                                   (iv) Attract customers to your
               premises of a “dependent property” or                                 business (Leader Locations).
               “secondary     dependent    property”                        (b) “Secondary dependent property”
               caused by or resulting from any                                  means an entity which is not
               Covered Cause of Loss.                                           owned or operated by a
               However, this Additional Coverage                                dependent property, which:
               does not apply when the only loss at                             (i) Delivers materials or services to
               the premises of a “dependent                                         a dependent property which in
               property” or “secondary dependent                                    turn are used by the dependent
               property” is loss or damage to                                       property in providing materials
               “electronic data”. If the “dependent                                 or services to you or
               property“ or “secondary dependent
               property” sustains loss or damage to

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                    (ii) Accepts materials or services              o. Ordinance or Law
                         from a dependent property
                         which in turn accepts your                      (1) This Additional Coverage applies only
                         materials or services. A road,                      to building or tenant’s improvements
                         bridge,     tunnel,    waterway,                    and betterments insured on a
                         airfield, pipeline, or any other                    replacement cost basis.
                         similar area or structure is not a              (2) If a Covered Cause of Loss occurs to
                         secondary dependent property.                       covered Building property or tenant’s
                         Any property which delivers any                     improvements and betterments, we will
                         of the following services is not                    pay:
                         a      secondary       dependent                     (a) For loss or damage caused by
                         property with respect to such                            enforcement of any law that:
                         services:
                                                                                  (i) Requires the demolition of
                        i. Water supply services                                      parts of the same property
                        ii. Wastewater           removal                              not damaged by a Covered
                            services                                                  Cause of Loss;
                        iii. Communication supply                                 (ii) Regulates the construction or
                             services; or                                              repair    of   buildings,   or
                          iv. Power supply services.                                   establishes zoning or land use
                  The “secondary dependent property”                                   requirements at the described
                  must be located in the coverage                                      premises; and
                  territory of this policy.                                       (iii) Is in force at the time of loss.
           (c) “Period of Restoration,” with respect                          (b) The increased cost to repair, rebuild
               to “dependent property,” means the                                 or construct the property caused by
               period of time that:                                               enforcement of building, zoning or
                (i) Begins with the date of direct                                land use law. If the property is
                    physical loss or damage caused                                repaired or rebuilt, it must be
                    by or resulting from a Covered                                intended for similar occupancy as
                    Cause of Loss at the premises of                              the    current   property,    unless
                    the “dependent property” or                                   otherwise required by zoning or land
                    secondary dependent property                                  use law.
                    and                                                       (c) The cost to demolish and clear the
                (ii) Ends on the date when the property                           site of undamaged parts or the
                     at the premises of the “dependent                            property caused by enforcement of
                     property” or secondary dependent                             the building, zoning or land use law.
                     property should be repaired, rebuilt                (3) We will not pay for increased
                     or replaced with reasonable speed                       construction   costs under this
                     and similar quality.                                    Additional Coverage:
           (d) The definitions of Business Income and                         (a) Until the property is actually
               suspension contained in the Business                               repaired or replaced, at the same
               Income Additional Coverage also apply                              premises or elsewhere; and
               to this Business Income From                                   (b) Unless the repairs or replacement
               Dependent       Properties     Additional                          are made as soon as reasonably
               Coverage.                                                          possible after loss or damage, not
           (5) “Period of restoration” does not include                           to exceed 2 years. We may
               any increased period required due to                               extend this period in writing
               the enforcement of or compliance with                              during the 2 years.
               any ordinance or law that:                                (4) We will not pay more:
                (a) Regulates the construction, use                           (a) If the property is repaired or
                    or repair, or requires the tearing                            replaced on the same premises,
                    down of any property; or                                      than the amount you actually
                (b) Requires any insured or others to                             spend to:
                    test for, monitor, clean up, remove,                          (i) Demolish and clear the site;
                    treat, detoxify or neutralize, or in                              and
                    any way respond to, or assess the
                    effects of “pollutants.”                                      (ii) Repair rebuild or construct
                                                                                       the property but not for more
                    The expiration date of this policy will                            than property of the same
                    not cut short the “period of                                       height, floor area and style on
                    restoration.”                                                      the same premises.


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               (b) The terms of this Additional                                (ii) Expedite permanent repairs
                   Coverage apply separately to each                                or permanent replacement.
                   building listed in the Declarations.                     (b) Hazardous Substances
          (5) The most we will pay under this                                  We will pay for the additional cost
              Additional Coverage, for each described                          to repair or replace Covered
              premises insured under this Coverage                             Property         because         of
              Form, is:                                                        contamination by a “hazardous
               (a) $50,000                                                     substance.” This includes the
               (b) The Limit of Insurance for                                  additional costs to clean up or
                   Building if Applied to building; or                         dispose of such property.
               (c) The Limit of Insurance for                                  Additional costs mean those
                   Business Personal Property if                               beyond what would have been
                   applied to tenant’s improvements                            required had no “hazardous
                   and betterments.                                            substance” been involved.
               Whichever is less.                                              The most we will pay for loss or
                                                                               damage under this coverage,
               The amount payable under this                                   including actual loss of Business
               Additional Coverage is additional                               Income you sustain, necessary
               insurance.                                                      Extra Expense you incur is
          (6) This Additional Coverage is not                                  $100,000 or the Limit of
              subject to the terms or the Ordinance                            Insurance     for   Building   or
              or Law Exclusion to the extent that                              Business     Personal    Property,
              such Exclusion would conflict with the                           whichever is less.
              provisions of this Additional Coverage.                       (c) Computer Equipment
          (7) The costs addressed in the Loss                                  We will pay for loss or damage
              Payment Property Loss Condition in                               caused by or resulting from
              this Coverage Form do not include                                “Equipment     Breakdown”    to
              the increased cost attributable to                               “computer(s).”
              enforcement of an ordinance or law.
              The amount payable under this                                 (d) Data Restoration
              Additional Coverage, as stated in                                We will pay for your cost to
              n.(5) of this Additional Coverage, is                            research, replace and restore
              not subject to such limitation.                                  data, including programs and
      p. Glass Expenses                                                        operating systems that is lost or
                                                                               corrupted due to “Equipment
          (1) We will pay for expenses incurred to                             Breakdown”. The most we will
              put up temporary plates or board up                              pay for loss or damage under this
              openings if repair or replacement of                             coverage is $100,000 or the Limit
              damaged glass is delayed.                                        of    Insurance    for  Business
          (2) We will pay for expenses incurred to                             Personal Property, whichever is
              remove or replace obstructions when                              less.
              repairing or replacing glass that is                          (e) CFC Refrigerants
              part of a building. This does not
              include removing or replacing window                             We will pay for the additional cost to
              displays.                                                        repair or replace Covered Property
                                                                               because of the use or presence of
      q. Equipment Breakdown                                                   a refrigerant containing CFC
          (1) We will pay for loss caused by or                                (chlorofluorocarbon) substances.
              resulting from    an   “Equipment                                This means the additional cost to
              Breakdown.”                                                      do the least of the following:
          (2) The following coverages also apply to                            (i) Repair the damaged property
              loss caused by or resulting from                                     and replace any lost CFC
              “Equipment     Breakdown”.    These                                  refrigerant;
              coverages do not provide additional                              (ii) Repair the damaged property,
              amounts of insurance.                                                 retrofit the system to accept a
               (a) Expediting Expenses                                              non-CFC refrigerant and
                   With respect to your damaged                                     charge the system with a
                   Covered Property, we will pay the                                non-CFC refrigerant; or
                   “reasonable extra cost” to:                                 (iii) Replace the system with one
                   (i) Make temporary repairs; and                                   using a non-CFC refrigerant.



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                   Additional costs mean those                                   your address as shown in the
                   beyond what would have been                                   Declarations, or at the address
                   required had no CFC refrigerant                               where the equipment is located.
                   been involved.                                                Once suspended in this way, your
           (3) Equipment Breakdown Exclusions                                    insurance can be reinstated only
                                                                                 by an endorsement for that
                (a) All exclusions and limitations                               Covered Property. If we suspend
                    apply except Exclusion B.1.e.,                               your insurance, you will get a pro
                    Power Failure and B.2.m.,                                    rata refund of premium. But the
                    Electrical Disturbance.                                      suspension will be effective even
                (b) The exclusions are modified as                               if we have not yet made or
                    follows:                                                     offered a refund.
                   The following is         added      to                    (b) Jurisdictional Inspections
                   Exclusion B.1.g.(1):                                          If any property that is Covered
                   However, if electrical Covered                                Property requires inspection to
                   Property requires drying out                                  comply with state or municipal
                   because of the above, we will pay                             boiler and pressure vessel
                   for the direct expenses of such                               regulations, we agree to perform
                   drying out subject to the                                     such inspection on your behalf.
                   applicable Limit of Insurance and                         (c) Environmental,     Safety       and
                   deductible    for    Building   or                            Efficiency Improvements
                   Business     Personal     Property,
                   whichever applies.                                            If Covered Property requires
                                                                                 replacement due to “Equipment
                (c) Coverage      Extension      6.e.                            Breakdown” we will pay your
                    Valuable Papers and Records                                  additional cost to replace with
                    does not apply to this Additional                            equipment that is better for the
                    Coverage.                                                    environment, safer or more
                (d) We will not pay for loss or                                  efficient than the equipment being
                    damage caused by or resulting                                replaced.
                    from:                                                        However, we will not pay more
                   (i) Your failure to use all                                   than 125% of what the cost would
                       reasonable means to protect                               have been to repair or replace with
                       the “perishable stock” from                               like kind and quality. This condition
                       damage following “Equipment                               does not increase any of the
                       Breakdown”;                                               applicable limits. This condition
                   (ii) Any defect, virus, loss of data                          does not apply to any property to
                        or other situation within                                which Actual Cash Value applies.
                        “electronic data.” But if loss                           The definitions of Business
                        or damage from “Equipment                                Income and Extra Expense
                        Breakdown” results, we will                              contained in the Business Income
                        pay for that resulting loss or                           and Extra Expense Additional
                        damage; or                                               Coverages also apply to this
                   (iii) Any of the following tests:                             Equipment Breakdown Additional
                                                                                 Coverage.
                       A hydrostatic, pneumatic or
                       gas pressure test of any                                  The most we will pay for loss or
                       boiler or pressure vessel; or                             damage under this Additional
                                                                                 Coverage is the applicable Limit of
                       An insulation breakdown of                                Insurance     shown      in    the
                       any   type    of   electrical                             Declarations. Coverage provided
                       equipment.                                                under this Additional Coverage
           (4) Conditions                                                        does not provide an additional
                                                                                 amount of insurance.
                (a) Suspension
                                                                   r.   Service Interruption
                   When any Covered Property is
                   found to be in, or exposed to a                      (1) We will pay for loss of Business
                   dangerous condition, any of our                          Income or Extra Expense at the
                   representatives may immediately                          described premises caused by the
                   suspend the insurance against                            interruption of service to the
                   loss from “Equipment Breakdown”                          described premises. The interruption
                   to that Covered Property. We can                         must result from direct physical loss
                   do this by mailing or delivering a                       or damage by a Covered Cause of
                   written notice of suspension to                          Loss to the following property:


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               (a) Pumping stations and water                                Business        Personal     Property,
                   mains supplying water to the                              whichever is less. If loss payment on
                   described premises.                                       the first occurrence does not exhaust
               (b) Wastewater Removal Property,                              this amount, then the balance is
                   meaning a utility system for                              available for subsequent loss or
                   removing wastewater and sewage                            damage sustained in, but not after,
                   from the described premises, other                        that policy year. With respect to an
                   than a system designed primarily                          occurrence which begins in one policy
                   for draining storm water. The utility                     year and continues or results in
                   property includes sewer mains,                            additional loss or damage in a
                   pumping stations and similar                              subsequent policy year(s), all loss or
                   equipment for moving the effluent                         damage is deemed to be sustained in
                   to a holding, treatment or disposal                       the policy year in which the
                   facility, and includes such facilities.                   occurrence began.
                   Coverage does not apply to                           (3) This Additional Coverage does not
                   interruption in service caused by or                     apply to your “stock” of prepackaged
                   resulting from a discharge of water                      software, or to “electronic data” which
                   or sewage due to heavy rainfall or                       is integrated in and operates or
                   flooding.                                                controls a building’s elevator, lighting,
               (c) Property supplying communication                         heating, ventilation, air conditioning or
                   services including telephone, radio,                     security system.
                   microwave or television services, to            t.   Interruption Of Computer Operations
                   the described premises, such as:                     (1) Subject to all provisions of this
                   • Communication transmission                             Addition al Coverage, you may extend
                        lines;                                              the insurance that applies to Business
                   • Coaxial cables; and                                    Income and Extra Expense to apply to
                   • Microwave radio relays except                          a suspension of "operations" caused by
                        satellites.                                         an interruption in computer operations
                                                                            due to destruction or corruption of
               (d) The following types of property                          "electronic data" due to a Covered
                   supplying electricity, steam or gas                      Cause of Loss.
                   to the described premises:
                                                                        (2) With respect to the coverage provided
                   • Utility generating plants;                             under this Additional Coverage, the
                   • Switching Stations;                                    Covered Causes of Loss are subject
                   • Substations;                                           to the following:
                   • Transformers; and                                       (a) Coverage under this Additional
                   • Transmission lines.                                         Coverage, Interruption
      s. Electronic Data                                                     Of Computer Operations, is limited to
          (1) Subject to the provisions of this                                  the "specified causes of loss" and
              Additional                                                         Collapse.

               Coverage, we will pay for the cost to                         (b) If the Businessowners Coverage
               replace or restore your “electronic                               Form is endorsed to add a
               data” which has been destroyed or                                 Covered Cause of Loss, the
               corrupted by a Covered Cause of                                   additional Covered Cause of Loss
               Loss. To the extent that “electronic                              does not apply to the coverage
               data” is not replaced or restored, the                            provided under this Additional
               loss will be valued at the cost of                                Coverage.
               replacement of the media on which                        (3) This Additional Coverage, Interruption
               the “electronic data” was stored, with                       Of Computer Operations, will begin
               blank media of substantially identical                       immediately upon suspension of
               type.                                                        “operations” and will apply for a
          (2) Unless a higher limit is shown in the                         period of up to three consecutive
              Declarations, the most we will pay                            weeks after coverage begins.
              under this Additional Coverage.                           (4) This Additional Coverage Interruption
              Electronic Data for all loss or damage                        Of Computer Operations does not
              sustained in any one policy year,                             apply to loss sustained or expense
              regardless of the number of                                   incurred after the end of the “period of
              occurrences of loss or damage or the                          restoration”, even if the period of time
              number of premises, locations or                              stated in (3) above has not been
              computer systems involved, is                                 exhausted.
              $100,000 or the Limit of Insurance for

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           (5) Coverage for Business Income does                             (b) Business      Personal    Property,
               not apply when a suspension of                                    including such property that you
               “operations” is caused by destruction                             acquire located at your newly
               or corruption of “electronic data”, or                            constructed or acquired buildings at
               any loss or damage to “electronic                                 the location described in the
               data”, except as provided under                                   Declarations.
               Paragraphs (1) through (4) of this                                This Extension does not apply to
               Additional Coverage.                                              personal     property    that   you
           (6) Coverage for Extra Expense does not                               temporarily acquire in the course of
               apply when action is taken to avoid or                            installing or performing work on
               minimize a suspension of “operations”                             such property or your wholesale
               caused by destruction or corruption of                            activities.
               “electronic data”, or any loss or                                 The most we will pay for loss or
               damage to “electronic data”, except                               damage under this Extension is
               as provided under Paragraphs (1)                                  $100,000 at each building.
               through (4) of this Additional
               Coverage.                                                 (3) Period of Coverage
           (7) This Additional Coverage does not                             With respect to insurance provided
               apply when loss or damage to                                  under this Coverage Extension for
               “electronic    data”    involves    only                      Newly Acquired Or Constructed
               “electronic data” which is integrated in                      Property, coverage will end when any of
               and operates or controls a building’s                         the following first occurs:
               elevator, lighting, heating, ventilation,                     (a) This policy expires;
               air conditioning or security system.                          (b) 30 days expire after you acquire or
  6. Coverage Extensions                                                         begin construction of that part of the
      In addition to the Limits of Insurance, you may                            building that would qualify as
      extend the insurance provided by this policy as                            covered property; or
      provided below.                                                        (c) You report values to us.
      Except as otherwise provided, the following                            We will charge you additional premium
      Extensions apply to property located in or on                          for values reported from the date you
      the building described in the Declarations or in                       acquire the property or begin
      the open (or in a vehicle) within 100 feet of the                      construction of that part of the building
      described premises, unless a higher Limit of                           that would qualify as covered property.
      Insurance is shown in the Declarations.                      b. Personal Property Off Premises
      a.   Newly Acquired Or Constructed Property                      You may extend the insurance that applies
           (1) Buildings                                               to Business Personal Property to apply to
                If this policy covers Buildings, you may               covered Business Personal Property, other
                extend that insurance to apply to:                     than "money" and "securities", "valuable
                                                                       papers and records", accounts receivable
                (a) Your new buildings while being built               or items leased or rented to others, while it
                    on the described premises; and                     is in the course of transit or temporarily at
                (b) Buildings you acquire at the                       a premises you do not own, lease, or
                    premises other than the one                        operate. This coverage does not apply to
                    described, intended for:                           property at contractor job sites which you
                    (i) Similar use as the building                    do not own or lease. The most we will pay
                        described in the Declarations;                 for loss or damage under this Extension is
                        or                                             $25,000.
                    (ii) Use as a warehouse.                       c. Outdoor Property
                        The most that we will pay for                   You may extend the insurance provided by
                        loss or damage under this                       this policy to apply to your outdoor fences,
                        Extension is $500,000 at each                   radio and television antennas (including
                        building.                                       satellite dishes), light poles, yard fixtures,
                                                                        decks, patios, signs (other than signs
           (2) Business Personal Property                               structurally attached to covered buildings),
                If this policy covers Business Personal                 trees, shrubs and plants (other than trees,
                Property, you may extend that                           shrubs or plant which are part of a
                insurance to apply to:                                  vegetated roof), including debris removal
                (a) Business    Personal     Property                   expense. Loss or damage must be caused
                    including such property that you                    by or resulting from any Covered Cause of
                    newly acquire at any location you                   Loss.
                    acquire; or

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           The most we will pay for loss or damage                         (b) Property in storage away from the
           under this Extension is $10,000 unless a                            premises      shown     in    the
           higher Limit of Insurance for Outdoor                               Declarations;
           Property is shown in the Declarations but                  (3) The most we will pay under this
           not more than $1,000 for any one tree,                         Coverage Extension for loss or
           shrub or plant.                                                damage to "valuable papers and
           Subject to all aforementioned terms and                        records" in any one occurrence at the
           limitations of coverage, this Coverage                         described premises is $10,000,
           Extension includes the expense of                              unless a higher Limit of Insurance for
           removing from the described premises the                       "valuable papers and records" is
           debris of trees, shrubs and plants which                       shown in the Declarations.
           are the property of others, except in the                       For "valuable papers and records" not
           situation in which you are a tenant and                         at the described premises, the most
           such property is owned by the landlord of                       we will pay is $5,000.
           the described premises.
                                                                      (4) Loss or damage to “valuable papers
      d. Outdoor Signs Away from Premises                                 and records" will be valued at the cost
           You may extend the insurance provided by                       of restoration or replacement of the
           this policy to apply to your outdoor signs                     lost or damaged information. To the
           away from premises described in the                            extent that the contents of the
           Declarations caused by or resulting from                       “valuable papers and records” are not
           any Covered Cause of Loss.                                     restored, the “valuable papers and
           The most we will pay for loss or damage                        records” will be valued at the cost of
           under this Extension is $5,000, unless a                       replacement with blank materials of
           higher limit is shown in the Declarations.                     substantially identical type.
      e. Personal Effects                                             (5) Section B. Exclusions of this
                                                                          Coverage Form does not apply to this
           You may extend the insurance that applies                      Coverage Extension except for:
           to Business Personal Property to apply to
           personal effects owned by you, your                             (a) Paragraph   B.1.c.,    Governmental
           officers, your partners or “members”, your                          Action;
           “managers” or your employees, including                         (b) Paragraph B.1.d., Nuclear Hazard;
           temporary or leased employees. This                             (c) Paragraph B.1.f., War And Military
           extension does not apply to:                                        Action;
            (1) Tools or equipment used in your                            (d) Paragraph B.2.d., Dishonesty;
                business;
                                                                           (e) Paragraph B.2.e., False Pretense;
            (2) Loss or damage by theft; or
                                                                           (f) Paragraph B.2.k.(2),     Errors     or
            (3) Personal effects contained      in   a                         Omissions;
                dwelling or living quarters.
                                                                           (g) Paragraph B.2.; and
           The most we will pay for loss or damage
           under this Extension is $10,000 at each                         (h) The Accounts Receivable and
           described premises.                                                 “Valuable Papers And Records”
                                                                               Exclusions.
      f.   "Valuable Papers And Records"
                                                                 g. Accounts Receivable
            (1) You may extend the insurance that
                applies to Business Personal Property                 (1) You may extend the insurance that
                to apply to direct physical loss or                       applies to Business Personal Property
                damage to "valuable papers and                            to apply to accounts receivable. We
                records" that you own, or that are in                     will pay:
                your care, custody or control caused                       (a) All amounts due from your
                by or resulting from a Covered Cause                           customers that you are unable to
                of Loss. This Coverage Extension                               collect;
                includes the cost to research, replace                     (b) Interest charges on any loan
                or restore lost information on                                 required to offset amounts you
                "valuable papers and records" for                              are unable to collect pending our
                which duplicates do not exist.                                 payment of these amounts;
            (2) This Coverage Extension does not                           (c) Collection expenses in excess of
                apply to:                                                      your normal collection expenses
                (a) Property held as samples or for                            that are made necessary by loss
                    delivery after sale;                                       or damage; and




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                (d) Other reasonable expenses that                      (4) Under this Extension, the most we will
                    you incur to re-establish your                          pay for the total of all loss or damage
                    records of accounts receivable;                         to Business Personal Property is
                    that result from direct physical                        $10,000 (unless a higher limit is
                    loss or damage by any Covered                           indicated in the Declarations for such
                    Cause of Loss to your records of                        Extension) regardless of the number
                    accounts receivable.                                    of storage units.
           (2) The most we will pay under this                          (5) This Extension does not apply to loss
               Coverage Extension for loss or                               or damage otherwise covered under
               damage in any one occurrence at the                          this    Coverage      Form   or   any
               described premises is $10,000,                               endorsement to this Coverage Form,
               unless a higher Limit of Insurance for                       and does not apply to loss or damage
               accounts receivable is shown in the                          to the storage unit itself.
               Declarations.
                                                            B. Exclusions
                For accounts receivable not at the
                                                               1. We will not pay for loss or damage caused
                described premises, the most we will
                                                                  directly or indirectly by any of the following.
                pay is $5,000.
                                                                  Such loss or damage is excluded regardless of
           (3) Section B. Exclusions of this                      any other cause or event that contributes
               Coverage Form does not apply to this               concurrently or in any sequence to the loss.
               Coverage Extension except for:                     These exclusions apply whether or not the loss
                (a) Paragraph B.1.c., Governmental                event results in widespread damage or affects
                    Action;                                       a substantial area.
                (b) Paragraph B.1.d., Nuclear Hazard;              a. Ordinance Or Law
                (c) Paragraph B.1.f., War And Military                 The enforcement of or compliance with
                    Action;                                            any ordinance or law:
                (d) Paragraph B.2.d., Dishonesty;                       (1) Regulating the construction, use or
                                                                            repair of any property; or
                (e) Paragraph B.2.e., False Pretense;
                                                                        (2) Requiring the tearing down of any
                (f) Paragraph B.3.; and
                                                                            property, including the cost of
                (g) Paragraph      B.5.       Accounts                      removing its debris.
                    Receivable Exclusions.
                                                                       This exclusion, Ordinance Or Law, applies
      h. Business Personal Property                                    whether the loss results from:
         Temporarily in Portable Storage Units
                                                                        (1) An ordinance or law that is enforced
           (1) You may extend the insurance that                            even if the property has not been
               applies to Business Personal Property                        damaged; or
               to apply to such property while
                                                                        (2) The increased costs incurred to
               temporarilystored in a portable
                                                                            comply with an ordinance or law in
               storage unit (including a detached
                                                                            the course of construction, repair,
               trailer) located within 100 feet of the
                                                                            renovation, remodeling or demolition
               described premises.
                                                                            of property or removal of its debris,
           (2) The limitation under Paragraph                               following a physical loss to that
               A.4.a.(3) also applies to property in a                      property.
               portable storage unit.
                                                                   b. Earth Movement
           (3) Coverage under this Extension:
                                                                        (1) Earthquake, including any earth
                (a) Will end 90 days after the                              sinking, rising, or shifting related to
                    Business Personal Property has                          such an event;
                    been placed in the storage unit
                                                                        (2) Landslide, including any earth sinking,
                (b) Does not apply if the storage unit                      rising or shifting related to such event;
                    itself has been in use at the
                                                                        (3) Mine      subsidence,     meaning
                    described premises for more than
                                                                            subsidence of a man-made mine,
                    90 consecutive days, even if the
                                                                            whether or not mining activity has
                    Business Personal Property has
                                                                            ceased;
                    been stored there for 90 or fewer
                    days as of the time of loss or
                    damage.




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          (4) Earth sinking (other than sinkhole                 d. Nuclear Hazard
              collapse), rising or shifting including
              soil conditions which cause settling,                   Nuclear reaction or radiation, or radioactive
              cracking or other disarrangement of                     contamination, however caused.
              foundations or other parts of realty.                   But if nuclear reaction or radiation, or
              Soil conditions include contraction,                    radioactive contamination, results in fire,
              expansion, freezing, thawing, erosion,                  we will pay for the loss or damage caused
              improperly compacted soil and the                       by that fire.
              action of water under the ground                   e. Utility Services
              surface.
                                                                      The failure of power, communication,
               But if Earth Movement, as described                    water or other utility service supplied to the
               in Paragraphs (1) through (4) above,                   described premises, however caused, if
               results in fire or explosion, we will                  the failure originates away from the
               pay for the loss or damage caused                      described premises; or originates at the
               by that fire or explosion.                             described premises, but only if such failure
          (5) Volcanic eruption, explosion or                         involves equipment used to supply the
              effusion. But if volcanic eruption,                     utility service to the described premises
              explosion or effusion results in fire,                  from a source away from the described
              building glass breakage or volcanic                     premises. Failure of any utility service
              action, we will pay for the loss or                     includes lack of sufficient capacity and
              damage caused by that fire, building                    reduction in supply.
              glass breakage or volcanic action.                      Loss or damage caused by a surge of
               Volcanic action means direct loss or                   power is also excluded if the surge would
               damage resulting from the eruption of                  not have occurred but for an event causing
               a volcano when the loss or damage is                   a failure of power.
               caused by:                                             But if the failure or surge of power, or the
               (a) Airborne    volcanic  blast     or                 failure of communication, water or other
                   airborne shock waves;                              utility service results in a Covered Cause of
               (b) Ash, dust, or particulate matter;                  Loss, we will pay for the loss or damage
                   or                                                 caused by that Covered Cause of Loss.
               (c) Lava flow.                                         Communication services include but are
                                                                      not limited to service relating to Internet
               With respect to coverage for volcanic                  access or access to any electronic cellular
               action as set forth in 5(a), (5)(b) and                or satellite network.
               5(c) all volcanic eruptions that occur
               within any 168-hour period will                   f.   War And Military Action
               constitute a single occurrence.                         (1) War, including undeclared or civil war;
               Volcanic action does not include the                    (2) Warlike action by a military force,
               cost to remove ash, dust or                                 including action in hindering or
               particulate matter that does not cause                      defending against an actual or
               direct physical loss of or damage to                        expected attack, by any government,
               Covered Property.                                           sovereign or other authority using
               This exclusion applies regardless of                        military personnel or other agents; or
               whether any of the above, in                            (3) Insurrection, rebellion, revolution,
               Paragraphs (1) through (5), is caused                       usurped power, or action taken by
               by an act of nature or is otherwise                         governmental authority in hindering or
               caused.                                                     defending against any of these.
      c. Governmental Action                                     g. Water
         Seizure or destruction of property by order                   (1) Flood,      surface     water,    waves
         of governmental authority.                                        (including tidal wave and tsunami),
         But we will pay for loss or damage caused                         tides, tidal water, overflow of any body
         by or resulting from acts of destruction                          of water, or spray from any of these,
         ordered by governmental authority and                             all whether or not driven by wind
         taken at the time of a fire to prevent its                        (including storm surge);
         spread, if the fire would be covered under                    (2) Mudslide or mudflow;
         this policy.                                                  (3) Water that backs up or overflows or is
                                                                           otherwise discharged from a sewer,
                                                                           drain, sump, sump pump or related
                                                                           equipment; or



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           (4) Water under the ground surface pressing                       (b) Any other products and any
               on, or flowing or seeping through:                                services, data or functions that
                (a) Foundations, walls, floors or paved                          directly or indirectly use or rely
                    surfaces;                                                    upon, in any manner, any of the
                                                                                 items listed in Paragraph (a)
                (b) Basements, whether paved or not; or                          above; due to the inability to
                (c) Doors, windows or other openings.                            correctly recognize, distinguish,
           (5) Waterborne material carried or                                    interpret or accept one or more
               otherwise moved by any of the water                               dates or times. An example is the
               referred to in Paragraphs B.1.g.(1),                              inability of computer software to
               B.1.g. (3), or B.1.g. (4), or material                            recognize the year 2000.
               carried or otherwise moved by                             (2) Any advice, consultation, design,
               mudslide or mudflow.                                          evaluation, inspection, installation,
                This exclusion applies regardless of                         maintenance, repair, replacement or
                whether any of the above, in                                 supervision provided or done by you
                Paragraphs B.1.g.(1) through (5), is                         or for you to determine, rectify or test
                caused by an act of nature or is                             for any potential or actual problems
                otherwise caused. An example of a                            described in Paragraph (1) above.
                situation to which this exclusion                      However, if excluded loss or damage, as
                applies is the situation where a dam,                  described in Paragraph (1) above results in
                levee, sea wall or other boundary or                   a “Specified Cause of Loss” we will pay
                containment system fails in whole or                   only for the loss or damage caused by
                in part, for any reason, to contain the                such “Specified Cause of Loss.”
                water.                                                 We will not pay for repair, replacement or
                But if any of the above in B.1.g.(1)                   modification of any items in Paragraphs
                through B.1.g.(5), results in fire,                    (1)(a) or (1)(b) to correct any deficiencies
                explosion or sprinkler leakage, we will                or change any features.
                pay for the loss or damage caused by           2. We will not pay for loss or damage caused by
                that fire, explosion or sprinkler                 or resulting from any of the following:
                leakage.
                                                                   a. Consequential Losses
      h. Certain Computer-Related Losses
                                                                       Delay, loss of use or loss of market.
           (1) The failure, malfunction or inadequacy of:
                                                                   b. Smoke, Vapor, Gas
                (a) Any of the following, whether
                    belonging to any insured or to                     Smoke, vapor or gas from agricultural
                    others:                                            smudging or industrial operations.
                    (i) “Computer”            hardware,            c. Frozen Plumbing
                        including microprocessors or                   Water, other liquids, powder or molten
                        other       electronic     data                material that leaks or flows from plumbing
                        processing equipment as                        (including laterals and septic systems),
                        may be described elsewhere                     heating, air conditioning or other equipment
                        in this policy;                                (except fire protective systems) caused by
                    (ii) “Computer”        application                 or resulting from freezing, unless:
                         software or other “electronic                   (1) For plumbing within a building or
                         media and records” as may                           structure, you do your best to maintain
                         be described elsewhere in                           heat in the building or structure; or
                         this policy;                                    (2) You drain the equipment and shut off
                    (iii) “Computer”          operating                      the supply if the heat is not maintained.
                          systems      and      related            d. Dishonesty
                          software;
                                                                        Dishonest or criminal acts (including theft) by
                    (iv) “Computer” networks;                           you, anyone else with an interest in the
                    (v) Microprocessors (“computer”                     property, or any of your or their partners,
                        chips) not part of any                          “members”, officers, “managers”, employees
                        “computer” system; or                           (including temporary or leased employees),
                    (vi) Any other computerized or                      directors,     trustees,      or     authorized
                         electronic  equipment  or                      representatives whether acting alone or in
                         components; or                                 collusion with each other or with any other
                                                                        party; or theft by any person to whom you
                                                                        entrust the property for any purpose, whether
                                                                        acting alone or in collusion with another party.



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           This exclusion:                                                         (iii) Weight of rain that collects on
                                                                                         a roof; or
             (1) Applies whether or not an act occurs
                 during your normal hours of operation                             (iv) Weight of people or personal
                                                                                        property
             (2) Does not apply to acts of destruction
                 by   your    employees     (including              h. Pollution
                 temporary or leased employees) or                       We will not pay for loss or damage caused
                 authorized representatives; but theft                   by or resulting from the discharge,
                 by   your    employees     (including                   dispersal, seepage, migration, release or
                 temporary or leased employees) or                       escape of "pollutants" unless the
                 authorized representatives is not                       discharge, dispersal, seepage, migration,
                 covered.                                                release or escape is itself caused by any of
                 With respect to accounts receivable                     the "specified causes of loss". But if the
                 and "valuable papers and records",                      discharge, dispersal, seepage, migration,
                 this exclusion does not apply to                        release or escape of "pollutants" results in
                 carriers for hire.                                      a "specified cause of loss", we will pay for
                                                                         the loss or damage caused by that
                 This exclusion does not apply to                        "specified cause of loss".
                 coverage that is provided under the
                 Employee     Dishonesty    Optional                i.   Neglect
                 Coverage.                                               Neglect of an insured to use all reasonable
      e. False Pretense                                                  means to save and preserve property from
                                                                         further damage at and after the time of
           Voluntary parting with any property by you                    loss.
           or anyone else to whom you have
           entrusted the property if induced to do so               j.   Other Types Of Loss
           by any fraudulent scheme, trick, device or                     (1) Wear and tear;
           false pretense.                                                (2) Rust or other corrosion, ”fungi”,
      f.   Exposed Property                                                   decay, deterioration, hidden or latent
           Rain, snow, ice or sleet to personal                               defect or any quality in property that
           property in the open.                                              causes it to damage or destroy itself;
      g. Collapse                                                         (3) Smog;
             (1) Collapse, including any of the                           (4) Settling, cracking,       shrinking    or
                 following conditions of property or any                      expansion;
                 part of the property;                                    (5) Nesting or infestation, or discharge or
                 (a) An abrupt falling down or caving                         release of waste products or
                     in                                                       secretions, by insects, birds, rodents
                                                                              or other animals;
                 (b) Loss of structural integrity,
                     including separation of parts of                     (6) The following causes of loss to
                     the property or property in danger                       personal property:
                     of falling down or                                        (a) Dampness    or        dryness     of
                 (c) Any cracking, bulging, sagging,                               atmosphere;
                     bending,        leaning, settling,                        (b) Changes in or         extremes    of
                     shrinkage, or expansion as such                               temperature; or
                     condition relates to paragraphs                           (c) Marring or scratching.
                     i.(1)(a) or i.(1)(b)
                                                                         But if an excluded cause of loss that is
           But if collapse results in a Covered Cause                    listed in Paragraphs (1) through (6) results
           of Loss at the described premises, we will                    in a "specified cause of loss" or building
           pay for the loss or damage caused by that                     glass breakage, we will pay for the loss or
           Covered Cause of Loss                                         damage caused by that "specified cause of
           (2) This Exclusion i. does not apply:                         loss" or building glass breakage.
               (a) To the extent that coverage is                   k. Errors Or Omissions
                   provided under the Additional                         Errors or omissions in:
                   Coverage Collapse; or
                                                                          (1) Programming, processing or storing
               (b) To collapse caused by one or more                          data, as described under “electronic
                   of the following:                                          data” or in any “computer” operations;
                     (i) The “specified     causes     of                     or
                         loss”
                     (ii) Breakage of building glass



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            (2) Processing or copying          “valuable                of part or all of any property on or off the
                papers and records”.                                    described premises.
           However, we will pay for direct physical             4. Business Income          And    Extra    Expense
           loss or damage caused by resulting fire or              Exclusions
           explosion if these causes of loss would be               a. We will not pay for:
           covered by this coverage form.                                (1) Any Extra Expense, or increase of
      l.   Installation, Testing, Repair                                     Business Income loss, caused by or
           Errors or deficiency in design, installation,                     resulting from:
           testing, maintenance, modification or                              (a) Delay in rebuilding, repairing or
           repair of your “computer” system including                             replacing     the     property   or
           “electronic data”.                                                     resuming "operations", due to
           However, we will pay for direct physical                               interference at the location of the
           loss or damage caused by resulting fire or                             rebuilding, repair or replacement
           explosion if these causes of loss would be                             by strikers or other persons; or
           covered by this coverage form.                                     (b) Suspension, lapse or cancellation
      m. Electrical Disturbance                                                   of any license, lease or contract.
                                                                                  But if the suspension, lapse or
           Electrical or magnetic injury, disturbance,                            cancellation is directly caused by
           virus or erasure of “electronic data”, except                          the suspension of "operations",
           as provided for under A.5 Additional                                   we will cover such loss that
           Coverages.                                                             affects your Business Income
           However, we will pay for direct loss or                                during the "period of restoration"
           damage caused by lightning.                                            and any extension of the “period
      n. Continuous Or Repeated Seepage Or                                        of restoration” in accordance with
         Leakage of Water                                                         the terms of the Extended
                                                                                  Business      Income      Additional
           Continuous or repeated seepage or                                      Coverage.
           leakage of water, or the presence or
           condensation of humidity, moisture or                         (2) Any other consequential loss.
           vapor, that occurs over a period of 14 days              b. With respect to this exclusion, suspension
           or more.                                                    means:
  3. We will not pay for loss or damage caused by                        (1) The partial slowdown or complete
     or resulting from any of the following B.3.a.                           cessation of your business activities;
     through B.3.c. But if an excluded cause of loss                         and
     that is listed in B.3.a. through B.3.c. results in                  (2) That a part or all of the described
     a Covered Cause of Loss, we will pay for the                            premises is rendered untenantable, if
     loss or damage caused by that Covered Cause                             coverage for Business Income
     of Loss.                                                                applies.
      a. Weather Conditions                                     5. Accounts Receivable Exclusion
           Weather conditions. But this exclusion only              The following additional exclusion applies to the
           applies if weather conditions contribute in              Accounts Receivable Extension:
           any way with a cause or event excluded in
           Paragraph 1. above to produce the loss or                We will not pay for:
           damage.                                                  a. Loss or damage caused by or resulting
      b. Acts Or Decisions                                             from alteration, falsification, concealment
                                                                       or destruction of records of accounts
           Acts or decisions, including the failure to                 receivable done to conceal the wrongful
           act or decide, of any person, group,                        giving, taking or withholding of "money",
           organization or governmental body.                          "securities" or other property.
      c. Negligent Work                                                 This exclusion applies only to the extent of
           Faulty, inadequate or defective:                             the wrongful giving, taking or withholding.
            (1) Planning,      zoning,     development,             b. Loss or damage caused by or resulting
                surveying, siting;                                     from bookkeeping, accounting or billing
            (2) Design, specifications, workmanship,                   errors or omissions.
                repair,  construction,    renovation,               c. Any loss or damage that requires any audit
                remodeling, grading, compaction;                       of records or any inventory computation to
            (3) Materials used in repair, construction,                prove its factual existence.
                renovation or remodeling; or
            (4) Maintenance;


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  6. Additional Exclusion                                               (2) Multiply the number calculated in
                                                                            accordance with b.(1) by the number of
     The following applies only to the property                             days since the beginning of the current
     specified in this Additional Exclusion                                 policy year or the effective date of the
     Loss or Damage to Products                                             most recent policy change amending
     We will not pay for loss or damage to any                              the Building and Business Personal
     merchandise goods or other product caused by or                        Property limits, divided by 365.
     resulting from error or omission by any person or                      Example:
     entity (including those having possession under                        If:The applicable Building limit is
     an arrangement where work or a portion of the                          $100,000. The annual percentage
     works is outsourced) in any stage of the                               increase is 8%. The number of days
     development, production or use of the product                          since the beginning of the policy year
     including planning testing, processing, packaging,                     (or last policy change) is 146.
     installation, maintenance or repair. This exclusion
     applies to any effect that compromises the form,                       The amount of increase is
     substance or quality of the product. But if such                       $100,000 x .08 x 146  365 = $3,200.
     error or omission results in a Covered Cause of          4. Business Personal           Property      Limit   –
     Loss, we will pay for the loss or damage caused             Seasonal Increase
     by that Covered Cause of Loss.
                                                                  a. Subject to Paragraph 4.b., The Limit of
      C. Limits Of Insurance                                         Insurance for Business Personal Property
      1. The most we will pay for loss or damage in                  is automatically increased by:
         any one occurrence is the applicable Limit                     (1) The Business Personal Property-
         of Insurance shown in the Declarations.                            Seasonal Increase percentage shown
      2. The amounts of insurance applicable to                             in the Declarations; or
         the Coverage Extensions and the following                      (2) 25% if no Business Personal Property-
         Additional Coverages apply in accordance                           Seasonal Increase percentage is shown
         with the terms of such coverages are in                            in the Declarations;
         addition to the Limits of Insurance:
                                                                       to provide for seasonal variances
               a. Fire Department Service Charge
                                                                  b. The increase described in Paragraph 4.a
               b. Contamination                                      will apply only if the Limit of Insurance
               c. Ordinance or Law                                   shown for Business Personal Property in
               d. Debris Removal                                     the Declarations is at least 100% of your
                                                                     average monthly values during the lesser
               e. Pollutant Cleanup and Removal                      of:
  3. Automatic Increase                                                 (1) The 12 months immediately preceding
      a. In accordance with Paragraph C.3.b. the                            the date the loss or damage occurs; or
         Limit of Insurance for Buildings and Business                  (2) The period of time you have been in
         Personal Property will automatically increase                      business as of the date the loss or
         by 4% unless a different percentage of                             damage occurs.
         annual increase is shown in the Declarations.
                                                           D. Deductibles
      b. The amount of increase will be calculated as
         follows:                                             1. We will not pay for loss or damage in any one
                                                                 occurrence until the amount of loss or damage
           (1) Multiply the Building and Business
                                                                 exceeds the Deductible shown in the
               Personal Property limits that applied on
                                                                 Declarations. We will then pay the amount of
               the most recent of the policy inception
                                                                 loss or damage in excess of the Deductible up
               date, the policy anniversary date, or any
                                                                 to the applicable Limit of Insurance of
               other policy change amending the
               Building and Business Personal                 2. No deductible applies          to   the   following
               Property limits, by                               Additional Coverages:
               (a) The percentage of annual increase              a.   Fire Department Service Charge;
                   shown      in   the Declarations,              b.   Business Income;
                   expressed as a decimal (example:               c.   Extra Expense;
                   3% is .03), times                              d.   Civil Authority;
               (b) .04 if no percentage of annual                 e.   Customer Expense Reimbursement; and
                   increase is shown in the                       f.   Fire Extinguishing Equipment
                   Declarations; and
                                                                  g.   Service Interruption




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E. Property Loss Conditions                                                   Also permit us to take samples of
  1. Abandonment                                                              damaged and undamaged property
                                                                              for inspection, testing and analysis,
      There can be no abandonment of any property                             and permit us to make copies from
      to us.                                                                  your books and records.
  2. Appraisal                                                           (7) Send us a signed, sworn proof of loss
      If we and you disagree on the amount of loss,                          containing the information we request
      either may make written demand for an                                  to investigate the claim. You must do
      appraisal of the loss. In this event, each party                       this within 60 days after our request.
      will select a competent and impartial appraiser.                       We will supply you with the necessary
      The two appraisers will select an umpire. If they                      forms.
      cannot agree, either may request that selection                    (8) Cooperate with us in the investigation
      be made by a judge of a court having                                   or settlement of the claim.
      jurisdiction. The appraisers will state separately
      the amount of loss. If they fail to agree, they will               (9) Resume all or part of your
      submit their differences to the umpire. A                              "operations" as quickly as possible.
      decision agreed to by any two will be binding.                b. We may examine any insured under oath,
      Each party will:                                                 while not in the presence of any other
      a. Pay its chosen appraiser; and                                 insured and at such times as may be
                                                                       reasonably required, about any matter
      b. Bear the other expenses of the appraisal                      relating to this insurance or the claim,
         and umpire equally.                                           including an insured's books and records.
      If there is an appraisal, we will still retain our               In the event of an examination, an
      right to deny the claim.                                         insured's answers must be signed.
  3. Duties In The Event Of Loss Or Damage                      4. Legal Action Against Us
      a. You must see that the following are done                   No one may bring a legal action against us
         in the event of loss or damage to Covered                  under this insurance unless:
         Property:                                                  a. There has been full compliance with all of
           (1) Notify the police if a law may have                     the terms of this insurance; and
               been broken.                                         b. The action is brought within 2 years after
           (2) Give us prompt notice of the loss or                    the date on which the direct physical loss
               damage. Include a description of the                    or damage occurred.
               property involved.                               5. Loss Payment
           (3) As soon as possible, give us a                       In the event of loss or damage covered by this
               description of how, when and where                   policy:
               the loss or damage occurred.
                                                                    a. At our option, we will either:
           (4) Take all reasonable steps to protect the
               Covered Property from further damage,                     (1) Pay the value of lost or damaged
               and keep a record of your expenses                            property;
               necessary to protect the Covered                          (2) Pay the cost of repairing or replacing
               Property, for consideration in the                            the lost or damaged property;
               settlement of the claim. This will not                    (3) Take all or any part of the property at
               increase the Limit of Insurance.                              an agreed or appraised value; or
               However, we will not pay for any
               subsequent loss or damage resulting                       (4) Repair, rebuild or replace the property
               from a cause of loss that is not a                            with other property of like kind and
               Covered Cause of Loss. Also, if                               quality, subject to d.(1) below.
               feasible, set the damaged property                   b. We will give notice of our intentions within
               aside and in the best possible order for                30 days after we receive the sworn proof of
               examination.                                            loss.
           (5) At our request, give us complete                     c. We will not pay you more than your
               inventories of the damaged and                          financial interest in the Covered Property.
               undamaged property. Include quantities,              d. Except as provided in (2) through (9)
               costs, values and amount of loss                        below, we will determine the value of
               claimed.                                                Covered Property as follows:
           (6) As often as may be reasonably                             (1) At     replacement    cost    without
               required, permit us to inspect the                            deduction for depreciation, subject to
               property proving the loss or damage                           the following:
               and examine your books and records.




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               (a) You may make a claim for loss or                         (a) Used or second-hand merchandise
                   damage       covered       by    this                        held in storage or for sale;
                   insurance on an actual cash                              (b) Property of others. However, if
                   value basis instead of on a                                  property of others is subject to a
                   replacement cost basis. In the                               written contract which governs your
                   event you elect to have loss or                              liability for loss or damage to that
                   damage settled on an actual cash                             item(s), then valuation of that item(s)
                   value basis, you may still make a                            will be based on the amount for
                   claim on a replacement cost                                  which you are liable under such
                   basis if you notify us of your intent                        contract, but not to exceed the lesser
                   to do so within 180 days after the                           of the valuation option indicated in
                   loss or damage.                                              the      Declarations    (replacement
               (b) We will not pay on a replacement                             cost/actual cash value) of the
                   cost basis for any loss or                                   property or the applicable Limit of
                   damage:                                                      Insurance.
                   (i) Until the lost or damaged                            (c) Household      contents,     except
                       property is actually repaired                            personal property in apartments or
                       or replaced; and                                         rooms furnished by you as landlord;
                   (ii) Unless the repairs are made                         (d) Manuscripts;
                        as soon as reasonably                               (e) Works of art; collectibles, antiques
                        possible after the loss or                              or rare articles, including etchings,
                        damage.                                                 pictures, statuary, marbles, bronzes
                       However, if the cost to repair                           porcelains and bric-a-brac.
                       or replace the damaged                          (4) Glass at the cost of replacement with
                       property is $2,500 or less, we                      safety glazing material if required by
                       will settle the loss whether or                     law.
                       not      actual     repair   or
                       replacement is complete.                        (5) Tenants'     Improvements              and
                                                                           Betterments at:
               (c) We will not pay more for loss or
                   damage on a replacement cost                             (a) Replacement cost if you make
                   basis than the least of:                                     repairs promptly.
                   (i) The Limit of Insurance that                          (b) A proportion of your original cost
                       applies to the lost or                                   if you do not make repairs
                       damaged property.                                        promptly. We will determine the
                                                                                proportionate value as follows:
                   (ii) The cost to replace, on the
                        same premises, the lost or                              (i) Multiply the original cost by
                        damaged property with other                                 the number of days from the
                        property:                                                   loss or damage to the
                                                                                    expiration of the lease; and
                       1. Of comparable material
                          and quality; and                                      (ii) Divide        the       amount
                                                                                     determined in (i) above by the
                       2. Used    for      the    same                               number of days from the
                          purpose; or                                                installation of improvements
                   (iii) The amount you actually                                     to the expiration of the lease.
                         spend that is necessary to                             If your lease contains a renewal
                         repair or replace the lost or                          option, the expiration of the
                         damaged property.                                      renewal option period will replace
                       If a building is rebuilt at a new                        the expiration of the lease in this
                       premises, the cost is limited to                         procedure.
                       the cost which would have been                       (c) Nothing if others pay for repairs
                       incurred had the building been                           or replacement.
                       built at the original premises
                                                                       (6) Applicable only        to   the   Optional
          (2) If the Actual Cash Value option                              Coverages:
              applies, as shown in the Declarations,
              paragraph (1) above does not apply                            (a) "Money" at its face value; and
              to property specified. Instead, we will                       (b) "Securities" at their value at the
              determine the value of property at                                close of business on the day the
              actual cash value.                                                loss is discovered.
          (3) The following property at actual cash
              value:


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           (7) The     value     of   United    States                 e. Our payment for loss of or damage to
               Government Internal Revenue taxes                          personal property of others will only be for
               and custom duties and refundable                           the account of the owners of the property.
               state and local taxes paid or fully                        We may adjust losses with the owners of
               determined on the following property                       lost or damaged property if other than you.
               held for sale will not be considered in                    If we pay the owners, such payments will
               determining the value of Covered                           satisfy your claims against us for the
               Property:                                                  owners' property. We will not pay the
                (a) Distilled spirits;                                    owners more than their financial interest in
                                                                          the Covered Property.
                (b) Wines;
                                                                       f.   We may elect to defend you against suits
                (c) Rectified products; or                                  arising from claims of owners of property.
                (d) Beer                                                    We will do this at our expense.
           (8) Applicable       only     to      Accounts              g. We will pay for covered loss or damage
               Receivable:                                                within 30 days after we receive the sworn
                (a) If you cannot accurately establish                    proof of loss, provided you have complied
                    the     amount     of    accounts                     with all of the terms of this policy, and
                    receivable outstanding as of the                        (1) We have reached agreement with you
                    time of loss or damage:                                     on the amount of loss; or
                    (i) We will determine the total of                      (2) An appraisal award has been made.
                        the average monthly amounts                    h. A party wall is a wall that separates and is
                        of accounts receivable for the                    common to adjoining buildings that are
                        12    months      immediately                     owned by different parties. In settling
                        preceding the month in which                      covered losses involving a part wall, we will
                        the loss or damage occurs;                        pay a proportion of the loss to the party
                        and                                               wall based on your interest in the wall in
                    (ii) We will adjust that total for                    proportion to the interest of the owner of
                         any normal fluctuations in the                   the adjoining building. However, if you
                         amount       of       accounts                   elect to repair or replace your building and
                         receivable for the month in                      the owner of the adjoining building elects
                         which the loss or damage                         not to repair or replace that building, we
                         occurred     or     for    any                   will pay you the full value of the loss to the
                         demonstrated variance from                       party wall, subject to all applicable policy
                         the average for that month.                      provisions including Limits of Insurance
                (b) The following will be deducted                        and all other provisions of this Loss
                    from the total amount of accounts                     Payment Condition. Our payment under
                    receivable, however that amount                       the provisions of this paragraph does not
                    is established:                                       alter any right of subrogation we may have
                                                                          against any entity, including the owner or
                    (i) The amount of the accounts                        insurer of the adjoining building and does
                        for which there is no loss or                     not alter the terms of the Transfer Of
                        damage;                                           Rights Of Recovery Against Others To Us
                    (ii) The amount of the accounts                       Condition in this policy
                         that you are able to re-                  6. Recovered Property
                         establish or collect;
                                                                       If either you or we recover any property after
                    (iii) An amount to allow for                       loss settlement, that party must give the other
                          probable bad debts that you                  prompt notice. At your option, you may retain
                          are normally unable to collect;              the property. But then you must return to us the
                          and                                          amount we paid to you for the property. We will
                    (iv) All unearned interest and                     pay recovery expenses and the expenses to
                         service charges.                              repair the recovered property, subject to the
                                                                       Limit of Insurance.
           (9) Applicable only to Spoilage:
                                                                   7. Resumption Of Operations
                (a) For “perishable stock” you have
                    sold but not delivered, at the                     We will reduce the amount of your:
                    selling price less discounts and                   a. Business Income loss, other than Extra
                    expenses you otherwise would                          Expense, to the extent you can resume
                    have had; and                                         your "operations", in whole or in part, by
                (b) For other “perishable stock,” at                      using damaged or undamaged property
                    Actual Cash Value.                                    (including merchandise or stock) at the
                                                                          described premises or elsewhere.


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      b. Extra Expense loss to the extent you can         F. Property General Conditions
         return "operations" to normal and                   1. Control Of Property
         discontinue such Extra Expense.
                                                                 Any act or neglect of any person other than you
  8. Vacancy                                                     beyond your direction or control will not affect
      a. Description Of Terms                                    this insurance.
          (1) As used in this Vacancy Condition,                 The breach of any condition of this Coverage
              the term building and the term vacant              Form at any one or more locations will not
              have the meanings set forth in                     affect coverage at any location where, at the
              Paragraphs (a) and (b) below:                      time of loss or damage, the breach of condition
               (a) When this policy is issued to a               does not exist.
                   tenant, and with respect to that          2. Mortgageholders
                   tenant's interest in Covered                  a. The term "mortgageholder" includes trustee.
                   Property, building means the unit
                   or suite rented or leased to the              b. We will pay for covered loss of or damage to
                   tenant. Such building is vacant                  buildings     or    structures    to   each
                   when it does not contain enough                  mortgageholder shown in the Declarations in
                   business personal property to                    their order of precedence, as interests may
                   conduct customary operations.                    appear.
               (b) When this policy is issued to the             c. The mortgageholder has the right to receive
                   owner or general lessee of a                     loss payment even if the mortgageholder has
                   building, building means the                     started foreclosure or similar action on the
                   entire building. Such building is                building or structure.
                   vacant unless at least 31% of its             d. If we deny your claim because of your acts or
                   total square footage:                            because you have failed to comply with the
                   (i) Rented to a lessee or sub-                   terms of this policy, the mortgageholder will
                       lessee and used by the                       still have the right to receive loss payment if
                       lessee or sub-lessee to                      the mortgageholder:
                       conduct      its customary                      (1) Pays any premium due under this
                       operations; or                                      policy at our request if you have failed
                   (ii) Used by the building owner to                      to do so;
                        conduct customary operations.                  (2) Submits a signed, sworn proof of loss
          (2) Buildings under construction or                              within 60 days after receiving notice
              renovation are not considered vacant.                        from us of your failure to do so; and
      b. Vacancy Provisions                                            (3) Has notified us of any change in
                                                                           ownership, occupancy or substantial
         If the building where loss or damage                              change in risk known to the
         occurs has been vacant for more than 60                           mortgageholder.
         consecutive days before that loss or
         damage occurs:                                                    All of the terms of this policy will then
                                                                           apply directly to the mortgageholder.
          (1) We will not pay for any loss or damage
              caused by any of the following even if             e. If we pay the mortgageholder for any loss
              they are Covered Causes of Loss:                      or damage and deny payment to you
                                                                    because of your acts or because you have
               (a) Vandalism;                                       failed to comply with the terms of this
               (b) Sprinkler leakage, unless you have               policy:
                   protected the system against                        (1) The mortgageholder's rights under the
                   freezing;                                               mortgage will be transferred to us to the
               (c) Building glass breakage;                                extent of the amount we pay; and
               (d) Water damage;                                       (2) The mortgageholder's right to recover
               (e) Theft; or                                               the full amount of the mortgageholder's
                                                                           claim will not be impaired.
               (f) Attempted theft.
                                                                      At our option, we may pay to the
          (2) With respect to Covered Causes of                       mortgageholder the whole principal on the
              Loss other than those listed in                         mortgage plus any accrued interest. In this
              b.(1)(a) through b.(1)(f) above, we will                event, your mortgage and note will be
              reduce the amount we would                              transferred to us and you will pay your
              otherwise pay for the loss or damage                    remaining mortgage debt to us.
              by 15%.
                                                                 f.   If we cancel this policy, we will give written
                                                                      notice to the mortgageholder at least:



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           (1) 10 days before the effective date of                     (4) Corrosion.
               cancellation if we cancel for your                  d. The most we will pay for loss or damage in
               nonpayment of premium; or                              any one occurrence is the Limit of
           (2) 30 days before the effective date of                   Insurance for Outdoor Signs shown in the
               cancellation if we cancel for any other                Declarations.
               reason.                                             e. The provisions of this Optional Coverage
      g. If we elect not to renew this policy, we will                supersede all other references to outdoor
         give written notice to the mortgageholder                    signs in this policy.
         at least 10 days before the expiration date           2. Crime
         of this policy.
                                                                   a. Money and Securities
  3. No Benefit To Bailee
                                                                        (1) We will pay for loss of “money” and
          No person or organization, other than you,                        “securities used in your business while at
          having custody of Covered Property will                           a bank or savings institution, within your
          benefit from this insurance.                                      living quarters or the living quarters of
  4. Policy Period, Coverage Territory                                      your partners or any employee (including
      Under this form:                                                      a temporary or leased employee) having
                                                                            use and custody of the property, at the
      a. We cover loss or damage commencing:                                described premises, or in transit between
           (1) During the policy period shown in the                        any of these places, resulting directly
               Declarations; and                                            from:
           (2) Within the coverage territory or, with                        (a) Theft, meaning any act of stealing;
               respect to property in transit, while it                      (b) Disappearance; or
               is between points in the coverage
               territory.                                                    (c) Destruction.
      b. The coverage territory is:                                     (2) In addition to the Limitations and
                                                                            Exclusions applicable to property
           (1) The United States of America                                 coverage, we will not pay for loss:
               (including    its territories and
               possessions);                                                 (a) Resulting from accounting or
                                                                                 arithmetical errors or omissions;
           (2) Puerto Rico; and
                                                                             (b) Due to the giving or surrendering
           (3) Canada.                                                           of property in any exchange or
G. Optional Coverages                                                            purchase; or

   If shown as applicable in the Declarations, the                           (c) Of property contained in any
   following Optional Coverages also apply. These                                “money” operated device unless
   coverages are subject to the terms and conditions                             the amount of “money” deposited
   applicable to property coverage in this policy,                               in it is recorded by a continuous
   except as provided below.                                                     recording instrument in the
                                                                                 device.
  1. Outdoor Signs
                                                                             (d) Of property involved in the course
      a. We will pay for direct physical loss of or                              of illegal transportation or trade;
         damage to all outdoor signs at the                                      contraband.
         described premises:
                                                                        (3) The most we will pay for loss in any
           (1) Owned by you; or                                             one occurrence is:
           (2) Owned by others but in your care,                             (a) The limit shown in the Declarations
               custody or control.                                               for Money and Security - Inside the
      b. Paragraph A.3., Covered Causes Of                                       Premises while:
         Loss, and Section B., Exclusions, do not                                (i) In or on        the   described
         apply to this Optional Coverage, except for:                                premises; or
           (1) Paragraph B.1.c., Governmental Action;                            (ii) Within a bank or savings
           (2) Paragraph B.1.d., Nuclear Hazard; and                                  institution; and
           (3) Paragraph B.1.f., War And Military                            (b) The limit shown in the Declarations
               Action.                                                           for Money and Security - Outside
                                                                                 the Premises while anywhere else.
      c. We will not pay for loss or damage caused
         by or resulting from:                                           (4) All loss:
           (1) Wear and tear;                                                (a) Caused by one or more persons;
                                                                                 or
           (2) Hidden or latent defect;
                                                                             (b) Involving a single act or series or
           (3) Rust; or
                                                                                 related acts;

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               is considered one occurrence.                              (a) Loss resulting from any dishonest
          (5) You must keep records of all “money”                            or criminal act committed by any of
              and “securities” so we can verify the                           your employees, directors, trustees,
              amount of any loss or damage.                                   or authorized representatives:
      b. Money Orders and Counterfeit Money                                   (i) Acting alone or in collusion with
                                                                                  other persons; or
         We will pay for loss resulting directly from
         your having accepted in good faith, in                               (ii) While performing services for
         exchange for merchandise, “money” or                                      you or otherwise.
         services:                                                        (b) Loss or property surrendered before
          (1) Money orders issued by any post                                 a reasonable effort has been made
              office, express company or bank that                            to report an extortionist’s demand to
              are not paid upon presentation; or                              all the following:
          (2) “Counterfeit money” that is acquired                            (i) An associate;
              during the regular course of business.                          (ii) The Federal Bureau              of
         The most we will pay for any one                                          Investigation; and
         occurrence under this Optional Coverage                              (iii) Local law enforcement authorities.
         is the Limit of Insurance for Money Orders                  (4) Loss is covered only if the threat to do
         and Counterfeit Money shown in the                              bodily harm is first communicated to
         Declarations.                                                   you during the Policy Period.
      c. Forgery and Alteration                                      (5) Loss is covered only if the capture or
          (1) We will pay for loss resulting directly                    alleged capture takes place within the
              from forgery or alteration of, any                         United States of America, U.S. Virgin
              check, draft, promissory note, bill of                     Islands, Puerto Rico or Canada.
              exchange or similar written promise of                      The Coverage Territory            General
              payment in “money”, that you or your                        Conditions does not apply.
              agent has issued, or that was issued
              by someone who impersonates you or                e. Computer Fraud
              your agent.                                            (1) We will pay for loss of or damage to
          (2) If you are sued for refusing to pay the                    Business Personal Property and
              check, draft, promissory note, bill of                     “money” and “securities” resulting from
              exchange or similar written promise of                     theft (meaning any act of stealing)
              payment in “money”, on the basis that                      following and directly related to the use
              it has been forged or altered, and you                     of any computer to fraudulently cause a
              have our written consent to defend                         transfer of property from inside the
              against the suit, we will pay for any                      described premises or bank or savings
              reasonable legal expenses that you                         institution to a person (other than you,
              incur in that defense.                                     any of your partners or any employee)
                                                                         outside the described premises.
          (3) For the purpose of this coverage,
              check includes a substitute check as                   (2) The most we will pay for loss in any
              defined in the Check Clearing for the                      one occurrence is the Limit of
                st
              21 Century Act, and will be treated                        Insurance for Computer Fraud shown
              the same as the original it replaced.                      in the Declarations.
          (4) The most we will pay for any one                       (3) We will not pay for loss as specified
              occurrence, including legal expenses,                      below:
              under this Optional Coverage is the                         (a) Loss resulting from any dishonest
              Limit of Insurance for Forgery and                              or criminal act committed by any
              Alterations shown in the Declarations.                          of your employees, directors
      d. Extortion                                                            trustees       or      authorized
                                                                              representatives:
          (1) We will pay for loss of Business
              Personal Property and “money” and                               (i) Acting alone or in collusion
              “securities” resulting directly from                                with other persons; or
              “Extortion.”                                                    (ii) While performing services for
          (2) The most we will pay for loss in any                                 you or otherwise.
              one occurrence is the applicable Limit                      (b) Loss, or that part of any loss, the
              of Insurance for Extortion shown in                             proof of which as to its existence
              the Declarations.                                               or amount is dependent upon:
          (3) We will not pay for loss as specified                            (i) An inventory computation; or
              below:                                                          (ii) A profit and loss computation.


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           (4) Duties in the Event of Loss: If you                        (5) The most we will pay for loss in any
               have reason to believe that any loss                           one occurrence is the applicable Limit
               of, or damage to, property involves a                          of Insurance for Funds Transfer
               violation of law, you must notify law                          Fraud shown in the Declarations.
               enforcement authorities.                          3. Employee Dishonesty
      f.   Funds Transfer Fraud                                           (1) We will pay for direct loss of or
           (1) We will pay for loss of "funds"                                damage to Business Personal
               resulting directly from a "fraudulent                          Property and “money” and “securities”
               instruction" directing a financial                             resulting   from     dishonest     acts
               institution to transfer, pay or deliver                        committed by any of your employees
               "funds" from your "transfer account".                          acting alone or in collusion with other
           (2) "Fraudulent instruction" means:                                persons (except you or your partner)
                                                                              with the manifest intent to:
                (a) An electronic, telegraphic, cable,
                    teletype,     telefacsimile     or                         (a) Cause you to sustain loss or
                    telephone     instruction   which                              damage; and also;
                    purports to have been transmitted                          (b) Obtain financial benefit (other
                    by you, but which was in fact                                  than salaries, commissions, fees,
                    fraudulently    transmitted    by                              bonuses, promotions, awards,
                    someone else without your                                      profit sharing, pensions or other
                    knowledge or consent;                                          employee benefits earned in the
                (b) A written instruction (other than                              normal course of employment)
                    those described in 2.c. Forgery                                for:
                    and Alteration) issued by you,                                 (i) Any employee; or
                    which was forged or altered by                                 (ii) Any    other     person     or
                    someone other than you without                                      organization.
                    your knowledge or consent, or
                    which purports to have been                           (2) We will not pay for loss or damage:
                    issued by you, but was in fact                             (a) Resulting from any dishonest or
                    fraudulently issued without your                               criminal act that you or any of
                    knowledge or consent; or                                       your partners or “members”
                (c) An electronic, telegraphic, cable,                             commit whether acting alone or in
                    teletype, telefacsimile, telephone or                          collusion with other persons.
                    written instruction initially received                     (b) Resulting from any dishonest act
                    by you which purports to have been                             committed by any or your
                    transmitted by an "employee" but                               employees (except as provided in
                    which was in fact fraudulently                                 Paragraph (1)), “managers” or
                    transmitted by someone else                                    directors:
                    without your or the "employee's"                               (i) Whether acting alone or in
                    knowledge or consent.                                              collusion with other persons;
           (3) "Funds"       means       "money"      and                              or
               "securities".                                                       (ii) While performing services for
           (4) "Transfer account" means an account                                      you or otherwise.
               maintained by you at a financial                                (c) The only proof of which as to its
               institution from which you can initiate the                         existence or amount is:
               transfer, payment or delivery of "funds":
                                                                                   (i) An inventory computation; or
                (a) By      means     of    electronic,
                    telegraphic,    cable,    teletype,                            (ii) A profit and loss computation
                    telefacsimile     or    telephone                          (d) Caused by an employee if the
                    instructions        communicated                               employee had also committed
                    directly through an electronic                                 theft or any other dishonest act
                    funds transfer system; or                                      prior to the effective date of this
                (b) By means of written instructions                               policy and you or any of your
                    (other than those described in 2.c.                            partners, “members”, “managers”,
                    Forgery        and        Alteration)                          officers, directors or trustees, not
                    establishing the conditions under                              in collusion with the employee,
                    which such transfers are to be                                 learned of that theft of dishonest
                    initiated by such financial institution                        act prior to the policy period
                    through an electronic funds transfer                           shown in the Declarations
                    system.



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          (3) The most we will pay for loss or                               (b) The loss or damage would have
              damage in any one occurrence is the                                been covered by this Optional
              Limit of Insurance for Employee                                    Coverage had it been in effect
              Dishonesty    shown      in     the                                when the acts or events causing
              Declarations.                                                      the loss or damage were
          (4) All loss or damage:                                                committed or occurred.
               (a) Caused by one or more persons;                       (9) The Insurance under paragraph (8)
                   or                                                       above is part of, not in addition to, the
                                                                            Limit of Insurance applying to this
               (b) Involving a single act or series of                      Optional Coverage and is limited to
                   acts; is      considered       one                       the lesser of the amount recoverable
                   occurrence.                                              under:
          (5) If any loss is covered:                                        (a) This Optional Coverage as if its
               (a) Partly by this insurance; and                                 effective date; or
               (b) Partly by any prior cancelled or                          (b) The prior insurance          had    it
                   terminated insurance that we or                               remained in effect.
                   any affiliate had issued to you or                   (10) With respect to Employee Dishonesty
                   any predecessor in interest;                              Coverage in Paragraph G.3., employee
               the most we will pay is the larger of the                     means:
               amount     recoverable      under     this                    (a) Any natural person;
               insurance or the prior insurance.
                                                                                 (i) While in your service or for 30
               We will pay only for loss or damage you                               days after termination of
               sustain through acts committed or                                     service;
               events occurring during the Policy
               Period. Regardless of the number of                               (ii) Who you compensate directly
               years this policy remains in force or the                              by salary,    wages     or
               number of premiums paid, no Limit of                                   commissions; and
               Insurance cumulates from year to year                             (iii) Who you have the right to
               or period to period.                                                    direct and control while
          (6) This Optional Coverage is cancelled                                      performing services for you:
              as to any employee immediately upon                            (b) Any natural person who              is
              discovery by:                                                      furnished temporarily to you:
               (a) You; or                                                        (i) To substitute for a permanent
               (b) Any of your partners, “members”,                                   employee as defined in
                   “managers”, officers or directors                                  Paragraph (1) above, who is
                   not in collusion with the                                          on leave; or
                   employee;                                                  (ii) To meet seasonal or short-term
                                                                                   work load conditions:
               of any dishonest act committed by
               that employee before or after being                           (c) Any natural person who is leased to
               hired by you.                                                     you under a written agreement
                                                                                 between you and a labor leasing
          (7) We will pay only for covered loss or                               firm, to perform duties related to the
              damage sustained during the policy                                 conduct of your business, but does
              period and discovered no later than                                not mean a temporary employee as
              one year from the end of the policy                                defined in Paragraph (b) above;
              period.
                                                                             (d) Any natural person who is a
          (8) If you (or any predecessor in interest)                            former     employee,      director,
              sustained loss or damage during the                                partner,    member,      manager,
              period of any prior insurance that you                             representative or trustee retained
              could have recovered under that                                    as a consultant while performing
              insurance except that the time within                              services for you; or
              which to discover loss of damage had
              expired, we will pay for it under this                         (e) Any natural person who is a guest
              Optional Coverage, provided:                                       student or intern pursuing studies
                                                                                 or duties, excluding, however, any
               (a) This Optional Coverage became                                 such person while having care
                   effective    at   the   time    of                            and custody of property outside
                   cancellation or termination of the                            any building you occupy in
                   prior insurance; and                                          conducting your business




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                 But employee does not mean:                                       (iii) Water piping forming part of a
                                                                                         refrigerating      or      air
                     (i) Any agent, broker, factor,                                      conditioning system used for
                         commission merchant,                                            cooling, humidifying or space
                         consignee, independent                                          heating purposes
                         contractor or representative of
                         the same general character; or                   (2) All mechanical, electrical, electronic
                                                                              or fiber optic equipment: and
                     (ii) Any "manager", director or trustee
                          except while performing acts               b. Caused by, resulting from, or consisting of:
                          coming within the usual duties of               (1) Mechanical breakdown; or
                          an employee.                                    (2) Electrical or electronic breakdown; or
H. Property Definitions                                                   (3) Rupture, bursting, bulging, implosion,
   1. “Computer” means:                                                       or steam explosion.
       a.   Programmable electronic equipment that is                However, “Equipment Breakdown” will not
            used to store, retrieve and process data; and            mean:
       b. Associated peripheral equipment that provides              Physical loss or damage caused by or resulting
          communication, including input and output                  from any of the following; however if loss or
          functions such as printing and auxiliary                   damage not otherwise excluded results, then
          functions such as data transmission.                       we will pay for such resulting damage.
      “Computer” does not include those used to operate                   (1) Wear and Tear;
      production type machinery or equipment.                             (2) Rust or other corrosion, decay,
   2. “Counterfeit money” means an imitation of                               deterioration, hidden or latent defect,
      “money” that is intended to deceive and to be                           mold or any other quality in property
      taken as genuine.                                                       that causes it to damage or destroy
                                                                              itself;
   3. "Electronic data" means information, facts or
      computer programs stored as or on, created or                       (3) Smog;
      used on, or transmitted to or from computer                         (4) Settling, cracking,        shrinking    or
      software (including systems and applications                            expansion;
      software), on hard or floppy disks, CD-ROMs,
                                                                          (5) Nesting or infestation, or discharge or
      tapes, drives, cells, data processing devices or any
                                                                              release of waste products or
      other repositories of computer software which are
                                                                              secretions, by birds, rodents or other
      used with electronically controlled equipment. The
                                                                              animals.
      term computer programs, referred to in the
      foregoing description of electronic data, means a                   (6) Scratching and marring
      set of related electronic instructions which direct                 (7) Any loss, damage, cost or expense
      the operations and functions of a "computer" or                         directly caused by, contributed to by,
      device connected to it, which enable the                                resulting from or arising out of the
      "computer" or device to receive, process, store,                        following;
      retrieve or send data.
                                                                               Fire, lightning, combustion explosion,
   4. Equipment Breakdown” as used herein means:                               windstorm or hail, weight of snow, ice or
       a. Physical loss or damage both originating                             sleet, falling objects, smoke, aircraft or
           within:                                                             vehicles, riot or civil commotion,
                                                                               vandalism, sinkhole collapse, volcanic
             (1) Boilers, fired or unfired pressure
                                                                               action, leakage from fire extinguishing
                 vessels, vacuum       vessels, and
                                                                               equipment, water damage, earth
                 pressure piping, all normally subject
                                                                               movement and flood."
                 to vacuum or internal pressure other
                 than static pressure of contents,               5. “Extortion” means the surrender of property away
                 excluding:                                         from the premises as a result of a threat
                                                                    communicated to you to do bodily harm to you or
                 (a) Waste disposal piping;
                                                                    an employee or to a relative or invitee of either,
                 (b) Any piping forming part of a fire              who is, or allegedly is being held captive.
                     protective system; and
                                                                 6. "Fungi" means any type or form of fungus,
                 (c) Any water piping other than:                   including mold or mildew, and any mycotoxins,
                     (i) Boiler feed water piping                   spores, scents or by-products produced or
                         between the feed pump and                  released by fungi.
                         the boiler;                             7. “Hazardous substance” means any substance
                     (ii) Boiler condensate          return         other than ammonia that has been declared to be
                          piping; or                                hazardous to health by a governmental agency.




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                                                                                             119         TBP2 (05-15)
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  8. “Manager” means a person serving in a directorial             a. Tokens, tickets, revenue and other stamps
     capacity for a limited liability company.                        (whether represented by actual stamps or
  9. “Member” means an owner of a limited liability                   unused value in a meter) in current use; and
     company represented by its membership interest,               b. Evidences of debt issued in connection
     who also may serve as a “manager”.                               with credit or charge cards, which cards
  10. "Money" means:                                                  are not issued by you;
      a. Currency, coins and bank notes in current                 but does not include "money".
         use and having a face value; and                      17. "Specified Causes of Loss" means the following:
      b. Travelers checks, register checks and money               Fire; lightning; explosion, windstorm or hail;
         orders held for sale to the public.                       smoke; aircraft or vehicles; riot or civil
  11. "Operations" means your business activities                  commotion; vandalism; leakage from fire
      occurring at the described premises.                         extinguishing equipment; sinkhole collapse;
                                                                   volcanic action; falling objects; weight of snow,
  12. "Period of restoration" means the period of                  ice or sleet; water damage.
      time that:
                                                                   a. Sinkhole collapse means the sudden
      a. Begins immediately after the time of direct                  sinking or collapse of land into
         physical loss or damage for Business Income                  underground empty spaces created by the
         or Extra Expense coverage caused by or                       action of water on limestone or dolomite.
         resulting from any covered Cause of Loss at                  This cause of loss does not include:
         the described premises; and
                                                                        (1) The cost of filling sinkholes; or
      b. Ends on the earlier of:
                                                                        (2) Sinking or collapse of land into man-
           (1) The date when the property at the                            made underground cavities.
               described premises should be repaired,
               rebuilt or replaced with reasonable                 b. Falling objects does not include loss of or
               speed and similar quality; or                          damage to:
           (2) The date when business is resumed                        (1) Personal property in the open; or
               at a new permanent location.                             (2) The interior of a building or structure,
          "Period of restoration" includes any increased                    or property inside a building or
          period required to repair or reconstruct the                      structure, unless the roof or an
          property to comply with the minimum                               outside wall of the building or
          standard of, or compliance with any                               structure is first damaged by a falling
          ordinance or law, in force at the time of loss,                   object.
          that regulates the construction or repair, or            c. Water damage means:
          requires the tearing down of property.                        (1) Accidental discharge or leakage of
          The expiration date of this policy will not                       water or steam as the direct result of
          cut short the "period of restoration".                            the breaking apart or cracking of any
  13. "Perishable Stock" means property:                                    part of a system or appliance (other
                                                                            than a sump system including its
      a. Maintained under controlled temperature                            related    equipment    and    parts)
         or humidity conditions for preservation; and                       containing water or steam and
      b. Susceptible to loss or damage if the                           (2) Accidental discharge or leakage of
         controlled   temperature or  humidity                              water or waterborne material as the
         conditions change.                                                 direct result of the breaking apart of
     Property located on buildings, in the open or in                       cracking of a water or sewer pipe that is
     vehicles is not “perishable stock.”                                    located off the described premises and
  14. "Pollutants" means any solid, liquid, gaseous or                      is part of a municipal potable water
      thermal irritant or contaminant, including smoke,                     supply system or municipal sanitary
      vapor, soot, fumes, acids, alkalis, chemicals and                     sewer system, if the breakage or
      waste. Waste includes materials to be recycled,                       cracking is caused by wear and tear.
      reconditioned or reclaimed.                                           But water damage does not include loss
                                                                            or damage otherwise excluded under
  15. “Reasonable extra cost “ means the extra cost                         the terms of the Water Exclusion.
      of temporary repair and of expediting the repair                      Therefore, for example, there is no
      of such damaged equipment of the insured,                             coverage in the situation in which
      including overtime and the extra cost of                              discharge or leakage of water results
      express or other rapid means of transportation,                       from the breaking apart or cracking of a
      This will be a part of and not an addition to the                     pipe which was caused by or related to
      limit per loss.                                                       weather-inducted flooding, even if wear
  16. "Securities" means negotiable and non-negotiable                      and tear contributed to the breakage or
      instruments or contracts representing either                          cracking. As another example, and also
      "money" or other property and includes:                               in accordance with the terms of the

TBP2 (05-15)                              © Society Insurance, Inc., 2015.
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                Water Exclusion, there is no coverage          18. “Stock” means merchandise held in storage or
                for loss or damage caused by or                    for sale, raw materials and in-process or
                related to weather-induced flooding                finished goods, including supplies used in their
                which follows or is exacerbated by                 packing or shipping.
                pipe breakage or cracking attributable
                to wear and tear. To the extent that           19. "Valuable papers and records" means
                accidental discharge or leakage of                 inscribed, printed, or written:
                water falls within the criteria set forth                    (a) Documents;
                in c.(1) or c.(2) of this definition of                      (b) Manuscripts; and
                “specified causes of loss”, such water
                is not subject to the provisions of the                      (c) Records;
                Water Exclusion which preclude                     including abstracts books, deeds, drawings,
                coverage for surface water or water                films, maps or mortgages.
                under the ground surface.
                                                                   But "valuable papers and records" does not
                                                                   mean "money" or "securities".




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                                                                                       EPL-120 (10-08)


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    LIABILITY TO NON-EMPLOYEES


This endorsement modifies insurance provided under the following:

   EMPLOYMENT-RELATED PRACTICES LIABILITY ENDORSEMENT




The following is added to Paragraph 4. of Section G – Definitions:


   "Injury" also means injury to any non-"employee" arising out of "discrimination" or harassment
   directed at the non-"employee" by any insured in the course of that insured's work for you.




EPL-120 (10-08)                        © ISO Properties, Inc., 2000                      Page 1 of 1




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                                                                                            BUSINESSOWNERS
                                                                                                BP 15 05 05 14

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION – ACCESS OR DISCLOSURE OF
    CONFIDENTIAL OR PERSONAL INFORMATION AND
   DATA-RELATED LIABILITY – LIMITED BODILY INJURY
             EXCEPTION NOT INCLUDED
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


A. Exclusion B.1.q. of Section II – Liability is                     As used in this exclusion, electronic data
   replaced by the following:                                        means information, facts or computer
      This insurance does not apply to:                              programs stored as or on, created or used
                                                                     on, or transmitted to or from computer
      q. Access Or Disclosure Of Confidential Or                     software       (including      systems     and
         Personal Information And Data-related                       applications software), on hard or floppy
         Liability                                                   disks, CD-ROMs, tapes, drives, cells, data
         (1) Damages, other than damages because                     processing       devices     or    any    other
             of "personal and advertising injury",                   repositories of computer software which are
             arising out of any access to or                         used      with      electronically   controlled
             disclosure     of    any    person's    or              equipment. The term computer programs,
             organization's confidential or personal                 referred to in the foregoing description of
             information, including patents, trade                   electronic data, means a set of related
             secrets, processing methods, customer                   electronic instructions which direct the
             lists, financial information, credit card               operations and functions of a computer or
             information, health information or any                  device connected to it, which enable the
             other type of nonpublic information; or                 computer or device to receive, process,
                                                                     store, retrieve or send data.
         (2) Damages arising out of the loss of, loss
             of use of, damage to, corruption of,
             inability to access, or inability to
             manipulate electronic data.
         This exclusion applies even if damages are
         claimed for notification costs, credit
         monitoring expenses, forensic expenses,
         public relations expenses or any other loss,
         cost or expense incurred by you or others
         arising out of that which is described in
         Paragraph (1) or (2) above.




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BP 15 05 05 14                       © Insurance Services Office, Inc., 2013                          Page 1 of 2
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B. The following is added to Paragraph B.1.p.                       This exclusion applies even if damages are
   Personal And Advertising Injury Exclusion of                     claimed for notification costs, credit
   Section II – Liability:                                          monitoring expenses, forensic expenses,
      This insurance does not apply to:                             public relations expenses or any other loss,
                                                                    cost or expense incurred by you or others
      p. Personal And Advertising Injury                            arising out of any access to or disclosure of
         "Personal and advertising injury":                         any person's or organization's confidential
                                                                    or personal information.
         Arising out of any access to or disclosure of
         any person's or organization's confidential
         or personal information, including patents,
         trade    secrets,    processing     methods,
         customer lists, financial information, credit
         card information, health information or any
         other type of nonpublic information.




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                                                                                 SAI-43 (9-02)



 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  ADDITIONAL INSURED – LIMITED FORM --
                   OWNERS, LESSEES OR CONTRACTORS

      AUTOMATIC STATUS WHEN REQUIRED IN CONSTRUCTION
                   AGREEMENT WITH YOU



This endorsement modifies insurance provided under the following:

       BUSINESSOWNERS LIABILITY COVERAGE FORM
       COMMERCIAL GENERAL LIABILITY COVERAGE PART


WHO IS AN INSURED is amended to include as an additional insured any person or
organization for whom you are performing operations when you and such person or
organization have agreed in writing in a contract or agreement that such person or
organization be added as an additional insured on your policy. That entity shall be
covered only for liability for bodily injury or property damage that is imputed to it as a
result of your actions or conduct. In no event shall the additional insured receive any
greater or additional coverage, or any greater or additional limits of liability than you
receive under this policy.

The coverage granted to the additional insured under this endorsement shall be excess
over any other valid and collectible insurance.

This endorsement provides no coverage to the additional insured for any liabilities
arising out of the claimed negligence of the additional insured, or out of the claimed
negligence of any entities other than the Named Insured.




SAI-43 (9-02)


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                                                                                SAI-41 (05-15)



    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           ADDITIONAL INSURED - NOT OTHERWISE CLASSIFIED
                           LIMITED FORM


This endorsement modifies insurance provided under the following:

         BUSINESSOWNERS LIABILITY COVERAGE FORM
         COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                        SCHEDULE

Name of Person or Organization (Additional Insured):

Gold Coast Bank Its Successors and/or Assigns
1165 N Clark St Ste 200 , Chicago, IL, 60610




Location Number(s):
1




(If no entry appears above, information required to complete this endorsement will be
shown in the Declarations as applicable to this endorsement.)

WHO IS AN INSURED is amended to include as an additional insured any person or
organization shown in the Schedule as an additional insured. That entity shall be
covered only for liability for bodily injury or property damage that is imputed to it as a
result of your actions or conduct. In no event shall the additional insured receive any
greater or additional coverage, or any greater or additional limits of liability than you
receive under this policy.

The coverage granted to the additional insured under this endorsement shall be excess
over any other valid and collectible insurance.

This endorsement provides no coverage to the additional insured for any liabilities
arising out of the claimed negligence of the additional insured, or out of the claimed
negligence of any entities other than the Named Insured.




SAI-41 (05-15)


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KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS
This notice is to advise you that should any complaints arise
regarding this insurance, you may contact the following:

                   Society Insurance, a mutual company
                               PO BOX 1029
                    Fond du Lac Wisconsin 54936-1029
                 920-922-1220 or Toll Free: 1-888-576-2438

If you are not satisfied with the results you receive, Part 919 of
the Rules of the Illinois Department of Insurance requires that
our company advise you that, if you wish to take this matter up
with the Illinois Department of Insurance, it maintains a
Consumer Division at the following two addresses:

122 S Michigan Ave                             320 West Washington St
19th Floor                                     Springfield Illinois 62767
Chicago Illinois 60603


You may also contact them at the following website:
http://insurance.illinois.gov/ or at the following phone numbers:
312-814-2420, 217-782-4515 or toll-free: 1-866-445-5364.



Notice 08/16IL




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                                                                 129
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                                                                                                        IL N 175 11 11

                  ILLINOIS NOTICE TO POLICYHOLDERS
                  REGARDING THE RELIGIOUS FREEDOM
                    PROTECTION AND CIVIL UNION ACT
Dear Policyholder:


This is to provide notice that, pursuant to Illinois Department of Insurance Company Bulletin 2011-06 (CB 2011-
06), this policy is in compliance with the Illinois Religious Freedom Protection and Civil Union Act ("the Act", 750
ILL. COMP. STAT. 75/1). The Act, which became effective on June 1, 2011, creates a legal relationship between
two persons of either the same or opposite sex who establish a civil union.


The Act provides that parties to a civil union are entitled to the same legal obligations, responsibilities, protections
and benefits that are afforded or recognized by the law of Illinois to spouses, whether they are derived from
statute, administrative rule, policy, common law or any source of civil or criminal law. In addition, this law requires
recognition of a same-sex civil union, marriage, or other substantially similar legal relationship, except for
common law marriage, legally entered into in other jurisdictions. The Act further provides that "party to a civil
union" shall be included in any definition or use of the terms "spouse", "family", "immediate family", "dependent",
"next of kin" and other terms descriptive of spousal relationships as those terms are used throughout the law.
According to CB 2011-06, this includes the terms "marriage" or "married" or any variations thereof. CB 2011-06
also states that if policies of insurance provide coverage for children, the children of civil unions must also be
provided coverage.




                                                                                              130
IL N 175 11 11                         © Insurance Services Office, Inc., 2011                             Page 1 of 1
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              SOCIETY INSURANCE, A MUTUAL COMPANY
                        150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                         BUSINESSOWNERS
                                GENERAL CHAN GE END OR SEMENT
                                                  POLICY NO: BP17022546-2

                                                            RENEWAL OF BP17022546-1

ACCOUNT NUMBER:
NAMED INSURED AND MAILING ADDRESS                        AGENCY AND MAILING ADDRESS     20095 000
 Billy Goat Tavern                                         Carlson Mikuzis & Taylor Inc
 1535 W Madison St                                         2221 Lakeside Dr
 Chicago, IL 60607-1811                                    Bannockburn, IL 60015



POLICY PERIOD: FROM 08/26/2019 TO 08/26/2020 AT 12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS
SHOWN ABOVE.

EFFECTIVE 08/26/2019 THIS POLICY AMENDED AS SHOWN
                                         DESCRIBED PREMISES
Prem. Bldg.                                                                       Construction   Protection
 No.   No. Premises Address:               Description                                Type         Class
  1     1   11601 W Touhy Ave,             Tavern/Restaurant                    Fire-            1
            Chicago, IL 60666                                                   resistive
  2     1    430 N Michigan Ave,           Tavern/Restaurant                    Fire-            2
             Chicago, IL 60611                                                  resistive
  3     1    1535 W Madison St,            Tavern/Restaurant                    Joisted          2
             Chicago, IL 60607                                                  Masonry
  4     1    222 Merchandise Mart Plz, Restaurant                               Fire-            2
             Chicago, IL 60654                                                  resistive
  5     1    700 E Grand Ave, Chicago, Tavern/Restaurant                        Fire-            2
             IL 60611                                                           resistive
  6     1    60 E Lake St, Chicago, IL Tavern/Restaurant                        Fire-            2
             60601                                                              resistive
  7     1    203 Yorktown Ctr,         Tavern/Restaurant                        Fire-            2
             Lombard, IL 60148                                                  resistive
  8     1    5700 S Cicero Ave Fl 1,   Tavern/Restaurant                        Fire-            1
             Chicago, IL 60638                                                  resistive


SECTION I – PROPERTY

                            Deductibles (Apply Per Location, Per Occurrence)
                                                                                 Windstorm Or Hail
         Prem. No.                    Property Deductible                      Percentage Deductible




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BP-DECLARATION-ENDT 01-15


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            SOCIETY INSURANCE, A MUTUAL COMPANY
                      150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                       BUSINESSOWNERS
                                    RENEWAL DECL ARATION

POLICY NO: BP17022546-2                                EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                             AGENT: Carlson Mikuzis & Taylor Inc

(Location 1, Building 1)     $                             2,500                         N/A    %




(Location 2, Building 1)     $                             2,500                         N/A    %




(Location 3, Building 1)     $                             2,500                         N/A    %




(Location 4, Building 1)     $                             2,500                         N/A    %




(Location 5, Building 1)     $                             2,500                         N/A    %




10-31-19                                         smd                                    Page 2 of 4
BP-DECLARATION-ENDT 01-15


                                                                               132
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                 SOCIETY INSURANCE, A MUTUAL COMPANY
                             150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                                BUSINESSOWNERS
                                             RENEWAL DECL ARATION

 POLICY NO: BP17022546-2                                         EFFECTIVE DATE: 08/26/2019
 INSURED: Billy Goat Tavern                                      AGENT: Carlson Mikuzis & Taylor Inc

 (Location 6, Building 1)          $                                  2,500                                    N/A    %




 (Location 7, Building 1)          $                                  2,500                                    N/A    %




 (Location 8, Building 1)          $                                  2,500                                    N/A    %




              Additional Coverages – Optional Higher Limits/Extended Number Of Days (Per Policy)
                                                             Limit Of Insurance/Extended      Deductible
            Coverage                Additional Premium             Number Of Days




SECTION II – LIABILITY AND MEDICAL EXPENSES
Each paid claim for the following coverages reduces the amount of insurance we provide during the applicable annual period.
Please refer to the Businessowners Liability Coverage Form and any attached endorsements.



                                         TOTAL BUSINESSOWNERS POLICY PREMIUM                 $                         0




 10-31-19                                                  smd                                               Page 3 of 4
 BP-DECLARATION-ENDT 01-15


                                                                                           133
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            SOCIETY INSURANCE, A MUTUAL COMPANY
                      150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                       BUSINESSOWNERS
                                    RENEWAL DECL ARATION

POLICY NO: BP17022546-2                                EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                             AGENT: Carlson Mikuzis & Taylor Inc


                                                             TOTAL PREMIUM          $        0.00


FORMS AND ENDORSEMENTS
APPLYING TO THIS COVERAGE PART AND MADE PART OF THIS POLICY AT TIME OF ISSUE:
See Forms Schedule
NOTE: IF NO ENTRY APPEARS ON THE ABOVE ENDORSEMENTS, INFORMATION REQUIRED TO COMPLETE
THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY FOLLOWING THE
APPLICABLE ENDORSEMENT.




10-31-19                                         smd                                    Page 4 of 4
BP-DECLARATION-ENDT 01-15


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            SOCIETY INSURANCE, A MUTUAL COMPANY
                     150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                           BUSINESSOWNERS PACKAGE POLICY
                                  PREMIUM SUMMARY


                                         TOTAL BUSINESSOWNERS PREMIUM              $               0

                               TOTAL BUSINESSOWNERS LIABILITY PREMIUM              $               0


                                                          TOTAL SURCHARGE          $               0



                       TOTAL BUSINESSOWNERS PACKAGE POLICY PREMIUM                 $               0




THESE DECLARATIONS AND THE COMMON POLICY DECLARATIONS, IF APPLICABLE, TOGETHER WITH THE
COMMON POLICY CONDITIONS, COVERAGE FORM(S) AND ENDORSEMENTS, AND SUPPLEMENTAL FORM
DECLARATION(S), IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY




10-31-19                                         smd                                     Page 1 of 1
SB-PREMIUM-SUMMARY 01-15


                                                                               135
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              SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                        FORMS SCHEDULE

                                                     POLICY NO: BP17022546-2

                                                     RENEWAL OF     BP17022546-1

ACCOUNT NUMBER:                                                                             20095
NAMED INSURED AND MAILING ADDRESS                     AGENCY AND MAILING ADDRESS              000
Billy Goat Tavern                                    Carlson Mikuzis & Taylor Inc
1535 W Madison St                                    2221 Lakeside Dr
Chicago, IL 60607-1811                               Bannockburn, IL 60015


POLICY PERIOD: FROM 08/26/2019 TO 08/26/2020 AT 12:01 AM STANDARD TIME AT YOUR MAILING
ADDRESS SHOWN ABOVE.

NOTE: IF NO ENTRY APPEARS ON THE FOLLOWING ENDORSEMENTS, INFORMATION REQUIRED TO
COMPLETE THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY
FOLLOWING THE APPLICABLE ENDORSEMENT.

BUSINESSOWNERS POLICY FORMS
BP1220 01-06       Illinois Policy Changes                                           Added




    10-31-19                                       smd                                    Page 1 of 1
    SB-FORMS-SCHEDULE 01-15


                                                                               136
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POLICY NUMBER: BP17022546-2                                                                BUSINESSOWNERS
                                                                                               BP 12 20 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              ILLINOIS POLICY CHANGES
This endorsement will not be used to decrease coverages, increase rates or deductibles or alter any terms or
conditions of coverage unless at the sole request of the insured.

 Effective Date Of Change: 08/26/2019
 Change Endorsement No.: 001
 Named Insured: Billy Goat Tavern


The following item(s) is (are) changed to read {See Additional Page(s)}:

    Insured's Name                                         Insured's Mailing Address

    Policy Number                                          Company

    Effective/Expiration Date                              Insured's Legal Status/Business Of Insured

    Payment Plan                                           Premium Determination

    Additional Interested Parties                          Coverage Forms And Endorsements

    Limits/Exposures                                       Deductibles

    Covered Property/Location Description                  Classification/Class Codes

    Rates                                                  Underlying Insurance



The above amendments result in a change in the premium as follows:

     NO CHANGES                TO BE ADJUSTED           ADDITIONAL PREMIUM              RETURN PREMIUM
                                     AT AUDIT
                                                      $                No Change $                  No Change


Authorized Representative Signature:




                                                                                          137
BP 12 20 01 06                            © ISO Properties, Inc., 2004                              Page 1 of 2   
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 REMOVAL       If Covered Property is removed to a new location that is described on this Policy Change, you
 PERMIT        may extend this insurance to include that Covered Property at each location during the re-
               moval. Coverage at each location will apply in the proportion that the value at each location
               bears to the value of all Covered Property being removed. This permit applies up to 10 days
               after the effective date of this Policy Change; after that, this insurance does not apply at the
               previous location.


                  ILLINOIS POLICY CHANGES ENDORSEMENT DESCRIPTION
Loc 5, Premises Address is amended to:
 (700 E Grand Ave, Chicago, IL)
No premium change.




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Page 2 of 2                            © ISO Properties, Inc., 2004                             BP 12 20 01 06    
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              SOCIETY INSURANCE, A MUTUAL COMPANY
                        150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                         BUSINESSOWNERS
                                GENERAL CHAN GE END OR SEMENT
                                                  POLICY NO: BP17022546-2

                                                            RENEWAL OF BP17022546-1

ACCOUNT NUMBER:
NAMED INSURED AND MAILING ADDRESS                        AGENCY AND MAILING ADDRESS     20095 000
 Billy Goat Tavern                                         Carlson Mikuzis & Taylor Inc
 1535 W Madison St                                         2221 Lakeside Dr
 Chicago, IL 60607-1811                                    Bannockburn, IL 60015



POLICY PERIOD: FROM 08/26/2019 TO 08/26/2020 AT 12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS
SHOWN ABOVE.

EFFECTIVE 11/01/2019 THIS POLICY AMENDED AS SHOWN
                                         DESCRIBED PREMISES
Prem. Bldg.                                                                       Construction   Protection
 No.   No. Premises Address:               Description                                Type         Class
  1     1   11601 W Touhy Ave,             Tavern/Restaurant                    Fire-            1
            Chicago, IL 60666                                                   resistive
  2     1    430 N Michigan Ave,           Tavern/Restaurant                    Fire-            2
             Chicago, IL 60611                                                  resistive
  3     1    1535 W Madison St,            Tavern/Restaurant                    Joisted          2
             Chicago, IL 60607                                                  Masonry
  4     1    222 Merchandise Mart Plz, Restaurant                               Fire-            2
             Chicago, IL 60654                                                  resistive
  5     1    700 E Grand Ave, Chicago, Tavern/Restaurant                        Fire-            2
             IL 60611                                                           resistive
  6     1    60 E Lake St, Chicago, IL Tavern/Restaurant                        Fire-            2
             60601                                                              resistive
  7     1    203 Yorktown Ctr,         Tavern/Restaurant                        Fire-            2
             Lombard, IL 60148                                                  resistive
  8     1    5700 S Cicero Ave Fl 1,   Tavern/Restaurant                        Fire-            1
             Chicago, IL 60638                                                  resistive


SECTION I – PROPERTY

                            Deductibles (Apply Per Location, Per Occurrence)
                                                                                 Windstorm Or Hail
         Prem. No.                    Property Deductible                      Percentage Deductible




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BP-DECLARATION-ENDT 01-15


                                                                                  139
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            SOCIETY INSURANCE, A MUTUAL COMPANY
                      150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                       BUSINESSOWNERS
                                    RENEWAL DECL ARATION

POLICY NO: BP17022546-2                                EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                             AGENT: Carlson Mikuzis & Taylor Inc

(Location 1, Building 1)     $                             2,500                         N/A    %




(Location 2, Building 1)     $                             2,500                         N/A    %




(Location 3, Building 1)     $                             2,500                         N/A    %




(Location 4, Building 1)     $                             2,500                         N/A    %




(Location 5, Building 1)     $                             2,500                         N/A    %




11-12-19                                         smd                                    Page 2 of 4
BP-DECLARATION-ENDT 01-15


                                                                               140
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                 SOCIETY INSURANCE, A MUTUAL COMPANY
                             150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                                BUSINESSOWNERS
                                             RENEWAL DECL ARATION

 POLICY NO: BP17022546-2                                         EFFECTIVE DATE: 08/26/2019
 INSURED: Billy Goat Tavern                                      AGENT: Carlson Mikuzis & Taylor Inc

 (Location 6, Building 1)          $                                  2,500                                    N/A    %




 (Location 7, Building 1)          $                                  2,500                                    N/A    %




 (Location 8, Building 1)          $                                  2,500                                    N/A    %




              Additional Coverages – Optional Higher Limits/Extended Number Of Days (Per Policy)
                                                             Limit Of Insurance/Extended      Deductible
            Coverage                Additional Premium             Number Of Days




SECTION II – LIABILITY AND MEDICAL EXPENSES
Each paid claim for the following coverages reduces the amount of insurance we provide during the applicable annual period.
Please refer to the Businessowners Liability Coverage Form and any attached endorsements.



                                         TOTAL BUSINESSOWNERS POLICY PREMIUM                 $                       198




 11-12-19                                                  smd                                               Page 3 of 4
 BP-DECLARATION-ENDT 01-15


                                                                                           141
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            SOCIETY INSURANCE, A MUTUAL COMPANY
                      150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                       BUSINESSOWNERS
                                    RENEWAL DECL ARATION

POLICY NO: BP17022546-2                                EFFECTIVE DATE: 08/26/2019
INSURED: Billy Goat Tavern                             AGENT: Carlson Mikuzis & Taylor Inc


                                                             TOTAL PREMIUM          $        198.00


FORMS AND ENDORSEMENTS
APPLYING TO THIS COVERAGE PART AND MADE PART OF THIS POLICY AT TIME OF ISSUE:
See Forms Schedule
NOTE: IF NO ENTRY APPEARS ON THE ABOVE ENDORSEMENTS, INFORMATION REQUIRED TO COMPLETE
THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY FOLLOWING THE
APPLICABLE ENDORSEMENT.




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BP-DECLARATION-ENDT 01-15


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            SOCIETY INSURANCE, A MUTUAL COMPANY
                     150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                           BUSINESSOWNERS PACKAGE POLICY
                                  PREMIUM SUMMARY


                                         TOTAL BUSINESSOWNERS PREMIUM              $            198

                         BALANCE TO MINIMUM BUSINESSOWNERS PREMIUM                 $               0

                               TOTAL BUSINESSOWNERS LIABILITY PREMIUM              $               0


                                                          TOTAL SURCHARGE          $               0



                       TOTAL BUSINESSOWNERS PACKAGE POLICY PREMIUM                 $            198




THESE DECLARATIONS AND THE COMMON POLICY DECLARATIONS, IF APPLICABLE, TOGETHER WITH THE
COMMON POLICY CONDITIONS, COVERAGE FORM(S) AND ENDORSEMENTS, AND SUPPLEMENTAL FORM
DECLARATION(S), IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY




11-12-19                                         smd                                     Page 1 of 1
SB-PREMIUM-SUMMARY 01-15


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              SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                        FORMS SCHEDULE

                                                     POLICY NO: BP17022546-2

                                                     RENEWAL OF     BP17022546-1

ACCOUNT NUMBER:                                                                             20095
NAMED INSURED AND MAILING ADDRESS                     AGENCY AND MAILING ADDRESS              000
Billy Goat Tavern                                    Carlson Mikuzis & Taylor Inc
1535 W Madison St                                    2221 Lakeside Dr
Chicago, IL 60607-1811                               Bannockburn, IL 60015


POLICY PERIOD: FROM 08/26/2019 TO 08/26/2020 AT 12:01 AM STANDARD TIME AT YOUR MAILING
ADDRESS SHOWN ABOVE.

NOTE: IF NO ENTRY APPEARS ON THE FOLLOWING ENDORSEMENTS, INFORMATION REQUIRED TO
COMPLETE THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY
FOLLOWING THE APPLICABLE ENDORSEMENT.

BUSINESSOWNERS POLICY FORMS
BP1220 01-06       Illinois Policy Changes                                           Modified
BP0448 07-13       Additional Insured - Designated Person Or Organization            Modified
TBP16 11-15        Waiver Of Transfer Of Rights Of Recovery Against Others           Added
                   To Us When Required in A Written Contract Or Agreement




    11-12-19                                       smd                                    Page 1 of 1
    SB-FORMS-SCHEDULE 01-15


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POLICY NUMBER: BP17022546-2                                                                BUSINESSOWNERS
                                                                                               BP 12 20 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              ILLINOIS POLICY CHANGES
This endorsement will not be used to decrease coverages, increase rates or deductibles or alter any terms or
conditions of coverage unless at the sole request of the insured.

 Effective Date Of Change: 11/01/2019
 Change Endorsement No.: 002
 Named Insured: Billy Goat Tavern


The following item(s) is (are) changed to read {See Additional Page(s)}:

    Insured's Name                                         Insured's Mailing Address

    Policy Number                                          Company

    Effective/Expiration Date                              Insured's Legal Status/Business Of Insured

    Payment Plan                                           Premium Determination

    Additional Interested Parties                          Coverage Forms And Endorsements

    Limits/Exposures                                       Deductibles

    Covered Property/Location Description                  Classification/Class Codes

    Rates                                                  Underlying Insurance



The above amendments result in a change in the premium as follows:

     NO CHANGES                TO BE ADJUSTED           ADDITIONAL PREMIUM              RETURN PREMIUM
                                     AT AUDIT
                                                      $                       198 $


Authorized Representative Signature:




                                                                                          145
BP 12 20 01 06                            © ISO Properties, Inc., 2004                              Page 1 of 2   
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 REMOVAL       If Covered Property is removed to a new location that is described on this Policy Change, you
 PERMIT        may extend this insurance to include that Covered Property at each location during the re-
               moval. Coverage at each location will apply in the proportion that the value at each location
               bears to the value of all Covered Property being removed. This permit applies up to 10 days
               after the effective date of this Policy Change; after that, this insurance does not apply at the
               previous location.


                  ILLINOIS POLICY CHANGES ENDORSEMENT DESCRIPTION
Form TBP 16, Waiver Of Transfer Of Rights Of Recovery Against Others To Us When
Required in A Written Contract Or Agreement, is added.
Revised premium.




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POLICY NUMBER: BP17022546-2                                                               BUSINESSOWNERS
                                                                                              BP 04 48 07 13




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          ADDITIONAL INSURED – DESIGNATED PERSON
                      OR ORGANIZATION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

Name Of Additional Insured Person(s) Or Organization(s):
City of Chicago Its Agent, Employees and Officers, Department of Business Affairs
& Consumer Protection
121 N LaSalle St Rm 805 , Chicago, IL, 60602
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

Section II – Liability is amended as follows:              B. With respect to the insurance afforded to these
A. The following is added to Paragraph C. Who Is An           additional insureds, the following is added to
   Insured:                                                   Paragraph D. Liability And Medical Expenses
                                                              Limits Of Insurance:
   3. Any person(s) or organization(s) shown in the
      Schedule is also an additional insured, but only        If coverage provided to the additional insured is
      with respect to liability for "bodily injury",          required by a contract or agreement, the most we
      "property damage" or "personal and advertising          will pay on behalf of the additional insured is the
      injury" caused, in whole or in part, by your acts       amount of insurance:
      or omissions or the acts or omissions of those          1. Required by the contract or agreement; or
      acting on your behalf in the performance of             2. Available under the applicable Limits Of
      your ongoing operations or in connection with               Insurance shown in the Declarations;
      your premises owned by or rented to you.
                                                              whichever is less.
      However:
                                                              This endorsement shall not increase the
      a. The insurance afforded to such additional            applicable Limits Of Insurance shown in the
          insured only applies to the extent permitted        Declarations.
          by law; and
      b. If coverage provided to the additional
          insured is required by a contract or
          agreement, the insurance afforded to such
          additional insured will not be broader than
          that which you are required by the contract
          or agreement to provide for such additional
          insured.




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                                                                       BUSINESSOWNERS LIABILITY
                                                                                   TBP16 (11-15)


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

WAIVER OF TRANSFER OF RIGHTS OF RECOVERY AGAINST
OTHERS TO US WHEN REQUIRED IN A WRITTEN CONTRACT OR
AGREEMENT - AUTOMATIC STAUS


This endorsement modifies insurance provided under the following:

BUSINESSOWNERS LIABILITY COVERAGE FORM



The Transfer Of Your Rights And Duties Under This Policy Condition (Section L –
BUSINESSOWNERS COMMON POLICY CONDITIONS) is deleted and replaced by the
following:

We waive any right of recovery we may have against any person or organization against whom
you have agreed to waive such right of recovery in a written contract or agreement because of
payments we make for injury or damage arising out of your ongoing operations or “your work”
done under a contract with that person or organization and included in the “products-completed
operations hazard”.




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